Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 1 of 79




                              EXHIBIT 3
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 2 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023

  ·

  · · ·UNITED STATES DISTRICT COURT
  · · ·SOUTHERN DISTRICT OF FLORIDA
  · · ·-----------------------------------------x
  · · ·JIANGMEN BENLIDA PRINTED CIRCUIT CO.,
  · · ·LTD.,

  · · · · · · · · · · · · · · · · · Plaintiff,              :

  · · · · · · · · · ·- against -

  · · ·CIRCUITRONIX LLC,

  · · · · · · · · · · · · · · · · ·Defendant.· ·:
  · · ·-----------------------------------------x
  ·
  · · · · · · · · · · ·1350 Avenue of the Americas
  · · · · · · · · · · ·New York, New York

  · · · · · · · · · · ·July 20, 2023
  · · · · · · · · · · ·9:40 a.m.
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  · · · · · · ·EXAMINATION BEFORE TRIAL of RANDALL M.

  · · ·PAULIKENS, CPA/AVB/CFF/CITP, and Expert

  · · ·Witness on behalf of the Plaintiff herein,

  · · ·taken by the Defendant, pursuant to Court

  · · ·Order, held at the above-mentioned time and

  · · ·place, before Michelle Lemberger, a Notary

  · · ·Public of the State of New York.

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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 3 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                            Page 2                                                Page 4
       ·1                                                            ·1
       ·2· ·A P P E A R A N C E S:
                                                                     ·2· ·R A N D A L L· ·M.· ·P A U L I K E N S, having
       ·3
       ·4· ·MAZZOLA LINDSTROM, LLP                                   ·3· · · · · ·been first duly sworn by a Notary
       · · ·Attorneys for Plaintiff                                  ·4· · · · · ·Public of the State of New York, was
       ·5· · · · 1350 Avenue of the Americas, 2nd Floor
                                                                     ·5· · · · · ·examined and testified as follows:
       · · · · · New York, New York 10019
       ·6· ·BY:· RICHARD LERNER, ESQ.
                                                                     ·6· ·BY THE REPORTER:
       ·7                                                            ·7· · · · Q.· Please state your name for the
       · · ·A/P J.C. MAZZOLA, ESQ.                                   ·8· · record.
       ·8
                                                                     ·9· · · · A.· Randall Martin Paulikens.
       · · · · ·Adam Wiener
       ·9                                                            10· · · · Q.· What is your current business
       10                                                            11· · address?
       11· ·PODHURST ORSECK, P.A.                                    12· · · · A.· 36 East Main Street, Somerville, New
       · · ·Attorneys for Defendant
                                                                     13· · Jersey 08876.
       12· · · · One S.E. 3rd Avenue, Suite 2300
       · · · · · Miami, Florida 33131                                14· ·EXAMINATION BY
       13· ·BY:· STEPHEN F. ROSENTHAL, ESQ.                          15· ·MR. ROSENTHAL:
       14· · · · Srosenthal@podhurst.com
                                                                     16· · · · Q.· Good morning, Mr. Paulikens.
       15
       16
                                                                     17· · · · A.· Good morning.
       · · · · · · · · *· · ·*· · ·*· · ·*· · ·*                     18· · · · Q.· My name is Stephen Rosenthal. I
       17                                                            19· · represent Circuitronix LLC in this
       18
                                                                     20· · litigation.
       19
       20                                                            21· · · · A.· Okay.
       21                                                            22· · · · Q.· I know you've been deposed many
       22                                                            23· · times before, so if at any point I ask a poor
       23
       24
                                                                     24· · question please ask me to rephrase it and
       25                                                            25· · I'll do my best.

                                                            Page 3                                                Page 5
       ·1                                                            ·1· · · · · · · · · · R. Paulikens
       ·2· · · · · · · S T I P U L A T I O N S                       ·2· · · · A.· Okay.
       ·3                                                            ·3· · · · Q.· Prior to beginning today, you handed
       ·4· · · · · ·IT IS HEREBY STIPULATED AND AGREED               ·4· · me a USB drive that was produced by you in
       ·5· ·by and between the attorneys for the                     ·5· · response to our subpoena for your deposition
       ·6· ·respective parties herein, that filing,                  ·6· · today?
       ·7· ·sealing and certification be and the same are            ·7· · · · A.· Yes.
       ·8· ·hereby waived.                                           ·8· · · · Q.· So I put this into my laptop
       ·9· · · · · ·IT IS FURTHER STIPULATED AND AGREED              ·9· · computer; we're in an office where it is
       10· ·that all objections, except as to the form of            10· · projected on a screen.· I want to ask you
       11· ·the question shall be reserved to the time of            11· · some sort of housekeeping questions about
       12· ·the trial.                                               12· · that before we get into your report and
       13· · · · · ·IT IS FURTHER STIPULATED AND AGREED              13· · opinions.
       14· ·that the within deposition may be signed and             14· · · · A.· Okay.
       15· ·sworn to before any officer authorized to                15· · · · Q.· So on the drive there's a
       16· ·administer an oath, with the same force and              16· · document --
       17· ·effect as if signed and sworn to before The              17· · · · A.· Can I go up and stand there so I can
       18· ·Court.                                                   18· · read the screen?
       19                                                            19· · · · Q.· Of course.· Whatever is comfortable
       20                                                            20· · for you.
       21                                                            21· · · · A.· Thank you.
       22                                                            22· · · · Q.· There's a folder that is called,
       23                                                            23· · Documents sent to counsel for deposition,
       24                                                            24· · right?
       25                                                            25· · · · A.· Yes.


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 4 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                    Page 6                                                Page 8
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · Q.· What is that?                           ·2· · · · ·by Mr. Paulikens but they weren't the
       ·3· · · · A.· That was in response to a request       ·3· · · · ·ones that were necessarily referenced
       ·4· · you made last week.· There's two tranches of    ·4· · · · ·in the report.
       ·5· · information sent in my report.· One is the      ·5· · · · · · · ·I renamed it so that it would
       ·6· · documents from your expert report, and there    ·6· · · · ·be clear and distinct from those
       ·7· · was additional documents and you had asked      ·7· · · · ·other documents.
       ·8· · for those additional documents.· That's what    ·8· · · · · · · ·MR. ROSENTHAL:· Right.· And so
       ·9· · was sent to you last week --                    ·9· · · · ·what you were just talking about, Mr.
       10· · · · Q.· Okay.                                   10· · · · ·Lerner, at the top of 141 shows the
       11· · · · A.· -- I think via e-mail.· So that is a    11· · · · ·renamed file name that you just
       12· · duplicate of that.                              12· · · · ·mentioned?
       13· · · · Q.· Okay.· While we're talking about        13· · · · · · · ·MR. LERNER:· Yes.· And I am the
       14· · this document sent to counsel for deposition    14· · · · ·one who renamed it.
       15· · folder that you just described, I'm opening     15· · · · · · · ·MR. ROSENTHAL:· Okay.· We will
       16· · it on the screen.· And I'll scroll down so      16· · · · ·hold you responsible for that.
       17· · you can see it.· That's the documents within    17· ·BY MR. ROSENTHAL:
       18· · that folder that you sent to my office last     18· · · · Q.· Okay.· So let's return back to the
       19· · week or so?                                     19· · USB that we were looking at on the computer
       20· · · · A.· Yes.                                    20· · screen.· I will get out of that folder that
       21· · · · Q.· And I have printed that list out on     21· · we just looked at.
       22· · paper.                                          22· · · · · · So the first other folder says,
       23· · · · · · Let me hand it to you and you can       23· · Agreements.· I will open that.
       24· · assure yourself that it is the same thing       24· · · · · · Are any of these PDF files in here
       25· · that's on the screen that is on your USB.       25· · marked up or annotated by you?

                                                    Page 7                                                Page 9
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · · · · ·(Witness peruses document.)          ·2· · · · A.· No.
       ·3· · · · A.· Yes, it looks pretty --                 ·3· · · · Q.· And that contains the manufacturing
       ·4· · · · Q.· Is there anything missing?              ·4· · agreement, the letter agreement from 2016, a
       ·5· · · · A.· It looks pretty -- it looks like the    ·5· · second document called second agreement from
       ·6· · same list.                                      ·6· · 2016.
       ·7· · · · · · · ·MR. ROSENTHAL:· Just for             ·7· · · · · · Do you know if that second agreement
       ·8· · · · ·housekeeping purposes, we're up to         ·8· · from 2016 is different from the 2016 letter
       ·9· · · · ·Exhibit 141, I think, is the next one      ·9· · agreement without me opening it?
       10· · · · ·that I wrote down.                         10· · · · A.· As I'm standing here, I don't
       11· · · · · · · ·So we're going to mark that, if      11· · recall.
       12· · · · ·I can, as Exhibit 141.                     12· · · · Q.· Okay.· Let me open that for a
       13· · · · · · · ·(Whereupon, at this time, the        13· · moment.· I'm opening --
       14· · · · ·above-mentioned printout of documents      14· · · · · · · ·MR. ROSENTHAL:· It says the
       15· · · · ·sent to counsel was marked as Exhibit      15· · · · ·file has been damaged, all right.· So
       16· · · · ·141 for identification.)                   16· · · · ·I won't open that.
       17· · · · · · · ·MR. ROSENTHAL:· That's               17· · · · Q.· And the Circuitronix contract, do
       18· · · · ·basically a printout of the documents      18· · you know what that is?· Should I open it?
       19· · · · ·sent to counsel for deposition.            19· · · · A.· You should open it.
       20· · · · · · · ·MR. LERNER:· I just want to          20· · · · · · · ·MR. ROSENTHAL:· Same thing.
       21· · · · ·note, Stephen, that on the thumb           21· · · · ·That's odd.· It says it's a PDF but
       22· · · · ·drive it has a different filing            22· · · · ·it's not a supported file type or
       23· · · · ·folder name when I sent it to you. I       23· · · · ·it's been damaged.· Okay.
       24· · · · ·renamed it for clarification because       24· · · · Q.· Do you know if you've been able to
       25· · · · ·there were further documents reviewed      25· · open these when you were doing it?


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 5 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                   Page 10                                               Page 12
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · A.· I had no problem opening them, so I     ·2· · · · A.· That came from them.· That's not
       ·3· · don't know what happened.                       ·3· · from us.
       ·4· · · · Q.· Okay.· Let me try another one out of    ·4· · · · Q.· Although it says in yellow, Per
       ·5· · curiosity, the complaint.· Okay.· Same thing.   ·5· · Benlida payment details, with some codes and
       ·6· · · · · · So there's a folder called analysis.    ·6· · then it says Worksheet.
       ·7· · I'm going to open that.                         ·7· · · · A.· Well, that's the name of the file.
       ·8· · · · A.· Yes.                                    ·8· · And OO2.· And this looks like -- I don't want
       ·9· · · · Q.· It has two Excel spreadsheets?          ·9· · you to hit enable content.
       10· · · · A.· Yes.                                    10· · · · Q.· Right.
       11· · · · Q.· Do you know what those are?             11· · · · A.· But this looks like a formula where
       12· · · · A.· Yes.· These are working copies of       12· · it references the name of the files to where
       13· · documents that were produced from one of the    13· · they got it.· So that's why I think that says
       14· · parties in the case, and you see the name       14· · that there.
       15· · FLLP?                                           15· · · · Q.· Okay.· But you're saying that's not
       16· · · · Q.· Yes.                                    16· · stuff that you added to this file?
       17· · · · A.· It was the firm I was with when I       17· · · · A.· No.
       18· · started this engagement, Friedman, LLP.         18· · · · Q.· Or your firm.· Okay.
       19· · · · Q.· Okay.                                   19· · · · · · There's a lot of different tabs at
       20· · · · A.· And AJ Santye is the current firm       20· · the bottom over time.
       21· · I'm with.· And I rename -- if I open up a       21· · · · A.· It was years summary and then
       22· · copy of a document, I rename it so that -- to   22· · monthly summary for multiple years.
       23· · keep the metadata pure.                         23· · · · Q.· Okay.· I'll get out of that.
       24· · · · Q.· Okay.· Do you know whether these,       24· · · · · · Let me go to -- let me get out of
       25· · either of these is marked up in a way that      25· · this then.· Now we're back to your USB drive

                                                   Page 11                                               Page 13
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · would show -- indicate your work?               ·2· · and it says, Court documents folder.· I'll
       ·3· · · · A.· There may have been formatting          ·3· · just open that.· Those are self-explanatory
       ·4· · differences.· There's no notes and stuff,       ·4· · names?
       ·5· · but, you know, we open them, copy them,         ·5· · · · A.· Yes.
       ·6· · format them for printing so we can read         ·6· · · · Q.· And then there's one called
       ·7· · what's there.                                   ·7· · Documents, which is a general name?
       ·8· · · · Q.· Okay.· Let me just out of, you know,    ·8· · · · A.· Correct.
       ·9· · in the interest of completeness, open the       ·9· · · · Q.· Am I correct to generalize that
       10· · first one, which is called Benlida payment      10· · these -- the stuff in this folder was related
       11· · details, CTX dash HK underscore 2015 to 2019,   11· · to work you had done in this case connected
       12· · underscore V2.1002 AJS.                         12· · to a hearing that was held in January 2023 in
       13· · · · · · Okay.· I'm opening this up.· Mr.        13· · Miami?
       14· · Paulikens, is there anything when I open it     14· · · · A.· These actually predate that.· My
       15· · up that I should potentially look at that may   15· · retention began in May of '22, a little more
       16· · or may not contain your notes, any tab?         16· · than a year ago.· And this was some of the
       17· · · · A.· No.· There wouldn't -- I typically      17· · initial documents we were provided back then,
       18· · wouldn't -- don't put notes in something like   18· · hence the dates.
       19· · that.· Any analysis that we did on this file    19· · · · Q.· Okay.· So let me just open 053122,
       20· · would have some sort of -- a tab that says,     20· · is that May 31, '22 folder?
       21· · like, working analysis or some sort of          21· · · · A.· Correct.
       22· · delineation that is separate from the source    22· · · · Q.· It contains a bunch of Excel
       23· · data.                                           23· · spreadsheets.· Just out of curiosity, is it
       24· · · · Q.· Okay.· So like sheet number 1, that     24· · possible to address this folder called
       25· · tab is not --                                   25· · documents that we're looking at in general;


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 6 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                   Page 14                                               Page 16
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · did you rely upon or look at items in this      ·2· · · · · · · ·(Discussion held off the
       ·3· · folder for purposes of your report?             ·3· · · · ·record.)
       ·4· · · · A.· Not this specific folder, but some      ·4· · · · Q.· We're now looking at Mr. Lerner's
       ·5· · of the documents within these were, like the    ·5· · computer with another USB that's the same --
       ·6· · ones that say payments for HK, this and that,   ·6· · a copy of the same stuff that we were looking
       ·7· · which were also used by your expert, they're    ·7· · at the USB that you gave to me.
       ·8· · duplicated here.                                ·8· · · · A.· Yes.
       ·9· · · · · · So to be candid, I didn't look at       ·9· · · · Q.· So now we're back in the documents
       10· · these specifically but there were duplicates    10· · folder and there's a PDF that's called e-mail
       11· · of the same file.                               11· · correspondence.· I'm just going to click on
       12· · · · Q.· They ended up somewhere else?           12· · that.
       13· · · · A.· Yes.                                    13· · · · · · That brings up an e-mail dated at
       14· · · · Q.· There's a folder called -- not a        14· · the top July 14, 2016 from Rishi Kukreja to
       15· · folder, sorry, an Excel spreadsheet file        15· · Tracy at Benlida, correct?
       16· · called Benlida versus CTX accounting event.     16· · · · A.· Yes.
       17· · Do you see that?                                17· · · · Q.· And it is a long string e-mail.
       18· · · · A.· Yes.                                    18· · There may actually be several e-mails,
       19· · · · Q.· I'm going to open that.· Do you know    19· · correct?
       20· · who generated that document?                    20· · · · A.· There's multiple e-mails back and
       21· · · · A.· I believe this came from the client.    21· · forth on it.
       22· · · · Q.· I think I have printed one of these     22· · · · Q.· Okay.· We're not going to belabor
       23· · out.· So let me see if I can find that.· Yes.   23· · it, just identify it.
       24· · · · · · · ·MR. ROSENTHAL:· Let me hand you      24· · · · · · Mr. Paulikens, you see there's a
       25· · · · ·what I will mark as the next exhibit,      25· · folder called Documents to be sent to counsel

                                                   Page 15                                               Page 17
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · ·which is 142.                              ·2· · with Chinese character not able to compress?
       ·3· · · · · · · ·(Whereupon, at this time, the        ·3· · · · A.· Yes.
       ·4· · · · ·above-mentioned Benlida v. CTX             ·4· · · · Q.· Okay.· I recognize those as ones
       ·5· · · · ·accounting event was marked as             ·5· · that were sent to us in a separate folder.
       ·6· · · · ·Exhibit 142 for identification.)           ·6· · · · A.· Yes.
       ·7· ·BY MR. ROSENTHAL:                                ·7· · · · Q.· Other than the folder that Mr.
       ·8· · · · Q.· The title of that is Benlida versus     ·8· · Lerner subsequently called, Further documents
       ·9· · CTX accounting event.                           ·9· · to rely upon?
       10· · · · · · Mr. Paulikens, is that a document       10· · · · A.· Correct.
       11· · that I've handed you marked as Exhibit 142,     11· · · · Q.· Okay.· And it seems to me that those
       12· · the same as the one that's on the screen that   12· · are primarily compilations of data that
       13· · was from your USB drive?                        13· · related to work that I assume you did in
       14· · · · A.· Certainly looks to be.                  14· · connection with the hearing that was in
       15· · · · Q.· And your understanding is that was      15· · January of 2023; is that right?
       16· · prepared by Benlida?                            16· · · · A.· Yes.· The settlement hearing and
       17· · · · A.· I believe so.                           17· · that, you know, experience.
       18· · · · Q.· Okay.· I'm going to open a PDF          18· · · · Q.· Right.· Okay.· There's another
       19· · that's on -- I'm going to attempt to open a     19· · folder called Expert report.· That contains
       20· · PDF that's on the USB, but it's not letting     20· · in it a folder called Documents, CTX
       21· · me open it.                                     21· · documents relied upon by CTX's expert CPA.
       22· · · · · · That was the e-mail correspondence I    22· · · · A.· Yes.
       23· · was trying to open.· Let me try to open the     23· · · · Q.· Now there's another folder and if
       24· · meeting minutes one.· Same thing.               24· · you open that, Mr. Lerner, thank you, that
       25· · · · · · · ·MR. ROSENTHAL:· Off the record.      25· · contains a list of items you received through


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 7 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                   Page 18                                               Page 20
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · my office, correct?· Indirectly through         ·2· · it, I convert it to a Word document so I can
       ·3· · counsel?                                        ·3· · easily cut and paste it, which is why I
       ·4· · · · A.· Yes.                                    ·4· · called it such as it is.
       ·5· · · · Q.· Okay.· And those are all things from    ·5· · · · Q.· Okay.· I will go out of that folder.
       ·6· · the Kapila Mukamal, K-A-P-I-L-A,                ·6· · · · · · The financials for settlement folder
       ·7· · M-U-K-A-M-A-L, report?                          ·7· · has about seven documents in it.· Is that all
       ·8· · · · A.· The KM report.                          ·8· · related to the earlier discussion about
       ·9· · · · Q.· The KM report.                          ·9· · settlement of the case?
       10· · · · · · So there are some additional Excel      10· · · · A.· Yes, this was from the fall.· You
       11· · spreadsheets in this expert report.· Let me     11· · can tell from the dates that was original
       12· · show Mr. Lerner where we are.                   12· · information that came in to me, hence the
       13· · · · · · In the expert report folder --          13· · Chinese characters.
       14· · · · A.· Okay, wait, where are we?               14· · · · Q.· See the folder that's called New
       15· · · · Q.· We're in the expert report folder.      15· · documents, May 31, '22?
       16· · · · A.· No, we're on the drive, okay.· We're    16· · · · A.· Yes.
       17· · on the flash drive.                             17· · · · Q.· Again, based upon the dates, those
       18· · · · Q.· Correct.· This is all about the         18· · are related to the beginning of your
       19· · flash drive.· I'm just trying to understand     19· · retention, I guess, in the case?
       20· · what's in here.                                 20· · · · A.· Yes.· Those are duplicated from what
       21· · · · · · There's an Excel spreadsheet that's     21· · we talked about 15 minutes or so ago.
       22· · called Benlida payment details CTX U.S. 2015    22· · · · Q.· So we have a lot of copies of the
       23· · to 2019 version 2.1 AJS working copy.           23· · same stuff.
       24· · · · · · Do you see that?                        24· · · · A.· This is the way things were produced
       25· · · · A.· Yes.                                    25· · and when they were produced.

                                                   Page 19                                               Page 21
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · Q.· And is that another copy of             ·2· · · · Q.· Okay.· There's a folder called
       ·3· · something we saw with a similar name already?   ·3· · Response report next.
       ·4· · · · A.· As I said, every time I get a file      ·4· · · · A.· Yes.
       ·5· · that I open up that's from somebody else, I     ·5· · · · Q.· If you can open that, all right.
       ·6· · put an extension on it called Working copy      ·6· · · · · · So that's all related to the report
       ·7· · with a firm name so as to not to corrupt the    ·7· · that we're going to be talking about today
       ·8· · original document.                              ·8· · for your deposition, right?
       ·9· · · · · · So I probably opened this up and        ·9· · · · A.· Yes.
       10· · then so I didn't mess up what was sent from     10· · · · Q.· Okay.· So the first subfolder in
       11· · your expert.                                    11· · that -- actually let me ask you generally.
       12· · · · Q.· Okay.· And so the same thing with       12· · Is everything -- what is the purpose of this
       13· · the one below that says AJS working copy        13· · folder and the way you organized it?
       14· · 2023?                                           14· · · · A.· This is a copy of my file.· This is
       15· · · · A.· Yes.                                    15· · the way I kept it.· So there's lead time
       16· · · · Q.· And the one below that says AJS         16· · penalty support, which is all the documents
       17· · working copy?                                   17· · from the lead time penalties.· If you click
       18· · · · A.· Correct.                                18· · on that you can see these were copies of
       19· · · · Q.· Okay.· There's a Word document          19· · documents that we got from your expert and we
       20· · called Mukamal Parisi report?                   20· · opened them up and may have copied them,
       21· · · · A.· Yes.                                    21· · reformatted them, so we could print, include
       22· · · · Q.· Word convert for citation, what's       22· · them as a PDF in the report, hence you see
       23· · that?                                           23· · the two duplicate names.
       24· · · · A.· What I do is if I get a PDF report,     24· · · · · · So you see a version that's the
       25· · in order if I'm going to take quotes out of     25· · Excel version and a PDF version.


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 8 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                   Page 22                                               Page 24
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · Q.· Let me just ask you if we go to the     ·2· · could actually do this part, if you want.
       ·3· · bottom of this list in this file, which is      ·3· · · · · · Right above that, Mr. Paulikens,
       ·4· · called, Excel spreadsheet called Summary,       ·4· · you're seeing on the screen there's two Excel
       ·5· · dated July 6, 2023.                             ·5· · files that say BLD penalty summary with
       ·6· · · · A.· Okay.                                   ·6· · dates.
       ·7· · · · Q.· I'm going to open that a sec on the     ·7· · · · A.· Yes.
       ·8· · screen.                                         ·8· · · · Q.· Like the one that Mr. Lerner has
       ·9· · · · · · And can you describe what this          ·9· · hovering over says, BLD penalty summary FEB
       10· · document is?                                    10· · 2016 to July 2021 KM.
       11· · · · A.· Scroll up to the top, please?· Yes.     11· · · · A.· Um-hum.
       12· · This was the sum of our work where they         12· · · · Q.· Is that a document that your office
       13· · literally just took a -- summarized the         13· · prepared or is that something you received
       14· · totals from each of the lead time penalty       14· · from someone else?
       15· · worksheets that were prepared by your expert,   15· · · · A.· I think that this is a -- it's
       16· · or I'm sorry, that were produced by your        16· · hidden, but this document was one that I
       17· · expert, not prepared.                           17· · believe was sent to us, but you have to open
       18· · · · · · · ·MR. ROSENTHAL:· Okay.· So I'll       18· · it, if you don't mind.
       19· · · · ·tell you, this is not a document that      19· · · · Q.· You're referring to the one that
       20· · · · ·I saw as something that was provided       20· · doesn't have KM next to it?
       21· · · · ·to me before today.· So it would be        21· · · · A.· Correct.
       22· · · · ·good to somehow mark this.· And I          22· · · · Q.· So you want to open that one.
       23· · · · ·don't think we can do it physically        23· · · · · · Can you tell whether that was --
       24· · · · ·because of the setup we have here.         24· · · · A.· Yes.· This looks like it's one of
       25· · · · · · · ·So let me just be real clear         25· · the files that your expert -- KM prepared and

                                                   Page 23                                               Page 25
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · ·for the record.· I'd like to call          ·2· · when we opened it up, we named a copy KM so
       ·3· · · · ·this Exhibit 143, and this is the          ·3· · that we didn't corrupt it.
       ·4· · · · ·Excel spreadsheet called Summary, and      ·4· · · · Q.· So, basically, those two files are
       ·5· · · · ·it resides in a folder on Mr.              ·5· · the same except for that designation?
       ·6· · · · ·Paulikens's USB, which is called LTP       ·6· · · · A.· Yes.
       ·7· · · · ·support, which is within a folder          ·7· · · · Q.· Let's go back out to the folder, if
       ·8· · · · ·called response report, which is           ·8· · we can.
       ·9· · · · ·within a folder called Benlida             ·9· · · · · · So there's a folder that says, PDF
       10· · · · ·documents for deposition.                  10· · for report.
       11· · · · · · · ·And after the deposition, we'll      11· · · · A.· Yes.
       12· · · · ·figure out how to generate a piece of      12· · · · Q.· Let's open that.· And it's got a
       13· · · · ·paper.                                     13· · bunch of different files with names like E2
       14· · · · · · · ·MR. MAZZOLA:· Do you want to         14· · and E2A.
       15· · · · ·just make A, B, C, D, Es to that           15· · · · · · What are those?
       16· · · · ·exhibit?                                   16· · · · A.· Those, as I printed the documents
       17· · · · · · · ·MR. ROSENTHAL:· No.                  17· · that are in the exhibits in my report,
       18· · · · · · · ·(Whereupon, at this time,            18· · they're printed from Excel.· So in order to
       19· · · · ·Summary was marked Exhibit 143 for         19· · include them in the PDF, I have to print them
       20· · · · ·identification.)                           20· · to PDF, and my shorthand -- so when I put
       21· ·BY MR. ROSENTHAL:                                21· · them in populate the final expert report is
       22· · · · Q.· It's basically the summary of lead      22· · Exhibit 2, Exhibit 2A.
       23· · time penalty data, right?                       23· · · · Q.· Okay.· So if we just click on E2 for
       24· · · · A.· Yes.                                    24· · a second, let's see if that opens.· This is
       25· · · · Q.· So let me ask you to, I mean, I         25· · what I can't do on the drive you gave me.


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 9 of 79
                       Randall M. Paulikens, CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                   Page 26                                               Page 28
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · · · A.· Right.                                  ·2· · of them.· What happened?
       ·3· · · · Q.· That opens up a document that became    ·3· · · · A.· What happened was, similar to what
       ·4· · Exhibit 2 in your report?                       ·4· · you had with the flash drive, I had an issue
       ·5· · · · A.· Correct.                                ·5· · and you'll see by the dates, this was the one
       ·6· · · · Q.· Okay.· There is -- let's go back out    ·6· · that was finally used for the report because
       ·7· · to the folder.                                  ·7· · things got corrupted, which is why I changed
       ·8· · · · · · So you see the file called, the         ·8· · the name, but you asked for my file.
       ·9· · second one AJ Santye response report            ·9· · · · Q.· The one that says working copy 2 is
       10· · 7-8-23-F?                                       10· · the one that was used for the report?
       11· · · · A.· Yes.                                    11· · · · A.· Yes.· And I think that they all
       12· · · · Q.· What is the F, final?                   12· · translated to what was in the report.· But at
       13· · · · A.· Yes.                                    13· · one point that's all you see fixed.
       14· · · · Q.· Okay.· Do you have any drafts of the    14· · · · Q.· Okay, got it.
       15· · report saved?                                   15· · · · · · Let me just scroll down.· There's
       16· · · · A.· I deleted the drafts.· I had a          16· · something called -- a PDF document called,
       17· · corruption problem myself so I put in           17· · how do you pronounce it, Santye?
       18· · separation on it after I fixed it.              18· · · · A.· Santye.
       19· · · · Q.· And I assume that's your practice       19· · · · Q.· Santye expert report?
       20· · anyway, to delete drafts?                       20· · · · A.· Yes.
       21· · · · A.· Yes.· And they get overwritten          21· · · · Q.· Is that your report?
       22· · anyway in the ordinary course.                  22· · · · A.· I think that's the whole report.
       23· · · · Q.· Okay.· Going back to the folder tree    23· · Yeah, it looks like the whole PDF of the
       24· · of your USB drive, so now we're looking at      24· · report.
       25· · just documents, we've explored those first      25· · · · Q.· Just another version -- I mean,

                                                   Page 27                                               Page 29
       ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
       ·2· · three folders.                                  ·2· · another copy of this final report?
       ·3· · · · · · The Excel spreadsheet that's 2012 to    ·3· · · · A.· It looks like it.
       ·4· · 2019 reconciliation analysis?                   ·4· · · · · · · ·MR. LERNER:· It's 140 pages.
       ·5· · · · A.· Okay.                                   ·5· · · · Q.· And then there's a final -- let's go
       ·6· · · · Q.· That, again, doesn't contain any        ·6· · back out of that.· A final document, an Excel
       ·7· · working notes or calculations by your office,   ·7· · spreadsheet called Working analysis.· What is
       ·8· · or does it?                                     ·8· · that?
       ·9· · · · A.· No.· I think we called it working       ·9· · · · A.· Open it?· Okay.· This is some of our
       10· · copy, again, to separate it from the original   10· · work product, and you'll see a start feed
       11· · copy.· Because that, I believe, we can          11· · into the exhibits or actually cut and pasted
       12· · certainly open it, was the source for one of    12· · into our working copy, which you'll see this
       13· · the exhibits in my report.· And as I'm          13· · is, I think, on page 1 or page 2 of our
       14· · standing here, that one -- one of the           14· · report.
       15· · exhibits we had to -- we noted on it that we    15· · · · Q.· And this is actually something taken
       16· · moved some of the data to make it reasonably    16· · from -- this page we're looking at called
       17· · comparable to the other exhibits in terms of    17· · inserts tabs is taken from the KM report,
       18· · dating.                                         18· · right?
       19· · · · Q.· Okay.· So let me -- there's two         19· · · · A.· No.
       20· · Excel spreadsheets that we're looking at that   20· · · · Q.· What?
       21· · are titled the same title, Benlida payment      21· · · · A.· No.· This is work that we did
       22· · details CTX U.S. 2012 to 2021 version 5         22· · recreating the tables as published in the KM
       23· · working copy.                                   23· · report so that we could insert them as
       24· · · · A.· Um-hum.                                 24· · appropriate in our report.· And we inserted
       25· · · · Q.· It actually looks like there's three    25· · this column here because it was a math error


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                                                                                                                   YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 10 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 30                                               Page 32
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · in the KM report.· Which is why it's            ·2· · · · A.· There's blue highlights in the
      ·3· · highlighted in yellow.                          ·3· · tables, yes.
      ·4· · · · Q.· The column that's called difference     ·4· · · · Q.· Blue highlights sort of.· I'm just
      ·5· · per KM report?                                  ·5· · trying to describe how they appear.
      ·6· · · · A.· Yes.· Yes, that was what was in the     ·6· · · · A.· Okay.
      ·7· · KM report without the shading.· But there was   ·7· · · · Q.· Do these, I'd say, seven different
      ·8· · a math error in the report.· So we added this   ·8· · blue highlighted tables appear in your
      ·9· · column here, column P.                          ·9· · report?
      10· · · · Q.· And since we don't have this            10· · · · A.· In different places they do.· And we
      11· · document necessarily in the record with the     11· · reference the source document, where it came
      12· · columns, it's called, Difference with math      12· · from.
      13· · correction?                                     13· · · · · · · ·MR. ROSENTHAL:· Okay.· Just in
      14· · · · A.· Yes.                                    14· · · · ·the interest of completeness, I'm
      15· · · · Q.· Okay.· So just to be clear, the         15· · · · ·going to make an attempt to mark this
      16· · column -- and I'm now, you've referenced your   16· · · · ·folder, or sorry, this document,
      17· · report, which I'm holding, and I'm going to     17· · · · ·called Working analysis, this Excel
      18· · give you a copy of that so that we can both     18· · · · ·spreadsheet as Exhibit 145.· Because
      19· · be on the same page literally.                  19· · · · ·if we don't mark it this way we'll
      20· · · · · · · ·MR. ROSENTHAL:· I'd like to          20· · · · ·never find it again.
      21· · · · ·mark your report as Exhibit 144.           21· · · · · · · ·(Whereupon, at this time, the
      22· · · · · · · ·That's Mr. Paulikens's report.       22· · · · ·above-mentioned working analysis
      23· · · · · · · ·(Whereupon, at this time, the        23· · · · ·spreadsheet was marked as Exhibit 145
      24· · · · ·above-mentioned Paulikens expert           24· · · · ·for identification.)
      25· · · · ·report was marked as Exhibit 144 for       25· ·BY MR. ROSENTHAL:

                                                  Page 31                                               Page 33
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · ·identification.)                           ·2· · · · Q.· So while we're waiting for that
      ·3· ·BY MR. ROSENTHAL:                                ·3· · to -- for the computer to catch up, there's
      ·4· · · · Q.· So if you turn to page 2 of your        ·4· · another one that's -- another tab in this
      ·5· · report, does that chart that we have just       ·5· · same Excel spreadsheet called, Grand summary
      ·6· · been talking about on the screen appear there   ·6· · 2012 to 2021.· Is that --
      ·7· · as well?                                        ·7· · · · A.· Scroll up.
      ·8· · · · A.· Yes.· That's when we called it -- we    ·8· · · · Q.· -- also something --
      ·9· · printed a copy of the penultimate conclusion.   ·9· · · · A.· That may have wound up as part of
      10· · · · Q.· Okay.· So now, returning to the         10· · our report, too.· These were, again, we were
      11· · screen, there's a tab, Grand summary 2023.      11· · summarizing information for easy inclusion in
      12· · · · A.· Yes.                                    12· · the narrative section of our report.
      13· · · · Q.· Is this material that your office       13· · · · Q.· Thank you.· Okay.
      14· · prepared or in part prepared?                   14· · · · · · Well, that concludes the exciting
      15· · · · A.· This was drawn from other source        15· · tour of your USB drive.
      16· · documents, and this was literally -- so we      16· · · · · · Actually, I'm just going to check
      17· · didn't do it automatically by linking.· We      17· · two other things before I finish it.
      18· · did it by just reinserting certain things so    18· · · · · · I spoke too soon.· There's two other
      19· · they didn't get changed as we were putting      19· · documents which will take a moment.
      20· · the report together.· So this is partly our     20· · · · · · So we're looking now, Mr. Paulikens,
      21· · work product, partly a compilation of other     21· · at your USB drive and there's two Word
      22· · documents in the report.                        22· · documents at the very bottom of it.· One is
      23· · · · Q.· Okay.· And this tab, grand summary      23· · called 01-21 Benlida audited financial
      24· · 2023, has a bunch of blue colored tables,       24· · statements draft.
      25· · right?                                          25· · · · · · Do you know what that is?


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 11 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 34                                               Page 36
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Yes.· Benlida sent their audited        ·2· · · · Q.· Have you ever been retained to work
      ·3· · financials and various quarterly financials     ·3· · for a company known as Sinosure before?
      ·4· · in the fall of '22.· That -- and they were      ·4· · · · A.· Not that I recall, no.
      ·5· · literally in Chinese.· And that was the         ·5· · · · Q.· The China credit insurance entity?
      ·6· · translated version that I could use.            ·6· · · · A.· No, not that it rings any bells.
      ·7· · · · Q.· Okay.· And that -- your involvement     ·7· · · · Q.· Have you ever served as an expert in
      ·8· · with that was related to the hearing held in    ·8· · a case with either of these gentlemen at
      ·9· · Miami in January 2023?                          ·9· · Mazzola Lindstrom?
      10· · · · A.· Yes.· That was about, yeah, the         10· · · · A.· Yes.
      11· · settlement, whatever, move to maintain it,      11· · · · Q.· What case was that?
      12· · whatever.                                       12· · · · A.· It was Fred --
      13· · · · Q.· Not related to your current report?     13· · · · · · · ·MR. LERNER:· Faust.
      14· · · · A.· No.                                     14· · · · A.· Faust.
      15· · · · Q.· Okay.· Let me just open the last        15· · · · Q.· What did that involve?
      16· · file which is dated February 23rd of this       16· · · · A.· It was --
      17· · year, Benlida report and recommendation.        17· · · · Q.· You can't look to them to answer.
      18· · · · · · That's a court filing, right?           18· · · · A.· It was a wrongful termination case,
      19· · · · A.· Correct.· That was received.            19· · and the client -- we represented plaintiff
      20· · · · · · · ·MR. ROSENTHAL:· All right.           20· · who was seeking damages for various
      21· · · · ·That concludes the exciting traipse        21· · allegations he had against his former
      22· · · · ·through your USB.· I think we can now      22· · employer.
      23· · · · ·get out of that.                           23· · · · Q.· Okay.· And what court was that in,
      24· · · · · · · ·Let's take a quick break.            24· · do you recall?
      25· · · · · · · ·(Whereupon, a brief recess was       25· · · · A.· I believe that was New York Supreme.

                                                  Page 35                                               Page 37
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · ·taken.)                                    ·2· · I forget the county as I'm sitting here.
      ·3· ·BY MR. ROSENTHAL:                                ·3· · · · Q.· Do you recall who the other party
      ·4· · · · Q.· Mr. Paulikens, how many lawsuits are    ·4· · was, the counterparty?
      ·5· · you presently serving as a retained expert      ·5· · · · A.· It was, as I'm sitting here, I'm
      ·6· · in?                                             ·6· · embarrassed, I actually don't remember the
      ·7· · · · A.· Active and inactive, I've never         ·7· · other side's name and it was not that long
      ·8· · counted, but I would have to estimate between   ·8· · ago.
      ·9· · 15 and 25 cases that are in various stages of   ·9· · · · Q.· Is that the only case you can think
      10· · litigation process.                             10· · of that you worked with the Mazzola Lindstrom
      11· · · · Q.· And what percentage of your time is     11· · firm in?
      12· · presently spent serving as an expert witness    12· · · · A.· As of right now, it's the only other
      13· · for lawsuits?                                   13· · case I've been formally retained at.· There
      14· · · · A.· In my profession, roughly 80 percent    14· · may be -- there's another case that may or
      15· · of my time is spent in the litigation support   15· · may not go forward.· It's a small case in New
      16· · form.· 20 percent is traditional accounting,    16· · Jersey, still hasn't gotten very far.
      17· · roughly.· I didn't track it to the hour.        17· · · · Q.· Okay.· So other than those two
      18· · · · Q.· So by that you mean roughly             18· · cases, this is the only other case that you
      19· · 80 percent of your time is spent working as     19· · worked with the Mazzola Lindstrom firm in?
      20· · an expert witness?                              20· · · · A.· To the best of my knowledge right
      21· · · · A.· Right, or consulting as part of the     21· · now, yes.
      22· · litigation process.                             22· · · · Q.· Is that Faust case, I know you list
      23· · · · Q.· Okay.· Have you ever been retained      23· · your prior cases, do you have that listed on
      24· · to work for Benlida before?                     24· · the prior case list somewhere?
      25· · · · A.· No.                                     25· · · · A.· No.· I only list my prior testimony


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 12 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 38                                               Page 40
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · deposition or trial or arbitration.· Faust      ·2· · · · Q.· Okay.· When you were first retained
      ·3· · never got to deposition, trial or arbitration   ·3· · in this case, in I think you told us
      ·4· · so it is not listed.                            ·4· · May 2022?
      ·5· · · · Q.· Have you ever been disqualified or      ·5· · · · A.· Correct.
      ·6· · stricken by a court as an expert?               ·6· · · · Q.· Who were you retained by?
      ·7· · · · A.· No.                                     ·7· · · · A.· JC Mazzola and Rich -- the two of
      ·8· · · · Q.· Has a court ever limited the scope      ·8· · them.· And Mr. Richard Lerner.
      ·9· · of your expert testimony?                       ·9· · · · Q.· We previously marked your report as
      10· · · · A.· No.                                     10· · Exhibit 144.· I'll just refer to it as your
      11· · · · Q.· Has the court ever rejected your        11· · report.
      12· · expert opinions as unreliable?                  12· · · · · · I'm going to go through this in
      13· · · · A.· No.                                     13· · detail to understand what you've written and
      14· · · · Q.· Has your methodology that you've        14· · your opinions.· Okay?
      15· · used in your expert reports in other cases      15· · · · A.· Okay.
      16· · ever been deemed unrealistic?                   16· · · · Q.· On page 1, the very beginning you
      17· · · · A.· There was a case that my client         17· · say, As part of our retention, we have
      18· · lost, it was on Long Island.· The judge         18· · prepared this response report.
      19· · didn't agree with my position.· The case is     19· · · · A.· Yes.
      20· · under appeal.· I said the company was worth     20· · · · Q.· So I'm just going to focus on that
      21· · 29 million, the other expert said 6.· The       21· · part.
      22· · judge chose 6.                                  22· · · · · · What else were you retained to do by
      23· · · · · · Shortly after the decision, the         23· · the Mazzola Lindstrom firm for this case?
      24· · company was sold for $103 million in cash       24· · · · A.· Well, as I said, we were initially
      25· · plus 50 million in earn-outs.· It's under       25· · retained in May of '22, so a little more than

                                                  Page 39                                               Page 41
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · appeal.                                         ·2· · a year ago.· And we started working on and
      ·3· · · · Q.· So I think you answered this            ·3· · understanding the issues at hand.· And
      ·4· · question.· I think you gave that answer to a    ·4· · roughly, I think it was mid June we were told
      ·5· · question that I asked, whether a court had      ·5· · the case was settled, pencils down.
      ·6· · called your methodology unrealistic.· Is that   ·6· · · · · · So my first portion of my work was,
      ·7· · what happened in that case?                     ·7· · you know, whether it was a consultant or
      ·8· · · · A.· He was critical of the assumptions      ·8· · expert, we were going to, you know, prepare
      ·9· · and following the forecasts that I made,        ·9· · some level of analysis for them.· Then the
      10· · which turned out to be pretty reliable.· But    10· · case settled, at least --
      11· · there was criticism and it was written up, I    11· · · · Q.· Nominally?
      12· · think, in a couple of trade journals and        12· · · · A.· -- nominally settled, thank you.
      13· · nobody mentioned the sale of the company and    13· · And it went quiet until the fall.· And then
      14· · the appeal.                                     14· · worked on, you know, the enforcement of the
      15· · · · Q.· But I guess the question is, do you     15· · settlement action, for lack of a better term,
      16· · know whether the Court in that case called      16· · I became involved in the financial analysis.
      17· · your opinion unrealistic or not?                17· · So kind of three distinct portions of work.
      18· · · · A.· No.· I think he thought the             18· · · · Q.· And returning to page 1 of your
      19· · forecasts that I relied upon were               19· · report, the sentence I read continues to say,
      20· · unrealistic, and I'm not trying to nuance it    20· · We've prepared this response report to the
      21· · too much, but I think that's what he said.      21· · expert report prepared by Barry Mukamal and
      22· · · · Q.· Okay.· Has any court ever found that    22· · Mark Parisi, I'm leaving out their acronyms.
      23· · you have relied on considerations that are      23· · · · A.· Yes.
      24· · not appropriate in your opinions?               24· · · · Q.· So what is a response report in your
      25· · · · A.· No, not that I remember.                25· · practice, in general?


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 13 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 42                                               Page 44
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· It's basically, some people call it     ·2· · · · Q.· But you said a first-year student?
      ·3· · a response report, some people call it a        ·3· · · · A.· I'm sorry, I said first-year staff
      ·4· · rebuttal report.· But another expert will       ·4· · member, I'm sorry.
      ·5· · produce a report that, and this sounds          ·5· · · · Q.· Does that person have a professional
      ·6· · cliche, but we'll respond to, and/or answer     ·6· · degree?
      ·7· · or address what we either agree or disagree     ·7· · · · A.· He's an accountant, he's a degreed
      ·8· · with that response report.· So it's a           ·8· · accountant.· Bachelor's degree, I think he's
      ·9· · response to another expert's report.            ·9· · sitting for the exam.· But we call them first
      10· · · · Q.· Okay.· And would you consider this      10· · years nowadays as opposed to junior and
      11· · response report to be a full response or a      11· · senior.
      12· · full-throated response or something like that   12· · · · Q.· Okay.· Just so it is clear, what is
      13· · or is it a partial response?                    13· · that person's name?
      14· · · · A.· I believe it's a full-throated          14· · · · A.· I believe it was Michael Barry who
      15· · response to what was included in the four       15· · helped me on this matter.
      16· · corners of the KM report.· So, yes, it would    16· · · · Q.· B-A-R-R-Y?
      17· · be a full response to that.· They had some      17· · · · A.· Yes.
      18· · waivers that they might want to amend in        18· · · · Q.· Let me ask you a couple of questions
      19· · their report, and I also reserve the right to   19· · about finances.
      20· · amend as the need arises.                       20· · · · · · Your hourly rate that you're
      21· · · · Q.· So you were not instructed, you         21· · charging for your work, I think you listed in
      22· · know, don't touch certain issues that are in    22· · your report?
      23· · the KM report, respond to it in its entirety    23· · · · A.· It's 550.
      24· · as best you can?                                24· · · · Q.· Okay.· And did you charge a flat
      25· · · · A.· Yes.                                    25· · rate for this report or did you just do it

                                                  Page 43                                               Page 45
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.· You were never asked to          ·2· · hourly?
      ·3· · prepare an affirmative report on behalf of      ·3· · · · A.· It's hourly.
      ·4· · Benlida before the KM report was created?       ·4· · · · Q.· Do you know how many hours you did
      ·5· · · · A.· That's correct.                         ·5· · that went into creating this report?
      ·6· · · · Q.· Okay.· And did you work on this         ·6· · · · A.· I haven't looked at my timesheets
      ·7· · report alone or did you have the assistance     ·7· · so I couldn't -- I mean, it's a significant
      ·8· · of other professionals?                         ·8· · amount of hours, but I couldn't tell you if
      ·9· · · · A.· I had assistance of certain             ·9· · it's 30 or 50 as I'm sitting here.· I haven't
      10· · professionals, but the lion's share of all      10· · looked.
      11· · the work was done by me.                        11· · · · Q.· Do you have those records somewhere?
      12· · · · Q.· And how many other folks helped you     12· · · · A.· We have the records, I just don't
      13· · with the report?                                13· · know them.
      14· · · · A.· Probably two people.· One of them       14· · · · Q.· Okay.· If we wanted to get those
      15· · probably was mostly proofreading type of        15· · records as part of your total work on this
      16· · work, because I always try to have a cold set   16· · case, can we get those through your counsel
      17· · of eyes proofread.· I had a junior,             17· · potentially?
      18· · first-year student do some of the               18· · · · A.· Potentially.· I'll leave it to them
      19· · accumulations for me.· But this particular      19· · what they're willing to produce.
      20· · report I probably did 90 percent of the man     20· · · · Q.· Do you know the total amount you've
      21· · hours myself.                                   21· · been paid so far in this case representing
      22· · · · Q.· Okay.· And the junior person that       22· · Benlida or working as an expert for Benlida?
      23· · you mentioned, is that an employee of the       23· · · · · · · ·MR. LERNER:· Objection.
      24· · company?                                        24· · · · · · · ·You could answer.
      25· · · · A.· Right, yes.                             25· · · · A.· I have to bifurcate the answer.· The


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 14 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 46                                               Page 48
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · work I did at Friedman, which started in May    ·2· · deposition, what did you review to refresh
      ·3· · of '22, and I was with Friedman, technically    ·3· · your recollection?
      ·4· · I still am, the work we did ended by the end    ·4· · · · A.· I reviewed the KM report. I
      ·5· · of June.· I believe there was $25,000 that      ·5· · reviewed my report.· Clearly putting the
      ·6· · was ultimately paid to Friedman.                ·6· · documents together on the thumb drive, it was
      ·7· · · · Q.· You said it went until June of 2023?    ·7· · also part of review.· I reviewed, you know,
      ·8· · · · A.· No, June of 2022.                       ·8· · some of the financials, some of the other
      ·9· · · · Q.· Okay.                                   ·9· · information just to fully try to, you know,
      10· · · · A.· And then at Santye and Company, I       10· · get my recollection up as much as I could.
      11· · believe we billed and have been paid 60,000     11· · But I focused principally on my report and
      12· · from September through, I guess, through the    12· · the KM report and the documents that were
      13· · hearing.· That was the billing.· And then we    13· · involved in that.
      14· · were paid within the last couple of months.     14· · · · Q.· Did you review anything that's not
      15· · · · Q.· So from September of 2022 until the     15· · been listed in the materials we looked at on
      16· · last couple of months?                          16· · your USB drive or the two reports you just
      17· · · · A.· The hearing, which would have been      17· · described; anything sort of extraneous or
      18· · January of '23.                                 18· · exogenous to that set of data?
      19· · · · Q.· Okay.· Just to be clear.· So from       19· · · · A.· No.· Because I think our report was
      20· · that time period, September 22nd to             20· · issued on the 7th or so of July, so maybe
      21· · January 2023, you believe was about $60,000?    21· · about two weeks ago.· So I don't think there
      22· · · · A.· Something like that.                    22· · was a lot of opportunity to see anything not
      23· · · · Q.· And then since January 2023,            23· · listed on the report.
      24· · obviously, it was, as you described, pencils    24· · · · · · So as I'm sitting here, I can't
      25· · down for a period of time.· When you picked     25· · remember a particular document that I may

                                                  Page 47                                               Page 49
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · the pencils back up, since that time have you   ·2· · have looked at since.
      ·3· · billed?                                         ·3· · · · Q.· But I mean, there's nothing that
      ·4· · · · A.· Let me clarify.· It was pencils down    ·4· · stands out in your mind that you looked to as
      ·5· · on the settlement back in June of '22.· So a    ·5· · a resource that's, essentially, new, not from
      ·6· · year ago.· The case was quiet until circa       ·6· · the documents you had reviewed for preparing
      ·7· · October -- September, October of '22.· So       ·7· · your report, solely in preparation for
      ·8· · three months or so.· And then after the         ·8· · today's deposition?
      ·9· · hearing in January, there hasn't -- I don't     ·9· · · · A.· Yes.· No, there's nothing new in the
      10· · recall there being a lot of work that I've      10· · last two weeks that I recall.
      11· · done until we started responding to the KM      11· · · · Q.· Okay.· So in your report, you used
      12· · report.                                         12· · the term -- I'm going to direct you to page 2
      13· · · · Q.· Okay.· And I guess then that last       13· · at the top.· On the third line, you use the
      14· · interval of time where you were engaged to      14· · term CTX.
      15· · respond to the KM report, you don't have a      15· · · · A.· Yes.
      16· · sense of whether it's 30 or 50 or however       16· · · · Q.· Okay.· Just about defining terms,
      17· · manhours, right?                                17· · what does that refer to when you say CTX in
      18· · · · A.· Not as I'm sitting here right now.      18· · your report?
      19· · I haven't billed it yet.                        19· · · · A.· CTX, I think I defined earlier on.
      20· · · · Q.· So prior to that time, about            20· · There's CTX, which when I just use CTX it's a
      21· · $85,000?                                        21· · broad description of Circuitronix. I
      22· · · · A.· Yeah.                                   22· · understand there's Circuitronix entities,
      23· · · · Q.· Your firms have been paid?              23· · Circuitronix Hong Kong and there's others
      24· · · · A.· Yeah, something like that.              24· · that I am tangentially aware of.· But when I
      25· · · · Q.· In terms of preparation for today's     25· · say CTX, it's meaning the defendant.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 15 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 50                                               Page 52
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Well, who is the defendant in this      ·2· · at a point in time because it's a fluid
      ·3· · case, what entity?                              ·3· · number in general because they continue to do
      ·4· · · · A.· I believe it's CTX U.S.                 ·4· · business together.· Plus, you know, if you --
      ·5· · · · Q.· It's also known as CTX LLC?             ·5· · because of the way accounts receivable work,
      ·6· · · · A.· Yes.· I believe the name is on          ·6· · you need to start from day one, you can't
      ·7· · the -- yes, Circuitronix LLC.                   ·7· · just pick an arbitrary start date and say
      ·8· · · · Q.· And you're referring to the cover of    ·8· · we're going to measure it from here without
      ·9· · your report?                                    ·9· · an agreement as to what the beginning balance
      10· · · · A.· Yes.                                    10· · or opening balance was, if you're going to
      11· · · · Q.· So let me be clear.                     11· · try to truncate a long-term relationship.
      12· · · · · · When you use CTX, do you mean CTX       12· · · · Q.· Okay.
      13· · LLC or do you mean CTX broadly?                 13· · · · A.· I have not done that calculation.
      14· · · · A.· Different parts in the report I         14· · So when you said do we calculate amounts due,
      15· · tried to define CTX as broadly, because I       15· · I put illustrations in depending upon the
      16· · know there's multiple entities that are at      16· · data source of the magnitude that could be
      17· · issue.                                          17· · found, because multiple data sources of
      18· · · · Q.· Okay.                                   18· · multiple different numbers because they cover
      19· · · · A.· You know, when I was specifically       19· · multiple different time periods.
      20· · referring to one or the other, it was CTX's     20· · · · Q.· Okay.· You mentioned that a formal
      21· · particular paragraph is more of a setting the   21· · calculation like that would require a
      22· · table.                                          22· · reconciliation of accounts receivable from
      23· · · · Q.· Okay.                                   23· · day one, right?
      24· · · · A.· It was just, you know, what we were     24· · · · A.· Because the way I understand it --
      25· · talking about kind of thing.                    25· · · · Q.· Let me just -- I correctly recited

                                                  Page 51                                               Page 53
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.· So you weren't being precise     ·2· · what you had said, right?· That --
      ·3· · in that --                                      ·3· · · · A.· Go back?
      ·4· · · · A.· No.· I was just trying to set the       ·4· · · · Q.· -- part of the formal calculation
      ·5· · table as to what we were doing and looking      ·5· · requires a reconciliation of accounts
      ·6· · at.                                             ·6· · receivable from day one?
      ·7· · · · Q.· Okay.· Have you calculated the          ·7· · · · A.· Right.· Because my understanding of
      ·8· · amount of damages being sought by Benlida       ·8· · the case is Benlida seeking payment on its
      ·9· · anywhere in this lawsuit?                       ·9· · accounts receivable.
      10· · · · A.· No, not as formal calculation.· It's    10· · · · Q.· Okay.
      11· · an accounts receivable issue more than          11· · · · A.· Broadly speaking.
      12· · anything.                                       12· · · · Q.· Just on that point of the
      13· · · · Q.· Can you explain to me what those two    13· · reconciliation of accounts receivable, is it
      14· · terms mean in your mind so I understand what    14· · correct to say that both Circuitronix LLC and
      15· · you -- how you distinguish formal calculation   15· · Benlida, prior to this litigation, engaged in
      16· · from an accounts receivable issue?              16· · a back and forth attempting to do just that,
      17· · · · A.· Well, in order to do a formal           17· · this reconciliation of their accounts
      18· · calculation, you would need -- literally it's   18· · receivable?
      19· · related.· But in order to come to a precise     19· · · · A.· Yes.· And I absolutely reference
      20· · number that Benlida is entitled to, you know,   20· · that in my report, that there was a lot of
      21· · 6,632,000 yadda, yadda, dollars, you'd have     21· · information transmitted between both sides as
      22· · to do a fairly detailed calculation which       22· · they were trying to develop a number or an
      23· · incorporates an analysis in reconciliation of   23· · agreement or resolution.
      24· · the accounts receivable from day one, in        24· · · · Q.· Right.· So in other words, they
      25· · order to come to the specific finite numbers    25· · were -- we'll talk about this in detail, but


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 16 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 54                                               Page 56
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · the reconciliation effort that happened in      ·2· · · · A.· And, therefore, the damages, to use
      ·3· · 2019 between the parties was the type of work   ·3· · your word, is what Benlida is seeking in the
      ·4· · that you would agree, if you were hired to do   ·4· · lawsuit to be paid.
      ·5· · an independent formal calculation, you would    ·5· · · · Q.· What are its accounts receivable
      ·6· · be doing similar stuff, correct?                ·6· · that's owed?
      ·7· · · · A.· Similar, yes.· Because you want to      ·7· · · · A.· Right.· So when you say damages,
      ·8· · see, you know, what literally what does one     ·8· · there could be other elements of damages.
      ·9· · owe the other.                                  ·9· · It's a very broad category from my side of
      10· · · · Q.· Right.· And to do that you have to      10· · the table.
      11· · look at invoices and payments among other       11· · · · Q.· Right.
      12· · things, right?                                  12· · · · A.· In this case, it's a receivables
      13· · · · A.· Among other things.                     13· · issue, which is why I try to clarify that you
      14· · · · Q.· Okay.· In a granular fashion,           14· · need to look at accounts receivable.
      15· · presumably?                                     15· · · · Q.· Thank you.
      16· · · · A.· Potentially, yes.                       16· · · · · · So having clarified that term, have
      17· · · · Q.· Okay.· So we were just talking --       17· · you done that?· Have you looked at the
      18· · · · · · · ·MR. LERNER:· Can you read that       18· · accounts receivable independently to
      19· · · · ·back.                                      19· · determine how much Benlida is owed in your
      20· · · (Whereupon, at this time, the requested       20· · view?
      21· ·portion was read by the reporter.)               21· · · · A.· Not independently.· My role is to
      22· · · · Q.· So we were just -- I was asking you     22· · respond to the four corners of the KM report.
      23· · a series of questions starting from the         23· · · · Q.· Okay.· Could you have done it
      24· · premise that you had distinguished between a    24· · independently, based upon the data that you
      25· · formal calculation and an accounts -- I can't   25· · had?

                                                  Page 55                                               Page 57
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · read my own handwriting.· I think maybe it's    ·2· · · · A.· Could it be done, the data, I know,
      ·3· · accounts reconciliation.· Maybe you'll be       ·3· · there is tens and tens of thousands of pages
      ·4· · able to help me because I can't read my own     ·4· · that were available in May '22 before the
      ·5· · writing.                                        ·5· · settlement, and I haven't looked at them,
      ·6· · · · · · You had distinguished between, when     ·6· · maybe even at all since then, because the
      ·7· · I asked you did you do a formal calculation     ·7· · case settled.
      ·8· · or -- strike that.                              ·8· · · · · · So the information ought to be in
      ·9· · · · · · I had asked you whether you had         ·9· · there.· And certainly to diligently go
      10· · calculated the amount of damages that Benlida   10· · through the CTX reconciliation, the Benlida,
      11· · is owed in this case, you said, no, that        11· · and then the HK and all of that, I believe
      12· · would require a formal calculation, which you   12· · the information is in the universe to do
      13· · didn't do, right?                               13· · that; it would be an undertaking.
      14· · · · A.· Not a formal -- correct, not a          14· · · · Q.· Is it fair to summarize what you
      15· · formal calculation.                             15· · just said to say that you believe that the
      16· · · · Q.· And you distinguished that from         16· · data exists in the reconsolidation documents
      17· · something else, and I just can't recall the     17· · sent forth between Benlida and CTX but it
      18· · words you used.                                 18· · would be a major undertaking to do it?
      19· · · · A.· I will distinguish it again so we       19· · · · A.· Without knowing the full population
      20· · can be clear.                                   20· · of documents that were sent back and forth
      21· · · · Q.· Thank you.                              21· · because the documents sent back and forth,
      22· · · · A.· From my chair, the dispute is an        22· · reconciliations and summaries that the
      23· · accounts receivable dispute.                    23· · individual parties did, so to answer your
      24· · · · Q.· Receivable, that was the word I         24· · question, if an Excel sheet bounces between
      25· · couldn't read.                                  25· · both parties that references debit memos,


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 17 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 58                                               Page 60
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · invoices, and payments, that's not going to     ·2· · Benlida didn't have in their file that CTX
      ·3· · be part of the Excel worksheet.· They may be    ·3· · issued, and I understand there were some
      ·4· · referenced, but the data might be elsewhere,    ·4· · invoices that were missing.
      ·5· · you know, the bank drafts and that other type   ·5· · · · · · So while you said they had that
      ·6· · of stuff.                                       ·6· · information, my understanding from their
      ·7· · · · Q.· So when you refer to data, you mean     ·7· · whole reconciliation process is they kept
      ·8· · like the underlying documents that are          ·8· · finding things that one side didn't have.
      ·9· · summarized in those Excel spreadsheets?         ·9· · · · Q.· And during that 2019 reconciliation
      10· · · · A.· Correct, yeah.· There could be a        10· · process, part of what it surfaced was which
      11· · great deal of underlying data.· There's a lot   11· · documents each side seemed to be missing,
      12· · of invoices, for example.· So that, I           12· · right, from each other?
      13· · believe, must exist.· But when you use the      13· · · · A.· That's a fair summarization.
      14· · term that was transmitted between the           14· · · · Q.· And then they worked collaboratively
      15· · parties, that normally doesn't -- that          15· · to try to fill in those blanks, right?
      16· · underlying data is not included in an Excel     16· · · · A.· And I mentioned that in my report.
      17· · spreadsheet.                                    17· · · · Q.· So at the end of that reconciliation
      18· · · · Q.· But you understand that in the          18· · process, which I think is, like, if I'm
      19· · ordinary course of business between Benlida     19· · recalling correctly, November of 2019?
      20· · and Circuitronix, that Benlida would send       20· · · · A.· Something like that.
      21· · invoices to Circuitronix, right?                21· · · · Q.· They've gone back and forth several
      22· · · · A.· Yes.                                    22· · times and sort of evolved their effort to
      23· · · · Q.· So, therefore, both parties             23· · find the answer, right, on their accounts
      24· · presumably have those invoices, right?          24· · reconciliation?
      25· · · · A.· That's what I kind of thought I just    25· · · · A.· Yeah, they had gone back and forth,

                                                  Page 59                                               Page 61
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · said.                                           ·2· · and I believe they were narrowing in on at
      ·3· · · · Q.· Okay.· And also then if Circuitronix    ·3· · least that they each had the same amount of
      ·4· · would issue debit memos to Benlida that both    ·4· · data.· I'm sorry, the same data.· And then my
      ·5· · parties would have a copy of the debit memos    ·5· · understanding is disputes began about cutoffs
      ·6· · that Circuitronix issued to Benlida, correct?   ·6· · and other things, and that's more the legal
      ·7· · · · A.· You would think both parties had the    ·7· · side of the issue.· But my understanding,
      ·8· · same data.                                      ·8· · they were working towards at least to agree
      ·9· · · · Q.· And, likewise, that if Circuitronix     ·9· · on a population.
      10· · made payments to Benlida, that there would be   10· · · · Q.· So in summary, if you had access to
      11· · records of those payments on both sides of      11· · the underlying data, that makes up the
      12· · the transaction as well, right?                 12· · spreadsheets that are in the account
      13· · · · A.· You would expect that.                  13· · reconciliation documents that Benlida and
      14· · · · Q.· So that underlying data that you        14· · Circuitronix exchanged with one another in
      15· · just described presumably is held by both       15· · 2019, you would presumably have been able to
      16· · companies, right, one would expect?             16· · do an accounts receivable calculation
      17· · · · A.· One would expect.· One would -- I'm     17· · independently, correct?
      18· · not trying to be -- they have access to the     18· · · · A.· If you had all of the data and it
      19· · data.· Whether it's held or how it is held      19· · was all agreed to, presumably you could.
      20· · because part of the issue in the                20· · · · Q.· And if you had 95 percent of it, you
      21· · reconciliations was neither party -- and I      21· · could do 95 percent of an accounts
      22· · say this in my report, seem to have a           22· · receivable, independent calculation?
      23· · complete document set.                          23· · · · A.· Certainly the more data -- the more
      24· · · · · · And, again, this is by way of           24· · complete your data, the more comprehensive
      25· · illustration, but there was debit memos that    25· · and accurate your result would be.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 18 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 62                                               Page 64
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· But assuming that the end of the        ·2· · Circuitronix, if asked by counsel?
      ·3· · process of both companies working to try to     ·3· · · · A.· If asked by counsel and I prepare a
      ·4· · find the complete picture with all the data     ·4· · report, then I would be asked to do that, but
      ·5· · resulted in, and I'm making up a number,        ·5· · I wasn't asked to do that in preparing the
      ·6· · 95 percent of it being located, if you had      ·6· · response report.· I was pointing out the
      ·7· · that 95 percent of the data hypothetically,     ·7· · shortcomings, my opinion, in the KM report
      ·8· · you could produce an independent accounts       ·8· · because of the missing pieces.
      ·9· · receivable analysis that would represent that   ·9· · · · Q.· Okay.· So do you have -- have you
      10· · 95 percent, right?                              10· · formed an opinion of the amount being sought
      11· · · · A.· If it was 95 percent of all of the      11· · by the plaintiff Benlida, as you write on
      12· · relevant data that the parties believe is       12· · page 1 of your report?
      13· · accurate, you could.· But I understand part     13· · · · A.· No, not a formal number.· As I put
      14· · of the dispute is that different parties have   14· · out in my report on various pages, I said,
      15· · a different involvement in the data.· So if     15· · using the phrase, Depending on the data
      16· · you had 95 percent of half of the               16· · source Benlida is owed, I think, anywhere
      17· · information, your receivable -- your            17· · from the low 3 millions to as much as
      18· · reconciliation may not necessarily tell the     18· · $8 million, depending upon the data source.
      19· · whole picture.                                  19· · And, again, all the data that was cited, some
      20· · · · Q.· So let's go back to your report on      20· · of it started in 2012, went through '19, and
      21· · page 1, I think.· The bottom paragraph. I       21· · then some of it started in '15 and then went
      22· · think you just alluded to this.                 22· · through '21.
      23· · · · · · You say, as we will discuss in the      23· · · · · · So when you compared the running
      24· · following pages, It is not what is in the KM    24· · totals of each, you had a significant order
      25· · report that should be instructive to the        25· · of magnitude difference.· Benlida is over --

                                                  Page 63                                               Page 65
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · trier of fact, it is what is not in the KM      ·2· · owes CTX on one set of data by -- and I'll
      ·3· · report that actually informs the reader of      ·3· · use 5 million for simple illustration, but
      ·4· · the order of magnitude of the amount being      ·4· · the Hong Kong entity is owed 13 million.· So
      ·5· · sought by the plaintiff, Benlida, and why.      ·5· · it's a net 8 million that Benlida owes.
      ·6· · Right?                                          ·6· · · · · · And I was pointing out that the KM
      ·7· · · · A.· Yes, you read that correctly.           ·7· · report didn't cover that issue, didn't
      ·8· · · · Q.· Is your response report attempting      ·8· · address it, didn't even mention it.· So
      ·9· · to show the amount being sought by the          ·9· · that's why I put different examples and
      10· · plaintiff, Benlida?                             10· · caveated them, was dependent upon the data
      11· · · · A.· No.· My response report is              11· · source.
      12· · responding to the KM report, which only         12· · · · Q.· So on page 4 of your report, there's
      13· · discussed the U.S. -- Circuitronix U.S. and     13· · a paragraph that begins, The significant
      14· · it ignored the Hong Kong issue.· And my         14· · disparity.
      15· · report specifically discusses, there's a        15· · · · · · Do you see that?
      16· · whole other portion of a -- of a dispute        16· · · · A.· Yes.
      17· · here, and the results of the KM report taken    17· · · · Q.· Three lines down at the right side
      18· · on its face don't make commercial sense.        18· · it begins a sentence that says, quote, As we
      19· · · · Q.· So help me with this.· If your          19· · will show information from KM and others show
      20· · report is not making an affirmative statement   20· · that CTX HK owes about $13 million, close
      21· · or if you don't intend to testify as to how     21· · quote.
      22· · much money Benlida should be owed -- let me     22· · · · A.· Yes.
      23· · stop right there.                               23· · · · Q.· That's the high-end range -- well,
      24· · · · · · Do you intend to testify in this        24· · no, that's the highest number I think I've
      25· · case how much money Benlida is owed by          25· · seen in your report that you refer to,


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 19 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 66                                               Page 68
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · correct?                                        ·2· · · · A.· Yes.· We printed some of them.
      ·3· · · · A.· That might be.                          ·3· · · · Q.· If we look on the screen, I have
      ·4· · · · Q.· Okay.                                   ·4· · your PDF right here.· It says, Paulikens'
      ·5· · · · A.· That might be.· And could I make a      ·5· · open report.
      ·6· · correction?· The date of the e-mail that I      ·6· · · · · · · ·MR. LERNER:· Also, note for the
      ·7· · referenced, I typed wrong.                      ·7· · · · ·record Exhibit 144 does not include
      ·8· · · · Q.· Let's -- we'll get to that later.       ·8· · · · ·all of the attachments.
      ·9· · Let's just stay on this issue.                  ·9· · · · · · · ·MR. ROSENTHAL:· Correct.
      10· · · · A.· Okay.                                   10· · · · ·Otherwise it would be ten times as
      11· · · · Q.· So with respect to the statement you    11· · · · ·long.
      12· · say, As we will show, information from KM and   12· · · · · · · ·THE WITNESS:· Can we take a
      13· · others show that CTX HK owes about              13· · · · ·five-minute break?
      14· · $13 million, have you done an independent       14· · · · · · · ·MR. ROSENTHAL:· Sure.
      15· · calculation to come up with that figure?        15· · · · · · · ·(Whereupon, a brief recess was
      16· · · · A.· No.· What I did was I took one of       16· · · · ·taken.)
      17· · the files that we went through on the thumb     17· ·BY MR. ROSENTHAL:
      18· · drive that was produced to your expert, which   18· · · · Q.· Mr. Paulikens, I'm showing you a
      19· · was from his files that showed the HK -- I'll   19· · copy of your report on the computer screen
      20· · call it the HK portion.                         20· · because this copy of it, digital copy, has
      21· · · · Q.· You're referring to the Circuitronix    21· · the exhibits which are voluminous.
      22· · Hong Kong?                                      22· · · · A.· Okay.
      23· · · · A.· Yes.                                    23· · · · Q.· They are not printed out in
      24· · · · Q.· Okay.                                   24· · Exhibit 144.
      25· · · · A.· It showed the same blue highlighted     25· · · · · · So I want to ask you whether the

                                                  Page 67                                               Page 69
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · amounts, it showed invoices, debit memos,       ·2· · blue highlighted chart that appears at the
      ·3· · payments, and it showed that the running        ·3· · top of page 8 of your report that you were
      ·4· · total at one point was $13 million.· It's       ·4· · just talking about is the same one that
      ·5· · reprinted as part of a report and that came     ·5· · appears as Exhibit 3?
      ·6· · directly from the KM files.                     ·6· · · · A.· I have to get up.
      ·7· · · · Q.· Let me direct you to page 8 of your     ·7· · · · Q.· Please.· And then I'll scroll down
      ·8· · report, to the blue highlighted chart, and      ·8· · and rotate this.· The top says, Source,
      ·9· · ask you whether that's the one you're           ·9· · Benlida shipment and payment details CTX-HK
      10· · referring to.                                   10· · 2012 to 2019.
      11· · · · · · · ·(Witness peruses document.)          11· · · · · · And you might want to take your
      12· · · · Q.· At the top of the page.                 12· · report with you, just to --
      13· · · · A.· Yes.· And there's the 13 million.       13· · · · A.· That looks like the same chart.
      14· · · · Q.· That's the one that says, Balance       14· · Because it was brought forward from the
      15· · due slash credit balance, and it's got 13.492   15· · exhibit, certainly the numbers agree.
      16· · million?                                        16· · · · Q.· Okay.· So those are the same two
      17· · · · A.· Correct.· And that was -- the source    17· · things, right?
      18· · document came from CTX Hong Kong was part of    18· · · · A.· Yes.· And this is the exact -- this
      19· · the reconciliations that they were doing in     19· · is the exhibit?
      20· · 2019, and that particular file came from your   20· · · · Q.· You're asking me?
      21· · expert's files.                                 21· · · · A.· Yes.
      22· · · · Q.· So let me do this, because I know       22· · · · Q.· Yes, see, it says Exhibit 3?
      23· · that you marked certain of these charts with    23· · · · A.· Exhibit 3, and is there pages behind
      24· · the blue highlighting as exhibits to your       24· · it?
      25· · report, right?                                  25· · · · Q.· Yes.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 20 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 70                                               Page 72
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Okay, there's detail, yes.              ·2· · directed us to?
      ·3· · · · Q.· So I want to just ask you something     ·3· · · · A.· Correct.· That was the source
      ·4· · else about the source document for this chart   ·4· · document and then --
      ·5· · that is Exhibit 3 to your report, and also      ·5· · · · Q.· Let me just for the record be clear.
      ·6· · appears on page 8 of it.                        ·6· · That's dated on the computer file 7/14/2023?
      ·7· · · · · · In your document that you provided      ·7· · · · A.· Which would have been the date that
      ·8· · us, and I'm pulling it up on the screen, I'm    ·8· · it was sent to you.
      ·9· · going into the folder called, Further           ·9· · · · Q.· Okay.· And it is 256 kilobytes,
      10· · documents reviewed by Randall Paulikens. I      10· · right, just to identify it?
      11· · want to show you the document that matches      11· · · · A.· I think that's correct, yeah.
      12· · that title, which is Benlida shipment and       12· · · · Q.· Okay.
      13· · payment details.· Bear with me a second.        13· · · · · · · ·MR. ROSENTHAL:· So at the end
      14· · · · A.· Right here?                             14· · · · ·of the deposition, we'll print this
      15· · · · Q.· You're pointing to the one that says    15· · · · ·one out as, at least that summary
      16· · CTX HK 2012 to 2019?· Let me open that then,    16· · · · ·page, and mark that as Exhibit 146.
      17· · it's an Excel spreadsheet.                      17· · · · · · · ·(Whereupon, at this time, the
      18· · · · · · This brings up a blue highlighted --    18· · · · ·above-mentioned file entitled Benlida
      19· · the summary tab brings up a blue highlighted    19· · · · ·shipment and payment details CTX HK
      20· · chart, right?                                   20· · · · ·2012 to 2019 was marked as Exhibit
      21· · · · A.· Correct.                                21· · · · ·146 for identification.)
      22· · · · Q.· And it doesn't have additional          22· · · · · · · ·MR. LERNER:· So only the
      23· · columns like you had done where it says         23· · · · ·summary page will be 146?
      24· · payment type?                                   24· · · · · · · ·MR. ROSENTHAL:· We can make the
      25· · · · A.· We had spread it out to show the        25· · · · ·whole exhibit that, but we can print

                                                  Page 71                                               Page 73
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · payment type and show the debit memos, but it   ·2· · · · ·out just the summary page.
      ·3· · still gets to the same $13,492,000, which I     ·3· · · · · · · ·MR. MAZZOLA:· What is the whole
      ·4· · referenced it as the source of the              ·4· · · · ·exhibit?
      ·5· · information.· So I spread it out to make it     ·5· · · · · · · ·MR. ROSENTHAL:· It's 146, it's
      ·6· · easier to compare the other tables.             ·6· · · · ·called Benlida payment and shipment
      ·7· · · · Q.· Okay.· So, okay, so this is the         ·7· · · · ·details CTX HK.
      ·8· · source file for --                              ·8· · · · · · · ·MR. MAZZOLA:· Off the record.
      ·9· · · · A.· Right, there is a few versions of       ·9· · · · · · · ·(Discussion held off the
      10· · it, and if we click on that -- and there was    10· · · · ·record.)
      11· · also similar information.· Again, there was a   11· ·BY MR. ROSENTHAL:
      12· · lot of Excel files going back and forth, but    12· · · · Q.· The last one was Chinese?
      13· · that is the source for that $13 million we      13· · · · A.· Yes.
      14· · just saw that it agreed.                        14· · · · Q.· All right.· So I'll go back.
      15· · · · Q.· Okay.· So I don't recall whether we     15· · Anyway, this Excel spreadsheet is in the
      16· · made this an exhibit previously, but so just    16· · folder called -- that Mr. Lerner sent,
      17· · for the purpose of clarity, the Excel           17· · Further documents reviewed by Randall
      18· · spreadsheet file that we're looking at, which   18· · Paulikens.
      19· · I'm going to make this the next exhibit which   19· · · · · · Do you see that?
      20· · will be 146, is entitled Benlida shipment and   20· · · · A.· Yes.· And that came out of -- that's
      21· · payment details, CTX HK 2012 to 2019, right?    21· · it from your expert's production, which is
      22· · · · A.· Correct.                                22· · why it's that name and it looks a little
      23· · · · Q.· And then I will close out of it, Mr.    23· · different.· So that's your expert's file --
      24· · Paulikens and you can look at where it          24· · · · Q.· Okay.
      25· · resides on the folder.· This is the one you     25· · · · A.· -- not mine.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 21 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 74                                               Page 76
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.· Just to be clear, that's         ·2· · different sources, that's why I was asking
      ·3· · the -- we've established that is the Excel      ·3· · that question.
      ·4· · spreadsheet that becomes the source for this    ·4· · · · A.· No, no.· It's that same basic file
      ·5· · chart that's on page 8 of your report and       ·5· · that's been shared multiple times.
      ·6· · also Exhibit 3 of your report, correct?         ·6· · · · Q.· Okay.· Let me go back to page 3 of
      ·7· · · · A.· Yes.· The file you just looked at       ·7· · your report.
      ·8· · was from your expert, but the source            ·8· · · · · · There's a small one-sentence
      ·9· · information --                                  ·9· · paragraph above the words, The dispute, that
      10· · · · Q.· Is what you used?                       10· · subheading.
      11· · · · A.· -- is what we used, which is from       11· · · · A.· Okay.
      12· · his file.                                       12· · · · Q.· And you say that, quote, To fully
      13· · · · Q.· Okay.· All right.                       13· · understand the economic relationship between
      14· · · · · · Going back to page 4 of your report,    14· · the parties and where the state of the
      15· · the line that I asked you about a few minutes   15· · ultimate economic relationship lies, correct?
      16· · ago before the break, where you talked about    16· · · · A.· You didn't read the whole sentence.
      17· · the $13 million number?                         17· · · · Q.· Okay.· This fact, as well as the
      18· · · · A.· Yes.                                    18· · actions of all sides, needs to be considered
      19· · · · Q.· Are you with me?· You said we will      19· · to fully understand the economic relationship
      20· · show information from KM and others show that   20· · between the parties and where the state of
      21· · CTX HK owes about $13 million?                  21· · the ultimate economic relationship lies.
      22· · · · A.· Yes.                                    22· · · · · · Did I read that correctly?
      23· · · · Q.· The information from KM, is that the    23· · · · A.· Yes, you did.
      24· · document that we just looked at on the          24· · · · Q.· Okay.· So who are the parties in
      25· · screen?                                         25· · that sentence?

                                                  Page 75                                               Page 77
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· That's the document, because that       ·2· · · · A.· The parties -- I was referring to
      ·3· · came from KM.· That came from KM's file and     ·3· · the paragraph above, which talked about the
      ·4· · the others is, that was one of the documents    ·4· · hearing from January.· And I was simply
      ·5· · that was bounced back and forth during          ·5· · saying that certainly the two litigants are
      ·6· · reconciliation process.                         ·6· · doing -- have been doing business together
      ·7· · · · Q.· Okay.· So let me -- you're ahead of     ·7· · for a long period of time.· And my
      ·8· · me because what I wanted to ask you what does   ·8· · understanding from the testimony is that
      ·9· · and "others" mean in your report, information   ·9· · there is a relationship, and I said it in the
      10· · from KM and others?                             10· · paragraph, that is not -- they're friends.
      11· · · · A.· So that document was attached to one    11· · Friendly.
      12· · of the e-mails as they were -- the parties      12· · · · · · So there's a long relationship,
      13· · were trying to resolve their dispute.           13· · there was testimony about business dealings,
      14· · · · Q.· Okay.· So in other words, when you      14· · and I said to look at the whole picture
      15· · say, We will show information from KM and       15· · between them you need to look at the whole
      16· · others that CTX HK owes about $13 million,      16· · picture between them.· That's all I was
      17· · this is KM and others is one unit that's        17· · saying.
      18· · referring to the document that we just looked   18· · · · Q.· I'm asking a narrower question.
      19· · at which is Exhibit 3 to your report?           19· · · · A.· Okay.
      20· · · · A.· Right.                                  20· · · · Q.· Who are the parties when you refer
      21· · · · Q.· And that Excel spreadsheet that we      21· · to that it is necessary to look at the
      22· · just marked as Exhibit 146?                     22· · economic relationship between the parties?
      23· · · · A.· Right.· That was the information I      23· · Who do you mean?
      24· · was citing that it came from other people.      24· · · · A.· Well, I was talking about the key
      25· · · · Q.· Okay.· I wasn't sure if it was two      25· · members of the litigants have a long


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 22 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 78                                               Page 80
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · relationship outside of business as neither     ·2· · · · A.· Okay.· Two issues.· One, the KM
      ·3· · side denied a level of familiarity.· So         ·3· · report only focused on the CTX U.S. portion
      ·4· · that's what I was referring to.                 ·4· · and ignored the Hong Kong portion.· So from
      ·5· · · · Q.· So you're referring to the people,      ·5· · my chair as an accountant, that's an
      ·6· · not the companies?                              ·6· · incomplete picture, and we discussed with
      ·7· · · · A.· I was referring to people, and the      ·7· · that chart why it is an incomplete picture.
      ·8· · people who run the companies.                   ·8· · · · · · Secondly, there was discussions in
      ·9· · · · Q.· Which people were you referring to?     ·9· · the testimony that there were -- there's
      10· · · · A.· There's Tracy, there's Rishi, and       10· · claims that they were -- that one party was
      11· · I'm not going to try the luck at the last       11· · fronting money to another, you know.· And so
      12· · names.· There's Richard, that's -- there was    12· · it sounded like if we're going to understand
      13· · other -- there's other managers.· But           13· · what the ultimate economic truth is we need
      14· · there's -- my understanding from the            14· · to look at all of this information, including
      15· · testimony was there was a certain level of      15· · all of these, I'll call it, side details,
      16· · familiarity.                                    16· · because they may feed into the behavior of
      17· · · · · · · ·MR. LERNER:· Hold on, you said       17· · the parties, which drives the ultimate
      18· · · · ·Richard.· You didn't mean -- the only      18· · economics, which wasn't covered in the KM
      19· · · · ·Richard I know of in this case is me.      19· · report.
      20· · · · · · · ·THE WITNESS:· No.· The               20· · · · Q.· And when you refer to a discussion
      21· · · · ·accountant, I think the title is CFO.      21· · in the testimony that one party was fronting
      22· · · · · · · ·MR. LERNER:· Are you thinking        22· · money to another, can you be more specific to
      23· · · · ·of Roger?                                  23· · what you're referring to?
      24· · · · · · · ·THE WITNESS:· Roger, I'm sorry,      24· · · · A.· Yeah, there was discussions about
      25· · · · ·Roger.                                     25· · moneys that were sent from one entity to

                                                  Page 79                                               Page 81
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· ·BY MR. ROSENTHAL:                                ·2· · another, having to do with regulatory issues
      ·3· · · · Q.· So you say you became aware of that     ·3· · in China.· I couldn't -- I don't know the
      ·4· · from the testimony.· Did you read a             ·4· · specific cites, but there was a certain
      ·5· · transcript of the testimony of that hearing?    ·5· · amount of cooperation between the parties
      ·6· · · · A.· I was in the hearing towards the end    ·6· · that was testified to.· And all I'm saying in
      ·7· · of the day.· I was sequestered for six or so    ·7· · that paragraph is, we need to look at
      ·8· · hours of it.· And the latter two hours, I was   ·8· · everything to get to a definitive number and
      ·9· · in the courtroom and I did hear part of         ·9· · not a snapshot of a particular piece.
      10· · Tracy's -- I'm not going to get her last name   10· · · · Q.· You had in your documents that you
      11· · right, and Rishi's testimony as well as the     11· · reviewed excerpts of deposition testimony I
      12· · CFO for Circuitronix.                           12· · noticed.· Did you have entire depositions as
      13· · · · Q.· So you were in the courtroom during     13· · well or just excerpts that were provided?
      14· · that --                                         14· · · · A.· Just the excerpts, as they were made
      15· · · · A.· I was in the courtroom for the          15· · as part of the record for the motion hearing
      16· · latter two hours or so.                         16· · in January.
      17· · · · Q.· In that sentence on page 3 of your      17· · · · Q.· Okay.· So I assume that that's the
      18· · report that I had originally focused on, you    18· · source that you're drawing upon for what you
      19· · used the terms, The economic relationship and   19· · were just testifying?
      20· · then you say, The ultimate economic             20· · · · A.· It was that there was some of the
      21· · relationship.                                   21· · other moving papers from the court documents
      22· · · · A.· Correct.                                22· · and I think it was covered in the testimony
      23· · · · Q.· What do you mean by ultimate as         23· · that I heard at least portions of the ones
      24· · distinguished from just the economic            24· · that were actually in the hearing.
      25· · relationship?                                   25· · · · Q.· So there's another place where you


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 23 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 82                                               Page 84
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · refer to the entire economic picture as         ·2· · · · · · Do you agree that they properly
      ·3· · you've just testified to on page 4 of your      ·3· · express limitations in their report?
      ·4· · report at the top, the top paragraph, let me    ·4· · · · A.· Well, they were fairly clear that
      ·5· · direct you to that.                             ·5· · they did this and this and did not do that
      ·6· · · · · · Do you see the paragraph that           ·6· · and that.· And I'm not trying to be vague,
      ·7· · starts, As a result?                            ·7· · but I'm trying to answer the question
      ·8· · · · A.· Okay.                                   ·8· · quickly.
      ·9· · · · Q.· You have a parentheses there that       ·9· · · · Q.· Right.
      10· · says, Since the KM report did not produce any   10· · · · A.· And I think when an expert doesn't
      11· · information or analysis with regard to CTX HK   11· · do something and communicate it basically
      12· · or ROK, the KM report is not a source as to     12· · upfront, that's proper.· Because then you
      13· · the entire economic picture either, right?      13· · don't hold them responsible for something
      14· · · · A.· Correct.                                14· · they didn't do or weren't asked to do.· So
      15· · · · Q.· And that's what you were just           15· · that's what I was saying here.
      16· · testifying about, a part of the picture,        16· · · · · · They were fairly clear, we only
      17· · versus the entirety, right?                     17· · looked at this, we didn't look at the source
      18· · · · A.· Correct.· There's a Hong Kong           18· · documents, we compared the two
      19· · picture, there's the U.S. picture, and I know   19· · reconciliations and some other information,
      20· · it's a legal dispute and I'm speaking as an     20· · and that's all that we did.
      21· · accountant, but those are some big disputes     21· · · · · · And from my chair as another expert,
      22· · and the KM report didn't cover the other        22· · I believe that's an appropriate, call it a
      23· · half, if you will.                              23· · limitation, but it's an appropriate
      24· · · · Q.· What companies are involved in the      24· · communication of what they did or did not do.
      25· · entire economic picture, in your view?          25· · · · Q.· So the KM report was clear about

                                                  Page 83                                               Page 85
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· A definitive list, I can't generate     ·2· · what they were considering and what they
      ·3· · as I'm sitting here.· But there's certainly     ·3· · weren't considering, right?
      ·4· · Circuitronix, the parent, in Miami, there's     ·4· · · · A.· From my chair, the short answer,
      ·5· · Circuitronix Hong Kong, there's Benlida and     ·5· · yes.· And I think I basically said that.
      ·6· · then there's ROK.· And then there's a new       ·6· · · · Q.· Okay.· And you also say on page 3 of
      ·7· · Benlida entity that's building a factory.       ·7· · your report, at the top line, We take issue
      ·8· · · · · · They all seemingly work together in     ·8· · not as much with what is included in the KM
      ·9· · terms of communication.· Again, that's a        ·9· · report, close quote, I'm going to stop right
      10· · legal issue.· I'm not trying to prejudge it,    10· · there.
      11· · but there is a certain amount of cooperation    11· · · · A.· Okay.
      12· · between the entities.                           12· · · · Q.· Does that mean that you don't take
      13· · · · Q.· So your view is that all of those, I    13· · issue with what they didn't choose to include
      14· · think you named five entities, need to be       14· · in their report, that analysis?
      15· · considered to get the, quote, entire economic   15· · · · A.· Well, as I say later on in my
      16· · picture, close quote?                           16· · report, their report was a summary and they,
      17· · · · A.· Correct.· Because the individual        17· · you know, summarized the information, they
      18· · pieces don't necessarily make economic sense    18· · didn't include the exhibits.· So I said words
      19· · in a vacuum.                                    19· · to the effect, since they didn't produce
      20· · · · Q.· Let me take you back to page 2 of       20· · their file, a more comprehensive report, we
      21· · your report.· If you can turn there, I'm        21· · couldn't recreate their work.· But we weren't
      22· · going to ask you about something you wrote.     22· · in the position to fully agree or disagree,
      23· · · · · · At the top, first line, you write,      23· · but we noted some congruence with what we had
      24· · The limitations of the KM report are properly   24· · seen with what they had done, and we said we
      25· · spelled out on page 3 of the KM report.         25· · are not taking issue with certain analyses


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 24 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 86                                               Page 88
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · they had actually been done for purposes of     ·2· · that meant as criticism or just description
      ·3· · our response report.· I'm paraphrasing but I    ·3· · of what they did?
      ·4· · think it's almost a quote.                      ·4· · · · A.· Just a description.· And I don't
      ·5· · · · Q.· What does it mean to not take issue     ·5· · think they used the word simply.· But in
      ·6· · when you are a rebuttal expert?                 ·6· · their report they said, and I'm paraphrasing,
      ·7· · · · A.· For purposes -- when I say that, I'm    ·7· · we compared the CTX reconciliation to the
      ·8· · saying, okay, I can accept what they're         ·8· · Benlida reconciliation.· And they did not
      ·9· · saying, at least insofar as this whatever       ·9· · look to the source documents, they didn't
      10· · piece I'm discussing.· And if I don't have a    10· · seek to validate the underlying data.
      11· · position to disagree with them, then I won't    11· · · · · · They were pretty descriptive in the
      12· · necessarily take issue, because maybe they're   12· · report that they can -- they compared this to
      13· · right on this piece of what they did.· And      13· · this, and produced what they produced.· And
      14· · I'm not going to argue it if there's nothing    14· · that's what they did.· Perhaps that's what
      15· · to argue.· And I said that, I think, very       15· · they were asked to do.· But what I'm saying
      16· · clearly in the report.                          16· · here is, that's what they did, they didn't go
      17· · · · Q.· Okay.· I mean, in other words, just     17· · through and do a forensic analysis of the
      18· · to be more concrete, what you're referring to   18· · underlying documents.· They didn't go to
      19· · now, the part of their report that you don't    19· · provide assurance that the CTX source
      20· · take issue with, correct me if I'm misstating   20· · information was correct.· They relied upon
      21· · this, is the 2019 reconciliation part; is       21· · what was given to them by CTX and Benlida,
      22· · that right?                                     22· · and didn't go any further to vet or validate
      23· · · · A.· Well, a little bit more granular.       23· · the underlying data, and they said that
      24· · The way they did their report, they compared    24· · clearly.
      25· · invoices and tried to locate the exceptions,    25· · · · Q.· And part of the reason that you

                                                  Page 87                                               Page 89
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · which I don't have a problem with from a        ·2· · don't take issue with that part of their
      ·3· · methodology perspective.· And they came out     ·3· · report is that the data that they relied on
      ·4· · with the 600-odd-thousand dollar difference.    ·4· · from CTX was also passed through Benlida
      ·5· · I wasn't offended by that result, for the       ·5· · during that reconciliation process, right?
      ·6· · piece that they did do in their report.         ·6· · · · A.· Well, part of it is that, well, I
      ·7· · · · · · So that's what I'm saying.· We're       ·7· · don't take issue with it because they were
      ·8· · not taking issue with that portion of their     ·8· · very clear that what they didn't do.· So I'm
      ·9· · report.· I took issues with the stuff that      ·9· · not going to jump up and down when somebody
      10· · wasn't in the report.                           10· · says I didn't do something to say that they
      11· · · · Q.· All right, and you make that clear?     11· · didn't do it, you know, to blame them, for
      12· · · · A.· I tried to.                             12· · lack of a more eloquent term, that they
      13· · · · Q.· Okay.· I may come back to the part      13· · didn't do it because they were clear.· But
      14· · that you don't take issue with, but I'm going   14· · they still didn't do it.
      15· · to try to proceed in a different way for a      15· · · · Q.· Now, one of the things they did do,
      16· · moment.                                         16· · though, right, is that they verified the
      17· · · · · · Just looking at your language in        17· · numbers at a transactional level, right?
      18· · your report on page 2, forgive me for           18· · · · A.· They verified, they compared the
      19· · bouncing around, I'll just try to direct you    19· · two.· You know, when you use the word verify,
      20· · clearly to what I'm speaking to specifically    20· · is that going back to the invoices?· I don't
      21· · in your report.                                 21· · believe they did that, the way I read the
      22· · · · · · At the top again, you say the KM        22· · report.
      23· · report simply reconciled the claims of the      23· · · · Q.· I'm saying in terms of looking at
      24· · litigants, et cetera.· I want to ask you        24· · each transaction that's logged somewhere in
      25· · about what you mean by "simply" there.· Was     25· · the data that was exchanged between


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 25 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 90                                               Page 92
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · Circuitronix and Benlida in the                 ·2· · period tabs which listed by transaction
      ·3· · reconciliation process?                         ·3· · amounts, correct?
      ·4· · · · A.· All right, perhaps I'm not following    ·4· · · · A.· Reams of them, yes.
      ·5· · your question.· So maybe let's try it again     ·5· · · · Q.· Right.· That's what I'm referring
      ·6· · so I can answer it.                             ·6· · to.
      ·7· · · · Q.· So I'm asking you whether they          ·7· · · · · · Are you aware that what Kapila
      ·8· · verified the numbers in the reconciliation      ·8· · Mukamal and Parisi -- the names of our
      ·9· · documents at a transactional level?             ·9· · experts are Barry Mukamal and Mark Parisi --
      10· · · · A.· I don't believe they verified the       10· · for the benefit of our court reporter.· So
      11· · numbers at the transactional level.· The way    11· · we'll call it the KM report for short.
      12· · I understood what they did, they compared,      12· · · · A.· Um-hum.
      13· · and I'm going to use this by way of example,    13· · · · Q.· You are aware that for purposes of
      14· · the list of information.                        14· · the KM report that they went to the
      15· · · · · · For example, the invoices was           15· · transactional level in those reconciliation
      16· · 67-million-odd dollars of invoices, that the    16· · spreadsheets and worked from the ground up to
      17· · parties agreed on.· And so they compared that   17· · assess those numbers?
      18· · and said, okay, Circuitronix agrees with        18· · · · · · · ·MR. LERNER:· Objection.
      19· · Benlida.· We're done with that.· And then       19· · · · A.· They didn't disclose that's what
      20· · they show it in their report.· And they did     20· · they did.· They provided summaries in the
      21· · the same thing with the payments and then       21· · four corners of the report and they did not
      22· · they look for the discrepancies.                22· · provide their work product to show the
      23· · · · · · So you say verified.· They compared     23· · analysis that they did.· And I said that I
      24· · the two data sources or the two party's data.   24· · didn't disagree with their analysis, I said
      25· · Verify to me maybe also goes a little           25· · you didn't show your work product so I could

                                                  Page 91                                               Page 93
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · further.· Did they go to the actual invoices,   ·2· · agree with their analysis.
      ·3· · did they go to shipping documents, and they     ·3· · · · · · They -- I believe they did exactly
      ·4· · did not.                                        ·4· · what you said.· They used Excel and dated
      ·5· · · · Q.· So let's use a different verb.          ·5· · extraction tools, but they didn't put a
      ·6· · · · · · Are you aware that they looked at       ·6· · trail.· They put a table in their report and
      ·7· · the numbers reported for individual             ·7· · said, here's the total, and that's what I
      ·8· · transactions in Excel spreadsheets which        ·8· · commented on.
      ·9· · summarized those numbers?                       ·9· · · · Q.· So you haven't seen that, but you
      10· · · · · · · ·MR. LERNER:· Objection.              10· · don't dispute that that's what they did, if
      11· · · · · · · ·You can answer.                      11· · that's what they say they did?
      12· · · · Q.· Do you follow me?                       12· · · · A.· I believe that's what they did.
      13· · · · A.· Can you repeat?· No, I don't.           13· · · · Q.· Okay.
      14· · · · Q.· Okay, I think his objection was         14· · · · A.· That's why I say, I can't agree or
      15· · vagueness, too, so let me try to be clear.      15· · disagree.· Because I think that's exactly
      16· · · · · · You received their supporting           16· · what they did, but they didn't provide the
      17· · documents, correct?                             17· · work product -- I'm sorry, yeah, work product
      18· · · · A.· Yes.                                    18· · in order to trace it.· But I didn't -- that's
      19· · · · Q.· And you've incorporated those into      19· · why I said, I don't take issue with it.
      20· · the USB, that's what we've gone over.           20· · Because what they resulted in made sense, at
      21· · · · · · You're aware that a lot of these        21· · least as far as they took it.
      22· · Excel spreadsheets that were exchanged          22· · · · · · · ·MR. LERNER:· At least in terms
      23· · between Circuitronix and Benlida during their   23· · · · ·of --
      24· · reconciliation process in 2019 had not just     24· · · (Whereupon, at this time, the requested
      25· · summary pages but then also individual time     25· ·portion was read by the reporter.)


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 26 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 94                                                Page 96
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· At least as far as they, meaning KM,    ·2· · numbers to determine that the list, the
      ·3· · took their analysis.                            ·3· · sources that populated both lists are, in
      ·4· · · · Q.· KM also independently identified        ·4· · fact, accurate and complete?· My
      ·5· · some discrepancies between the two companies'   ·5· · understanding is they did not do that step.
      ·6· · reconciliations, right?                         ·6· · · · Q.· At all?
      ·7· · · · A.· Yes.                                    ·7· · · · A.· At all.· And I think they say that
      ·8· · · · Q.· You don't take issue with that?         ·8· · reasonably clearly.· That's all I'm saying
      ·9· · · · A.· No, because again, they were            ·9· · here.· They didn't go -- they took the list,
      10· · comparing two data sources that ought to        10· · they compared the list, that's a certain
      11· · agree so their methodology should have kicked   11· · amount of analysis and verification.· But
      12· · out things that didn't.                         12· · they didn't go behind those lists in their
      13· · · · Q.· And one of the things that you don't    13· · work.
      14· · fault them for doing was emphasizing that       14· · · · · · · ·MR. ROSENTHAL:· Do you have a
      15· · they didn't perform any other analysis of the   15· · · · ·copy of their report?· Did you print
      16· · underlying claims?                              16· · · · ·one, Rich?· The Kapila Mukamal
      17· · · · A.· Repeat that?                            17· · · · ·report?
      18· · · · Q.· So let me look at page 2 of your        18· · · · · · · ·MR. LERNER:· No.
      19· · report, I'm quoting you.                        19· · · · · · · ·MR. ROSENTHAL:· Off the record.
      20· · · · · · Are you with me?· Page 2, the           20· · · · · · · ·(Discussion held off the
      21· · paragraph that begins Further.                  21· · · · ·record.)
      22· · · · A.· Um-hum.                                 22· · · · Q.· So referencing the KM report?
      23· · · · Q.· You wrote, The KM report emphasized     23· · · · A.· Okay.
      24· · that it did not perform any other analysis of   24· · · · Q.· Take a look at paragraph 15 on page 6.
      25· · the underlying claims, period, right?           25· · · · · · · ·MR. ROSENTHAL:· And we will

                                                  Page 95                                               Page 97
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Yes.                                    ·2· · · · ·mark a clean copy of the KM report as
      ·3· · · · Q.· But they actually did perform some      ·3· · · · ·Exhibit 147.
      ·4· · additional analysis, didn't they?               ·4· · · · · · · ·(Whereupon, at this time, the
      ·5· · · · A.· Well, on the italicized portions        ·5· · · · ·above-mentioned KM report was marked
      ·6· · they relied upon the records of CTX as          ·6· · · · ·as Exhibit 147 for identification.)
      ·7· · produced, the reconciliation, the Benlida       ·7· ·BY MR. ROSENTHAL:
      ·8· · recon, and this is a quote from them.· And      ·8· · · · Q.· Mr. Paulikens, do you see where they
      ·9· · they did not perform any additional             ·9· · say, We compiled the detailed database and
      10· · procedures to provide assurance as to the       10· · identified transaction level of discrepancies
      11· · reliability beyond the procedures enumerated    11· · between the two reconciliations?
      12· · herein.                                         12· · · · A.· Yes.
      13· · · · · · So what they're saying is, we did       13· · · · Q.· Did you ever see that detailed
      14· · what we did, we've communicated what we did,    14· · database that they're referencing?
      15· · and that's all that we did.                     15· · · · A.· To me, that's a database that they
      16· · · · Q.· But they say, Beyond the procedures     16· · created and I haven't seen their work
      17· · enumerated herein, right?                       17· · product.
      18· · · · A.· Yes.                                    18· · · · Q.· So did you look through the
      19· · · · Q.· And they did do some things to          19· · materials that we produced that was their
      20· · ensure reliability, correct?                    20· · work product to see if that detailed database
      21· · · · · · · ·MR. LERNER:· Objection.              21· · was there?
      22· · · · A.· Again, we're getting into what's        22· · · · A.· I didn't see that database when I
      23· · reliable.· They compared two lists together     23· · went through their documents and I was
      24· · to come up with a list that has the totality    24· · responding to the report here.· Because I
      25· · of the information.· Did they dig behind the    25· · didn't see exactly where these numbers


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                                                                                                                   YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 27 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                  Page 98                                              Page 100
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · specifically came from.                         ·2· · it's -- and they said they agreed.· So the
      ·3· · · · Q.· Okay.                                   ·3· · debit memos that Circuitronix claimed also
      ·4· · · · A.· But --                                  ·4· · showed up on Circuitronix's reconciliation,
      ·5· · · · Q.· Let me ask you.                         ·5· · that's the way I interpret that first
      ·6· · · · · · · ·MR. LERNER:· He pointed in the       ·6· · sentence.
      ·7· · · · ·document to certain numbers.· Can we       ·7· · · · Q.· Okay.· But is it -- do you
      ·8· · · · ·just identify for the record what          ·8· · understand it also to mean that they looked
      ·9· · · · ·those numbers were?                        ·9· · at individual debit memo documents and
      10· · · · · · · ·THE WITNESS:· That was Table 1.      10· · compared what was said on those individual
      11· · · · Q.· Of page 7 of the KM report?             11· · debit memo documents to the spreadsheet that
      12· · · · A.· Yes.                                    12· · listed those debit memos?
      13· · · · Q.· Okay.· Let me ask you to turn to        13· · · · A.· It said judgement is like the debit
      14· · paragraph 24 of the KM report, which is on      14· · memos.· To me it's not clear if they actually
      15· · page 10 at the top.                             15· · looked at the debit memo or the electronic
      16· · · · · · Do you see that they say, To            16· · support for the debit memo.
      17· · investigate further, we judgmentally selected   17· · · · Q.· Okay.
      18· · DMs with an amount in excess of $10,000?        18· · · · A.· And it doesn't say that they went
      19· · · · A.· Yes.                                    19· · back beyond the debit memo itself to
      20· · · · Q.· Do you see that?                        20· · determine if the information that is
      21· · · · A.· Yes.                                    21· · summarized in the debit memo is correct.
      22· · · · Q.· So they actually did do a judgmental    22· · · · Q.· And if you look at footnote 18 of
      23· · sample of debit memos to check the accuracy     23· · that report, right there they said they
      24· · of Circuitronix's numbers listed in its         24· · yielded a sample of 11 debit memos with an
      25· · reconciliation, correct?                        25· · aggregate amount of a certain amount of

                                                  Page 99                                              Page 101
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· They judgmentally selected them and     ·2· · money?
      ·3· · traced numbers, yes.                            ·3· · · · A.· Right.
      ·4· · · · Q.· So that's beyond just accepting the     ·4· · · · Q.· So you don't know one way or another
      ·5· · numbers face value from the reconciliation      ·5· · from reading this whether they looked at an
      ·6· · report, correct?                                ·6· · individual 11 debit memos, the amounts that
      ·7· · · · A.· No.· From my chair, they simply         ·7· · were listed on them or not, right?
      ·8· · traced one set of numbers to the other set of   ·8· · · · A.· Well, it says they selected a
      ·9· · numbers.· When you talk about validate --       ·9· · sample, fine.· But it doesn't say how far
      10· · · · Q.· Sorry, I didn't say validate.· Just     10· · they went to validate the information
      11· · to be clear to what you're testifying --        11· · contained within the debit memo.
      12· · · · A.· Okay.                                   12· · · · Q.· The debit memo, as you're familiar
      13· · · · Q.· -- they traced one set of numbers to    13· · with in this case?
      14· · another set of numbers.· What specific --       14· · · · A.· I've seen copies of them.
      15· · what sets of numbers do you understand they     15· · · · Q.· And they are -- they list a, like a
      16· · did?                                            16· · reason and then an amount of money, right?
      17· · · · A.· I'll read what they said.· They         17· · · · A.· Correct.
      18· · judgmentally, which is a specific auditing      18· · · · Q.· So do you question whether or not
      19· · term, selected debit memos, DMs, with an        19· · the KM report, the experts actually look at
      20· · amount in excess of 10,000.· Fine, that's a     20· · the 11 debit memos that they say they
      21· · scope, which were claimed on one                21· · sampled?
      22· · reconciliation which is largely an Excel        22· · · · A.· No.· I don't dispute that they
      23· · sheet, from Circuitronix's side.                23· · looked.
      24· · · · Q.· Okay.                                   24· · · · Q.· Okay.
      25· · · · A.· Which is not listed there.· But         25· · · · A.· What I -- what's unclear is did --


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 28 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 102                                              Page 104
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · what, if any, steps they did to validate that   ·2· · upfront in my report.· They were clear what
      ·3· · the reason for your example was appropriate.    ·3· · they did or did not do.
      ·4· · And I'll use the term agreed in quotes, that    ·4· · · · Q.· So let's come back to page 2 of your
      ·5· · it was an appropriate reason.· They compared    ·5· · report.
      ·6· · the numbers, they compared the debit memo,      ·6· · · · · · You reprinted this chart, this
      ·7· · they compared it to the CTX reconciliation,     ·7· · table, which is designated Table 7 from the
      ·8· · they compared it, all good, all appropriate.    ·8· · KM report, right?
      ·9· · But how far they went to determine if the       ·9· · · · A.· Correct.· We made a change, because
      10· · debit memo itself was valid, they didn't say.   10· · we noticed there was a math error, which is
      11· · · · Q.· Okay.                                   11· · why I highlighted it in yellow, which is what
      12· · · · · · · ·MR. LERNER:· Just for clarity,       12· · their report was.· So their report cut off
      13· · · · ·I just want to make sure for the           13· · immediately to the right of the yellow
      14· · · · ·record that we understand that this        14· · portion.
      15· · · · ·is Table 4 of the KM report.               15· · · · Q.· Right.· So you added, and we talked
      16· · · · Q.· So if you would take a look at          16· · about this when we were looking through your
      17· · Exhibit 147, the KM report, paragraph 33.       17· · materials on the USB, the last column that
      18· · It's on page 12.                                18· · says, Difference with math correction?
      19· · · · · · Do you see that they say that they      19· · · · A.· Correct.
      20· · selected a judgmental sample of 8 lead time     20· · · · Q.· And so what is the math error that
      21· · penalty spreadsheets and confirmed the          21· · you identified?
      22· · accuracy of CTX's computations of lead time     22· · · · A.· If you look across, and I'm looking
      23· · penalty?                                        23· · at the payments from Table 2, which is for
      24· · · · A.· Yes.                                    24· · CTX, it was $67,623,456.· Compare that to
      25· · · · Q.· So you don't dispute that they did a    25· · the one for Benlida next door, there's a

                                                 Page 103                                              Page 105
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · judgmental sample of that data either, right?   ·2· · $12,000 -- $12,614 difference.
      ·3· · · · A.· No.· I don't believe that they did,     ·3· · · · · · Same math for the next column.· 662,
      ·4· · you know, they took eight of the -- I'm not     ·4· · they cover that in the report.· And then
      ·5· · sure what the population of spreadsheets are,   ·5· · debit memos are comparing the two totals
      ·6· · there's a lot of them, and they checked to      ·6· · here.· And they go from 2.3, 2.13 --
      ·7· · make sure they calculated correctly.            ·7· · $2.313 million, excuse me.· And for Benlida
      ·8· · · · Q.· They being Circuitronix?                ·8· · it was a million 843.· And they said it was,
      ·9· · · · A.· Well, I'm sorry, let me be clear.       ·9· · 97,000 was the difference.· And that's not
      10· · · · · · I don't dispute that KM did exactly     10· · the difference between those two numbers.
      11· · what they said.· They looked at 8               11· · It's actually a much bigger difference than I
      12· · spreadsheets and reviewed that the math         12· · pointed out.
      13· · calculated.· So if it was late by two weeks,    13· · · · Q.· That's the 470,000?
      14· · it was "X" percent penalty.· I don't doubt      14· · · · A.· The 470,000.· And I just pointed
      15· · that they did that for the eight                15· · that out.· So if it's a simple math error,
      16· · spreadsheets, and that they did check the       16· · okay, it happens.· But following their table,
      17· · math, I don't doubt that at all.                17· · I got, you know, a significantly different
      18· · · · Q.· And here they footnote paragraph --     18· · number.· And that's all I'm pointing out. I
      19· · footnote 22, that they didn't validate the      19· · don't know if there's anything else behind
      20· · inputs used to compute the lead time            20· · the 97,000, as to why that's the number and
      21· · penalties?                                      21· · there's just a piece that's not clear.
      22· · · · A.· Correct.                                22· · · · Q.· What is the import of that
      23· · · · Q.· And that's appropriate to disclose?     23· · difference?
      24· · · · A.· It's absolutely appropriate to          24· · · · A.· It makes -- it means that the
      25· · disclose, which is why I said that very much    25· · amounts due to Circuitronix are higher than,


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 29 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 106                                              Page 108
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · all things held equal, than KM had in their     ·2· · · · A.· Well, the function would be a
      ·3· · report.· So they had a difference of 747,000    ·3· · reduction of the amounts that Circuitronix
      ·4· · in their report, and the difference here is a   ·4· · owed.· Let me be a little bit more clear.
      ·5· · million -- $1,120,000 and change.               ·5· · · · · · In a typical accounts receivable
      ·6· · · · Q.· And that number represents the sort     ·6· · where a customer owes the supplier money, a
      ·7· · of delta between what Circuitronix says it is   ·7· · debit memo is the reduction of the amounts
      ·8· · owed, Circuitronix U.S. says it's owed, and     ·8· · that are owed.· And I know there's -- we're
      ·9· · what Benlida says it owes to Circuitronix       ·9· · kind of in the opposite world here so I just
      10· · U.S.?                                           10· · want to be clear.
      11· · · · · · · ·MR. LERNER:· Objection.              11· · · · · · So the debit memos that Circuitronix
      12· · · · A.· Between the two formulas, yes.· What    12· · U.S. claimed against Benlida would certainly
      13· · one party admits it owes or doesn't owe and     13· · reduce, would go against whatever amounts are
      14· · it's probably the reason why we're here.· But   14· · owed or would add if there's an overpayment.
      15· · for purposes of this table, that's what you     15· · · · Q.· Right.
      16· · said is -- that's the difference between what   16· · · · A.· They function almost as an -- almost
      17· · CTX says Benlida owes it versus what Benlida    17· · like a payment functionally.
      18· · says it owes Circuitronix.                      18· · · · Q.· So have you taken -- undertaken any
      19· · · · Q.· And we're talking about Circuitronix    19· · analysis of the debit memos in this case?
      20· · U.S. in that particular?                        20· · · · A.· No, we have not.
      21· · · · A.· Yes, yes.                               21· · · · Q.· We touched on earlier some
      22· · · · · · · ·THE WITNESS:· Can we take            22· · information that you gleaned from your
      23· · · · ·another quick break?                       23· · attendance at the hearing in Miami back in
      24· · · · · · · ·(Whereupon, a brief recess was       24· · January of 2023?
      25· · · · ·taken.)                                    25· · · · A.· Yes.

                                                 Page 107                                              Page 109
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· ·BY MR. ROSENTHAL:                                ·2· · · · Q.· Do you recall that?· And at the top
      ·3· · · · Q.· I want to ask you about some            ·3· · of page 3 of your report, you reference that
      ·4· · limitations on the scope of your opinion or     ·4· · at the very top paragraph.
      ·5· · work that you've done.                          ·5· · · · · · Do you see that?
      ·6· · · · A.· Okay.                                   ·6· · · · A.· Yes.
      ·7· · · · Q.· I believe on page 3 of your             ·7· · · · Q.· So the second paragraph on page 3,
      ·8· · report -- well, I'll do this generally and      ·8· · you say, This fact as well as the actions
      ·9· · you can tell me if there's a specific part of   ·9· · both sides needs to be considered to fully
      10· · your report that we should look at.             10· · understand?
      11· · · · · · But my understanding is you've not      11· · · · A.· Yes.
      12· · been engaged to opine on the validity or        12· · · · Q.· What are you referring to, what is
      13· · appropriateness of debit memos between the      13· · "this fact"?
      14· · companies; is that correct?                     14· · · · A.· The fact that there was a long-term
      15· · · · A.· Yes, yes.· There is -- part of the      15· · business relationship, but as well as the key
      16· · dispute is there's debit memos that would       16· · members of a long relationship.· My
      17· · reduce potentially amounts owed, and we nor     17· · understanding is the principals know each
      18· · KM were engaged to opine whether those debit    18· · other, they're friendly, that they are --
      19· · memos were appropriate or agreed or             19· · that because they are friendly, you know,
      20· · supported.· So I did not provide that           20· · it's not quite the same as the true
      21· · opinion.                                        21· · unrelated, you know, adverse parties in a
      22· · · · Q.· Okay.· And what is the function, in     22· · typical economic transaction.
      23· · your understanding, of the function of debit    23· · · · · · There's a certain level of
      24· · memos that Circuitronix U.S. issued to          24· · familiarity, and all I'm saying is, based on
      25· · Benlida?                                        25· · some of the testimony you need to incorporate


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 30 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 110                                              Page 112
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · that before you say, you know, before you       ·2· · out Benlida or Mr. Huang in earlier stages,
      ·3· · opine that one piece of the information is      ·3· · which suggested maybe a little bit more than
      ·4· · absolutely correct when there's other pieces    ·4· · just a commercial relationship.
      ·5· · that affect it.· You know?                      ·5· · · · Q.· Helped out how?
      ·6· · · · Q.· So what is your understanding -- you    ·6· · · · A.· I believe there was money, Rishi
      ·7· · write in your report, A long relationship       ·7· · said, that was advanced.· And I'm not
      ·8· · outside of business.· What are you referring    ·8· · specific on exactly the story, but a part of
      ·9· · to there?                                       ·9· · his testimony he talked about that there was
      10· · · · A.· They've known each other for a          10· · a certain familiarity that he considered all
      11· · number of years.                                11· · of them friends.· And maybe I think he used
      12· · · · Q.· You say outside of business?            12· · the word mentor or something else.
      13· · · · A.· Well, exactly.· Outside of business,    13· · · · Q.· And how does your understanding of
      14· · they talked about, there was familiarity,       14· · that relationship play into your evaluation
      15· · they've had dinners and other things            15· · of the financial dispute between these
      16· · together.· Tracy discussed that a little bit.   16· · companies?
      17· · Rishi discussed he was helping out Mr. -- I     17· · · · A.· It plays into the inverse
      18· · believe it's Huang is the right way to say      18· · relationship towards the end of my report
      19· · his name within his testimony.                  19· · that discusses that one entity claims it
      20· · · · · · It certainly sounded like there was     20· · overpaid its supplier by 5-million-odd
      21· · more familiarity than simple supplier and       21· · dollars and that another entity that's
      22· · customer.· And all I'm saying is, they talked   22· · clearly related was underpaid by 13 million
      23· · about it.· They didn't deny it.· That's just    23· · from the chart we talked about.· And
      24· · a fact that one ought to consider when you're   24· · individually, you wouldn't have those kind of
      25· · looking at the overall relationship.            25· · transactions.

                                                 Page 111                                              Page 113
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Do you recall hearing, perhaps,         ·2· · · · · · Ordinarily, a supplier doesn't
      ·3· · Rishi's testimony at that hearing that he       ·3· · over -- a customer doesn't overpay its
      ·4· · considers Tracy Huang a friend?                 ·4· · supplier ever.· Or certainly not by months
      ·5· · · · A.· I believe that's a recollection I       ·5· · worth of revenue.· And you don't have another
      ·6· · absolutely have.· How he specifically said      ·6· · supplier that may have one year of sales --
      ·7· · it, I couldn't -- but, yes.                     ·7· · one year of transactions being owed.
      ·8· · · · Q.· I'm paraphrasing as well.               ·8· · · · · · I mean, individually, those are odd
      ·9· · · · A.· Yes.· The intent, absolutely, that      ·9· · transactions.· And I covered that in my
      10· · they were friendly.                             10· · report, which is simply wanting to say why is
      11· · · · Q.· Do you believe that people engaged      11· · that.· It doesn't make sense that these two
      12· · in a traditional business relationship are      12· · pieces are so isolated and disparate.
      13· · not usually friends with one another?           13· · · · Q.· So you're saying what might explain
      14· · · · A.· You can be friends with the people      14· · it is the fact that there is some close
      15· · you transact business with.· My impression      15· · personal relationship between the principals
      16· · was there -- it was more than just the          16· · of the two sides?
      17· · familiarity of somebody you do business with    17· · · · A.· Right.· It could be a close personal
      18· · on a daily basis.· That was my impression of    18· · relationship, but you need to understand how
      19· · his testimony.                                  19· · one half can have such an odd relationship in
      20· · · · Q.· Are you suggesting anything beyond      20· · terms of an overpayment of accounts
      21· · the fact that they just seem to be friendly     21· · receivable, and then the other side has a
      22· · with one another?                               22· · significant underpayment of accounts
      23· · · · A.· No.· But as I recall his testimony,     23· · receivable, when you take into consideration
      24· · he was indicating that, and I am                24· · the whole.· And it's just an odd situation.
      25· · paraphrasing, you know, that he had helped      25· · And when you look at the whole, the


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 31 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 114                                              Page 116
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · relationship makes sense how the individual     ·2· · And as an accountant, I understand settlement
      ·3· · parts got off.· There has to be a reason for    ·3· · talks are not discoverable.· Understood.
      ·4· · it.                                             ·4· · Certainly the parties working to reconcile
      ·5· · · · Q.· Do you fault the KM report authors      ·5· · their differences.
      ·6· · for not giving some credit to this              ·6· · · · · · As an accountant, when somebody
      ·7· · relationship that you're describing between     ·7· · might say that's a settlement discussion,
      ·8· · the principals?                                 ·8· · somebody else might say, that's just two
      ·9· · · · A.· No, I'm not -- I'm not faulting         ·9· · businesses trying to get to the right answer.
      10· · them.· I'm not giving credit for their          10· · And all I'm saying in that paragraph is, this
      11· · relationship.· What I said is, KM didn't        11· · information is useful, it's discoverable, and
      12· · discuss anything other than in a footnote of    12· · it provides useful information.· Perhaps not
      13· · the existence of another issue, which is the    13· · definitive, because each of the -- you know,
      14· · KM issue -- I'm sorry, the HK issue.            14· · I didn't say this, but it provides useful
      15· · · · · · I'm sorry, the KM report didn't         15· · insight, which I chose those words because
      16· · discuss, other than in a footnote, the HK       16· · it's useful to get to the ultimate
      17· · issue.· That's what I was faulting KM on.       17· · conclusion.
      18· · Because they didn't mention it at all, other    18· · · · Q.· I read this and understood you to be
      19· · than in a footnote that they might come up      19· · saying, so maybe I'm incorrect, that with
      20· · with a report if so asked later on.             20· · respect to the sort of ping-ponging back and
      21· · · · Q.· Looking again at page 3 of your         21· · forth in 2019 of different reconciliation
      22· · report, second to last paragraph, the last      22· · reports between Benlida and Circuitronix
      23· · line.· I'll give you a second to look at that   23· · U.S., that the last one exchanged can't be
      24· · paragraph.                                      24· · regarded as sort of the final word in that
      25· · · · · · · ·(Witness peruses document.)          25· · exchange; is that what you meant?

                                                 Page 115                                              Page 117
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Okay.                                   ·2· · · · A.· That's partially what I meant.· And
      ·3· · · · Q.· You are referring to these detailed     ·3· · because with each ping-pong, to use your
      ·4· · lists of invoices and payments that were        ·4· · phrase, there was more information that came
      ·5· · exchanged by the parties during their           ·5· · to light, and I don't know that there has
      ·6· · reconciliation process.· And you say, Those     ·6· · been a definitive answer that at a point in
      ·7· · records provide useful insight as to the        ·7· · time there is a specific amount due, whatever
      ·8· · payment status of the business transactions     ·8· · measure that the parties can agree to because
      ·9· · between the parties.                            ·9· · then the disputes as to who owed what to whom
      10· · · · A.· Yes.                                    10· · took over and statute of limitations issues
      11· · · · Q.· You agree that relying upon those       11· · take over.
      12· · reconciliation spreadsheets does provide        12· · · · · · So all I was saying is, with all the
      13· · useful insight as to where things stood in      13· · information going back and forth, which was
      14· · 2019 ultimately, correct?                       14· · somewhat disparate they were working to
      15· · · · A.· Yes.                                    15· · clarify, I don't know that anyone knows at
      16· · · · Q.· Okay.· But then you say that -- I'm     16· · this moment what the absolute final agreed
      17· · looking for where you say this.· The next       17· · upon dataset between all of the related
      18· · page, page 4, I think, somewhere you say,       18· · parties is.
      19· · It's difficult for either side to know which    19· · · · Q.· You'll agree that the last one of
      20· · source is the final word.                       20· · those reconciliation spreadsheets exchanged
      21· · · · A.· Top paragraph of page 4?                21· · between the parties at least reflects the one
      22· · · · Q.· Right.· What do you mean by that?       22· · with the most input from both sides as of
      23· · · · A.· Sure.· In this particular case, the     23· · that time period, didn't you?
      24· · case was at one point settled.· At least        24· · · · A.· I would agree that that would make
      25· · nominally, I think, was the phrase you used.    25· · the logical inference that was whatever was


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 32 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 118                                              Page 120
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · contained was as complete as the parties had    ·2· · · · Q.· Are you -- what's the point of
      ·3· · available to them.· But then there's, you       ·3· · saying that?· Why do you flag that?
      ·4· · know, there may be other claims that were       ·4· · · · A.· Because you've got two fairly
      ·5· · added such as the lead time penalties that      ·5· · substantial companies that have a significant
      ·6· · were, I think, after.· But, again, there's a    ·6· · disagreement on accounts receivable and
      ·7· · bouncing back and forth, information maybe      ·7· · accounts payable.· And it's just odd in
      ·8· · was coming together.                            ·8· · 35 years of accounting that you would be that
      ·9· · · · Q.· But with respect -- I'm sorry.          ·9· · far off, that they didn't have this going on
      10· · · · A.· But with that last piece, it            10· · all the time.· It just seemed to me odd that
      11· · probably was, at least at that moment, the      11· · they would be -- one side would be missing so
      12· · up-to-date of what they were exchanging.· But   12· · much information from the other.
      13· · it is also unclear if that up-to-date also      13· · · · Q.· Do you intend to offer an opinion
      14· · went back to day one.                           14· · about it being odd in this case, like tie in
      15· · · · Q.· Well, they originally did, if I'm       15· · to anything germane to the numbers that we're
      16· · remembering correctly, a 2015 to 2019           16· · talking about?
      17· · reconciliation, right?                          17· · · · · · · ·MR. LERNER:· Objection.
      18· · · · A.· That covered that time period, yes.     18· · · · A.· I haven't been asked to give a
      19· · · · Q.· And then Benlida sought earlier         19· · formal opinion on that, but as we're looking
      20· · records from Circuitronix going back to 2012,   20· · at reconciliations, you know, when you have
      21· · the inception of the relationship, right?       21· · your millions of dollars being, you know,
      22· · · · A.· Correct.                                22· · bounced back and forth between them for two
      23· · · · Q.· And then the reconciliation then        23· · sophisticated companies, it's just not
      24· · encompassed 2012 to, I think, 2021, right?      24· · typical.· You know, what I've seen, you would
      25· · · · A.· There were spreadsheets that            25· · normally have a little bit better control on

                                                 Page 119                                              Page 121
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · obviously evolved after '19, yes.               ·2· · each side to know what the other was talking
      ·3· · · · Q.· But they went back to 2012 as well,     ·3· · about.
      ·4· · correct?                                        ·4· · · · Q.· Do you intend to offer an opinion
      ·5· · · · A.· They did.· But what's unclear from      ·5· · about the controls on Circuitronix's side of
      ·6· · the spreadsheets, and you saw when we had       ·6· · its records?
      ·7· · that exhibit on the screen, was that they       ·7· · · · · · · ·MR. LERNER:· Objection.
      ·8· · showed the running balance for each year and    ·8· · · · · · · ·You could answer.
      ·9· · I put a cumulative column in.· It's unclear     ·9· · · · A.· I have not been engaged to do a
      10· · if it went -- if the 2012 went all the way      10· · study of Circuitronix's internal control
      11· · back to invoice zero.                           11· · mechanisms.· That would be part of their
      12· · · · Q.· Do you know whether it did or not?      12· · audit.· So I'm not going to give you an
      13· · · · A.· As I'm sitting here, I don't know.      13· · opinion on something I haven't been engaged
      14· · But as I was saying in that paragraph,          14· · to do.· So I'm not, at this point going to
      15· · there's a lot of information back and forth     15· · give an opinion, because I haven't been
      16· · for disparate time periods.· And so it's, you   16· · asked.
      17· · know, with what I've seen, it's impossible to   17· · · · Q.· Same thing with respect to Benlida.
      18· · know that we have a definitive answer today     18· · Have you been asked to evaluate its internal
      19· · as to what both parties can agree on.           19· · control methods for its documentation of its
      20· · · · Q.· You make a comment on page 4 of your    20· · finances?
      21· · report that at the end of the first full        21· · · · · · · ·MR. LERNER:· Objection.
      22· · paragraph, It is difficult to appreciate why    22· · · · A.· I have not been asked.· That would
      23· · there was so much information missing from      23· · be part of their audit process.
      24· · each other's records; close quote?              24· · · · Q.· Do you intend to offer any opinion
      25· · · · A.· Yes.                                    25· · in this case about the state of


                        U.S. Legal Support | www.uslegalsupport.com 118 to 121
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 33 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 122                                              Page 124
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · Circuitronix's records compared to the state    ·2· · · · A.· Yes.
      ·3· · of Benlida's records?                           ·3· · · · Q.· You say, The significant disparity
      ·4· · · · · · · ·MR. LERNER:· Objection.              ·4· · in information in the implication that any
      ·5· · · · · · · ·MR. ROSENTHAL:· What's your          ·5· · one source is better is best illustrated by
      ·6· · · · ·objection?                                 ·6· · an e-mail.· And we'll leave that for a
      ·7· · · · · · · ·MR. LERNER:· Is it going to          ·7· · moment.
      ·8· · · · ·come up as a direct opinion?· It may       ·8· · · · · · I want to ask you, the implication
      ·9· · · · ·come up as part of an explanation of       ·9· · that any one source is better, what are you
      10· · · · ·his opinion -- of other opinions he        10· · getting at there?· Are you saying that there
      11· · · · ·may give.· But it's not going to be        11· · is an implication that one source is better
      12· · · · ·an ultimate opinion that he provides.      12· · than the other or you shouldn't assume that?
      13· · · · · · · ·MR. ROSENTHAL:· Okay.                13· · I don't understand the language.· That's why
      14· · · · Q.· In light of Mr. Lerner's response,      14· · I want to ask you, what do you mean by the
      15· · can you answer whether you intend to offer an   15· · implication that any one source is better?
      16· · opinion about the state of Circuitronix's       16· · · · A.· Sure.· It can be a bit of an
      17· · records compared to Benlida's records in this   17· · explanation.
      18· · case?                                           18· · · · Q.· Okay.
      19· · · · A.· Other than the fact that they're        19· · · · A.· Typically, if you have, you know, a
      20· · different, and that the actions of the          20· · customer, you know what they owe you.· And
      21· · parties showed that there were significant      21· · that customer knows what it owes you.· And
      22· · differences, and that to me is just an odd      22· · within some, you know, ordinary economic
      23· · oddity, given the, I think, sophistication of   23· · timing differences, you have a pretty good
      24· · the parties, at least my perceived -- my        24· · handle as to where you stand.· And usually
      25· · perception of their sophistication.             25· · your customer owes you money not the other

                                                 Page 123                                              Page 125
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · · · It might be an explanation to a         ·2· · way around.
      ·3· · question that comes up, but I'm not studying    ·3· · · · · · And because of the functions, even
      ·4· · the internal controls of Circuitronix or        ·4· · as I said in the e-mail, that one entity has
      ·5· · Benlida.                                        ·5· · a $13 million balance due and the other
      ·6· · · · Q.· What is your perceived -- what is       ·6· · entity has a $5 million amount due, on some
      ·7· · your perception of the comparative state of     ·7· · set of records, then his e-mail talks about
      ·8· · the two company's records, Benlida and          ·8· · CTX U.S. overpaid Benlida by 5.3 million, and
      ·9· · Circuitronix U.S.?· Do you have one or not?     ·9· · then Hong Kong also was overpaid by 2
      10· · · · A.· No, no.· I think you misheard what I    10· · million, shows there's a huge swing there.
      11· · was saying.                                     11· · · · · · Because -- so one set of information
      12· · · · Q.· Okay.                                   12· · produced showed 13 million that Hong Kong
      13· · · · A.· I said perception of their              13· · owed Benlida.· And -- but Rishi in his e-mail
      14· · sophistication.· Circuitronix is a              14· · says, no, at least in sequence, no, Hong Kong
      15· · substantial company.· I believe they do         15· · actually is owed 2 million, that's a
      16· · business in multiple continents.· Benlida is    16· · $15 million swing.
      17· · a substantial company.· And the fact that       17· · · · · · All I'm saying is, there's a lot of
      18· · they were missing as much as they did between   18· · pieces moving here.· And taking one
      19· · the two, is just not something I normally see   19· · particular chart or another particular chart
      20· · at companies that significant and, I believe,   20· · as gospel is not advised.
      21· · sophisticated when you are doing business in    21· · · · Q.· That's what you mean by, if I'm
      22· · multiple continents.                            22· · understanding you correctly, you can't say
      23· · · · Q.· Okay.· Take a look at page 4.           23· · any one particular source is better?
      24· · There's a paragraph that starts -- you're       24· · · · A.· That's really what I tried to say,
      25· · talking about this issue, I believe.            25· · is because it's -- and there are disparate


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 34 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 126                                              Page 128
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · pieces of time which are disparate.· So to      ·2· · documents that you reviewed that were
      ·3· · say one is better than the other right now, I   ·3· · produced to us, there's a document on here
      ·4· · don't think is appropriate for anybody.         ·4· · that is marked with a Bates number CTX 1993
      ·5· · · · Q.· Okay.· And then when you say,           ·5· · to 1994.
      ·6· · Significant disparate information, you're       ·6· · · · · · I'm just going to open that and ask
      ·7· · alluding to what I think you just explained,    ·7· · you whether the e-mail that is in that
      ·8· · which is that Mr. Kukreja thought in an         ·8· · document, which is dated November 14, 2019,
      ·9· · e-mail, which we'll talk about in more          ·9· · at the top but then scrolling down,
      10· · detail, that Circuitronix Hong Kong was         10· · November 1, 2019 --
      11· · actually owed by Benlida 2.179 million, when    11· · · · A.· Right.· This is the e-mail that I
      12· · there's another view of the evidence in a       12· · was referring to here.· And that shows, if
      13· · spreadsheet that shows a $15 million swing      13· · you scroll down, some of the numbers that I
      14· · from that.                                      14· · cite in the report and that's where I messed
      15· · · · A.· Correct.· And all I'm saying is,        15· · up the date.
      16· · this is some big movements.                     16· · · · Q.· Okay.· So just for clarity sake
      17· · · · Q.· I understand what you've written        17· · you're referring to the e-mail that is at the
      18· · now.                                            18· · bottom of page CTX 1993 from Rishi Kukreja
      19· · · · · · Let's talk about that e-mail. I         19· · dated November 1, 2019, correct?
      20· · know you volunteered earlier in the             20· · · · A.· Yes.
      21· · deposition that there's an error in the date.   21· · · · Q.· And that e-mail contains the two
      22· · Correct?                                        22· · dollar figures that are referenced in your
      23· · · · A.· Yes.                                    23· · report?
      24· · · · Q.· What is the correct date?               24· · · · A.· I believe so, if you scroll down.
      25· · · · A.· It's November 1, 2019.                  25· · · · Q.· Why don't you take your report, just

                                                 Page 127                                              Page 129
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Is there a November 11, 2012 e-mail     ·2· · so you can follow along with me because you
      ·3· · that you were talking about?                    ·3· · talk about this e-mail there on page 4.
      ·4· · · · A.· No.· It was me making -- I wrote --     ·4· · · · · · Just looking at your report, Mr.
      ·5· · I marked this up.· I apologize.                 ·5· · Paulikens, you say with reference to that
      ·6· · · · Q.· That's okay.                            ·6· · e-mail, that the e-mail claims that CTX U.S.
      ·7· · · · A.· The document, I marked it.              ·7· · overpaid Benlida by $5,314,868.
      ·8· · · · · · · ·MR. LERNER:· The actual              ·8· · · · A.· Yes.· Can you scroll down on the
      ·9· · · · ·exhibit.                                   ·9· · next page?
      10· · · · · · · ·MR. ROSENTHAL:· We'll just note      10· · · · Q.· Yes.
      11· · · · ·for the record that the handwritten        11· · · · A.· Yes.· Right there.· (Indicating).
      12· · · · ·mark is Mr. Paulikens indicating a         12· · · · Q.· So that's on page CTX 1994, that
      13· · · · ·typographical error that was in the        13· · number?
      14· · · · ·report.                                    14· · · · A.· Yes.
      15· · · · A.· Yes.· Now, I don't -- if there is an    15· · · · Q.· Okay.· And then that CTX, you say in
      16· · e-mail from 2012, I'm not aware of it. I        16· · your report CTX HK overpaid by $2,179,988.74.
      17· · wrote that e-mail.· It was -- it had Chinese    17· · And that's the number that is shown in yellow
      18· · characters around it.· When I typed it in, I    18· · on page CTX 1994.
      19· · just typed it badly, and I didn't notice that   19· · · · A.· Correct.· These are disparate
      20· · until yesterday.                                20· · numbers.· What I'm saying is, over the
      21· · · · Q.· Okay.· Let me just pull up on our       21· · whole -- there's just -- it's a moving target
      22· · screen -- let me show you what I understand     22· · as to what the right number is, and I'm just
      23· · you to be referring to.                         23· · saying I'm not sure what the final complete
      24· · · · A.· I'm going to stand up.                  24· · picture is.· That's all that paragraph was
      25· · · · Q.· Sure.· Looking at the screen of the     25· · saying.


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 35 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 130                                              Page 132
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.· Got it.                          ·2· · that's on page 5 of your report, is also at
      ·3· · · · · · Continuing on page 4 of your report,    ·3· · Exhibit 1 to your report?
      ·4· · you referred to a response to Mr. Kukreja's     ·4· · · · A.· Yeah, and I believe the file, as I
      ·5· · e-mail.                                         ·5· · recall, is quite comprehensive.· Because this
      ·6· · · · A.· Yes.                                    ·6· · is a summary and there's files drawing from
      ·7· · · · Q.· And that it contains an Excel file      ·7· · various sub tabs.
      ·8· · with a name 2012 to 2019?                       ·8· · · · Q.· Why did you place that in your
      ·9· · · · A.· Right CCT.                              ·9· · report at page 5, that table?
      10· · · · Q.· Reconciliation analysis 2019,           10· · · · A.· Just showing that the parties were
      11· · November 15th, CCT?                             11· · working to try to resolve and figure out why
      12· · · · A.· Yes.                                    12· · they were so disparate in their beliefs as to
      13· · · · Q.· Let me ask you again just looking at    13· · what the status was.· And it was, you know, a
      14· · your materials on the computer screen.· Hang    14· · process they went through.
      15· · on a second, I'll pull it back up.              15· · · · Q.· Calling your attention back to page
      16· · · · · · That's -- you're referring to the       16· · 4 of your report, where you're talking about
      17· · e-mail that is right here at the top of the     17· · the e-mail in which Benlida sent this file to
      18· · page?                                           18· · Circuitronix.
      19· · · · A.· I believe that file was included and    19· · · · · · You write toward the bottom of that
      20· · it was included in both your expert and the     20· · page, quote, Many of the largest
      21· · various things, that CCT analysis.              21· · discrepancies were from the earlier years of
      22· · · · Q.· And that's on page CTX 1993?            22· · the relationships, close quote.
      23· · · · A.· That's the reference in the e-mail.     23· · · · A.· Yes.
      24· · · · Q.· Okay.                                   24· · · · Q.· What years are you referring to?
      25· · · · · · · ·MR. ROSENTHAL:· For the record,      25· · · · A.· If you look at the table on the next

                                                 Page 131                                              Page 133
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · ·that e-mail that we're looking at has      ·2· · page, you'll see, if you go to the left it
      ·3· · · · ·been previously marked as Exhibit 79.      ·3· · says year 12 -- 2012 to 2014.· You'll see
      ·4· · · · ·Just so you know.                          ·4· · there's, you know, significantly large
      ·5· · · · Q.· That attachment that ends with 2019     ·5· · numbers in those years and prior.
      ·6· · dot 11 dot 15 CCT, is actually in your report   ·6· · · · · · Going to the middle of the table
      ·7· · as an exhibit, right?                           ·7· · there's a million eight difference on the
      ·8· · · · A.· I believe excerpts of it are.           ·8· · 2014, and you see the numbers kind of drop
      ·9· · · · Q.· Let me flip to your report, the         ·9· · off in the subsequent years.
      10· · exhibits to your report, which we don't have    10· · · · · · So all I'm saying is while they
      11· · printed out but we can look at here on the      11· · had -- and I'm looking at the payment
      12· · computer screen.                                12· · discrepancy, which is 2,569,000, right, I
      13· · · · · · Let me pull up your report and show     13· · guess, where your pen is, you know, the vast
      14· · you Exhibit 1, and ask you whether that's --    14· · majority of that was from 2014 and prior.
      15· · let me turn it sideways.· --                    15· · · · · · So all I was saying in that, you
      16· · · · A.· That was part of the -- yeah, part      16· · know, part of the issue here, maybe was the
      17· · of the file.· And I reprinted part of it in     17· · earlier part of the relationship, because
      18· · my report, and it was at Exhibit 1.· And that   18· · some of the bigger numbers here, you know,
      19· · was part of the parties working toward          19· · were from a period of time before.
      20· · resolution.                                     20· · · · Q.· So if I understand what you're
      21· · · · Q.· Okay.· And I believe that's actually    21· · saying correctly, at least according to this
      22· · reproduced in your report at page 5?            22· · effort between the two companies, between the
      23· · · · A.· Yeah.                                   23· · parties to reconcile their differences back
      24· · · · Q.· So, basically, that same                24· · in 2019, this chart, as you observed, was
      25· · reconciliation analysis report, 2012 to 2019    25· · showing that at least between Benlida and


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 36 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 134                                              Page 136
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · Circuitronix U.S., on the left side of that     ·2· · · · A.· No, no.· We looked at -- I was
      ·3· · chart, the largest difference between their     ·3· · looking at this as to partly upsetting the
      ·4· · assessments of who owes whom what, occurred     ·4· · table going, well, how do we know which one
      ·5· · in 2014?                                        ·5· · is right when neither of the parties have a
      ·6· · · · A.· It's actually a little bit more.        ·6· · consistent set of data, and how can the trier
      ·7· · It's the differences -- there seemed to be      ·7· · of fact know what the ultimate resolution is
      ·8· · more differences in the earlier years, '14      ·8· · if there's an inconsistent dataset between
      ·9· · and prior.· And I used the million eight as     ·9· · the parties.
      10· · in my answer a few minutes ago.                 10· · · · Q.· Okay.· But this table at the top of
      11· · · · Q.· Eight million eight?                    11· · page 5 of your report is something that
      12· · · · A.· A million eight.· I thought I said a    12· · Benlida sent to Circuitronix, correct?
      13· · million eight.· Some of the numbers are         13· · · · A.· Yeah, I believe it was their -- a
      14· · larger from the prior period, and then they     14· · response to Rishi's e-mail.
      15· · sort of get smaller as they, you know, as       15· · · · Q.· And they, in this chart, at the top
      16· · they got more recent.· So maybe they got        16· · of page 5 of your report, reported two sets
      17· · better.                                         17· · of transactions, right?· On the left side
      18· · · · Q.· And that discrepancy represents         18· · they reported transactions between Benlida
      19· · what, a difference between the two companies'   19· · and Circuitronix U.S., correct?
      20· · books about how much has been paid?             20· · · · A.· Yes.
      21· · · · A.· Again, this was them trying to marry    21· · · · Q.· And in the right side they reported
      22· · their two -- I'll call it perceptions of the    22· · transactions between ROK and Circuitronix
      23· · data.· And from looking at the table and        23· · U.S. slash HK?
      24· · looking at the backup to this table, it         24· · · · A.· Yes.
      25· · looked like the differences were earlier in     25· · · · Q.· Okay.· Do you know why they did

                                                 Page 135                                              Page 137
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · the relationship.· That's what I simply said.   ·2· · that?
      ·3· · · · Q.· Have you logged those differences       ·3· · · · A.· Why they did that?· I mean, as I
      ·4· · anywhere else independently or were they        ·4· · said, there's other entities related to both
      ·5· · basically payment discrepancies that the        ·5· · parties.· And so, you know, I think
      ·6· · parties had identified themselves in this       ·6· · Benlida -- from the e-mail, I think the top
      ·7· · chart?                                          ·7· · of the e-mail chain was asking, well, what
      ·8· · · · A.· Yeah, what I was referencing in the     ·8· · about HK?· And I saw e-mails that said, well,
      ·9· · report, and this -- that was the state of the   ·9· · Circuitronix U.S., what about HK?· And I
      10· · data in response to those e-mails, circa        10· · remember seeing e-mails that were asking,
      11· · November 2019, that they were -- again, this    11· · hey, what about this other piece?
      12· · is one of the ping-pong balls that went back    12· · · · Q.· Okay.· Let me pull up that e-mail so
      13· · and forth there.· And I just noticed, as I      13· · you can see it.
      14· · said, that the discrepancies were earlier,      14· · · · · · This is Circuitronix 1993, which has
      15· · the bigger discrepancies were earlier.          15· · that e-mail you're referring to.
      16· · · · Q.· And you didn't separately catalogue     16· · · · A.· Yes.· So here it says, Please
      17· · those discrepancies independent of, like,       17· · provide DMs details for those we cannot find
      18· · what the parties had identified themselves      18· · in our records and also check the invoices
      19· · in, for example, this chart?                    19· · and payments again.· Besides the
      20· · · · A.· I don't follow what you're asking.      20· · reconciliation, CTX HK should also be checked
      21· · Maybe it's an easier question than I think it   21· · so that we can come to the whole picture.
      22· · is.                                             22· · · · · · And this was in response to Rishi's
      23· · · · Q.· It's designed to be easy.· Did you      23· · e-mail of about two weeks prior.· So I said,
      24· · keep a separate list of the payment             24· · they're talking about the whole picture.· And
      25· · discrepancies?                                  25· · so from what I'm looking at is, one piece is


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 37 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 138                                              Page 140
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · not the whole picture, because they even        ·2· · it's not where the dispute is.
      ·3· · reference, hey, what about this other piece.    ·3· · · · Q.· Okay.· I'm trying to understand your
      ·4· · · · Q.· Okay.· So still on page 5 of your       ·4· · language so I understand what your testimony
      ·5· · report, beneath that chart, you referenced      ·5· · is going to be.
      ·6· · this before, you say, We're unable to           ·6· · · · · · Below that chart on page 5, you say,
      ·7· · recreate KM report's results and are not in a   ·7· · We have not been able to recreate exactly the
      ·8· · position to fully agree or disagree with        ·8· · KM report's results.
      ·9· · portions of their findings.                     ·9· · · · · · Do you see that?
      10· · · · · · Are there portions of their findings    10· · · · A.· Yes.
      11· · that you are in the position to fully agree     11· · · · Q.· Did you attempt to recreate their
      12· · or disagree with?                               12· · results?
      13· · · · A.· No.· Because they did what they did,    13· · · · A.· No.· We didn't attempt to actually
      14· · and that doesn't sound right, but they did      14· · redo their work.· But in other parts of
      15· · their work.· I think their analysis that they   15· · our -- when we initially started, we saw
      16· · said that they did, they did.· And it gave a    16· · similar type of trends that they came up
      17· · result.· And I didn't take issue with it.       17· · with, you know, that CTX, you know, payment
      18· · I'm not, for now, disputing that the payments   18· · levels and other things.· And for purposes of
      19· · were 67 million, and I'm not disputing that     19· · this, I said, actually, this kind of makes
      20· · the invoices, there were some slight            20· · some sense.· But there's more than one piece.
      21· · differences, I'm not disputing that.            21· · · · · · So without the detail I said -- but
      22· · · · · · And I'm not disputing, you know,        22· · the multitude of data source says, The
      23· · that the debit memos that have been             23· · ongoing work with respect to litigants we
      24· · circulated, there is a difference, forget the   24· · don't take issue with the reconciliation
      25· · math error.· You know, I'm not disputing        25· · period.· So I'm not taking issue with it. I

                                                 Page 139                                              Page 141
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · that.· I think they probably did an accurate    ·2· · think it says fairly what they did and I
      ·3· · job.                                            ·3· · don't know that it's wrong.· I can't agree
      ·4· · · · · · It's the underlying implication that    ·4· · with certainty that it's completely right
      ·5· · that is the only piece, that is why I can't     ·5· · within that table.· I think I was clear, but
      ·6· · fully agree or disagree.· But as I said, I'm    ·6· · maybe not.
      ·7· · accepting, for purposes of this response        ·7· · · · Q.· You used the term, There's a certain
      ·8· · report, that I'm not taking issue with what     ·8· · amount of consistency.
      ·9· · they did.                                       ·9· · · · A.· Yes.
      10· · · · Q.· And you are gesturing to the chart      10· · · · Q.· Okay.· By which I understand you to
      11· · that's on the center of page 5 --               11· · mean that the table above is sufficiently
      12· · · · A.· Yes.                                    12· · reliable that you don't question it, correct?
      13· · · · Q.· -- of your report, which is Table 7     13· · · · A.· We're accepting it for purposes of
      14· · from the KM report?                             14· · what I'm communicating here, yes.
      15· · · · A.· Right.                                  15· · · · Q.· And you're also accepting it for
      16· · · · Q.· In general, you're saying you don't     16· · purposes of the trial, I assume?
      17· · take issue with what's in that chart?           17· · · · A.· Well, for purposes of the trial, I'm
      18· · · · A.· Correct.                                18· · saying the two data sources suggest the 5 --
      19· · · · Q.· Okay.· Is that why you say fully        19· · I'm rounding for conversation -- the
      20· · agree or disagree, you're not in a position     20· · $5 million here --
      21· · to fully disagree or agree, but you can         21· · · · Q.· Wait, let me --
      22· · partly agree?                                   22· · · · A.· -- which is the 4.7.
      23· · · · A.· As I think I used the word              23· · · · Q.· Sorry for interrupting you.· You're
      24· · congruence in the next paragraph.· I said,      24· · talking about the 4.760 figure?
      25· · look, they're kind of coming together and       25· · · · A.· Right.· And I said, for purposes of


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 38 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 142                                              Page 144
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · the invoices, the payments and the debit        ·2· · one part of the whole picture.
      ·3· · memos such as they are, there's a certain       ·3· · · · Q.· As a subtotal or stopping point,
      ·4· · consistency that up until that subset or        ·4· · yes, you would quibble with it because
      ·5· · subtotal or stopping point, I'm not going to    ·5· · it's -- or no, you're not quibbling with it?
      ·6· · question that.                                  ·6· · I want to understand your testimony.
      ·7· · · · Q.· Okay.                                   ·7· · · · A.· I'm sorry.· As a subtotal or
      ·8· · · · A.· I later on say, the lead time           ·8· · stopping point, I'm not quibbling with it as
      ·9· · penalties, you know, is, you know, they         ·9· · of today.
      10· · calculate them, they recalculate them --        10· · · · Q.· Got it.· I understand your testimony
      11· · recalculated them, but I'm not necessarily      11· · that it is only a part of the full picture.
      12· · agreeing that they are appropriate or they're   12· · · · A.· That is correct.
      13· · valid, because that's a legal question beyond   13· · · · Q.· So that's the basis of your
      14· · either expert.                                  14· · criticism, correct?
      15· · · · · · And, obviously, the total that KM is    15· · · · A.· Correct.
      16· · showing is the sum of their two numbers.· And   16· · · · Q.· Okay.· And as of today, you're not
      17· · I'm saying -- all I'm saying is the subtotal    17· · aware of any other data that would call into
      18· · here, for purposes of where we are, I'm not     18· · question that $4.76 million figure, right?
      19· · going to quibble with but it's only part of     19· · · · A.· I'm not aware as I sit here today of
      20· · the big picture.                                20· · other data that could, but it is possible
      21· · · · Q.· Got it.· So just to oil all that        21· · that more data may come up that may
      22· · down, we'll talk about lead time penalty        22· · materially change that number.
      23· · separately, but for purposes of the             23· · · · Q.· Okay, but as of now that's just a
      24· · reconciliation of accounts receivable through   24· · hypothetical possibility?
      25· · 2019 for Circuitronix U.S., you're not going    25· · · · A.· It's a possibility.· And given the

                                                 Page 143                                              Page 145
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · to quibble with the 4.7 million figure that     ·2· · multitude of data exchanges between the
      ·3· · KM came up with; is that correct?               ·3· · parties, it might be a little bit more than
      ·4· · · · A.· Not at this point, no.                  ·4· · hypothetical that there would be data that
      ·5· · · · Q.· Okay.· Well at what point are you       ·5· · would change that number.· Materially, I
      ·6· · going to quibble with it?                       ·6· · don't know.
      ·7· · · · A.· If, in fact, we have to -- there        ·7· · · · Q.· Are you aware that discovery in this
      ·8· · comes a need that I have to supplement my       ·8· · case has ended?
      ·9· · report or something else happens between now    ·9· · · · A.· Understood.· But you said what I'm
      10· · and trial, I may -- whatever work I do then     10· · aware of.· There could be data that could
      11· · may change what I'm prepared to say today.      11· · change the number.
      12· · · · Q.· Okay.                                   12· · · · Q.· Okay.· So at the bottom of page 5 of
      13· · · · A.· With that caveat, at this moment,       13· · your report, the last paragraph, you
      14· · the 4.7 million, based on what they did, I      14· · transition to a different subject.· You
      15· · can live with.                                  15· · say -- you write that the KM report does not
      16· · · · Q.· As you sit here today, based on all     16· · include any discussion of how common or
      17· · the work you've done to date on July 20,        17· · uncommon it is for a customer to overpay on
      18· · 2023, you have no basis to question the         18· · its account to the level concluded to in the
      19· · reliability of that figure, 4,760,847 that's    19· · KM report, close quote, right?
      20· · listed on the chart on page 5 of your report    20· · · · A.· Yes.
      21· · for the accounts receivable for Circuitronix    21· · · · Q.· I take it from your prior testimony
      22· · U.S. through July 2019, correct?                22· · today that you are referring here to what you
      23· · · · · · · ·MR. LERNER:· Objection.              23· · described as an unusual situation based upon
      24· · · · A.· Right.· As I said, as the subtotal      24· · your experience that Circuitronix U.S. had,
      25· · or stopping point, yes.· Because that's only    25· · even according to Benlida's own books, an


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 39 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 146                                              Page 148
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · overpaid situation to the tune of something     ·2· · a supplier.· That's why I thought it was
      ·3· · like $4.7 million; is that right?               ·3· · unusual and uncommon.
      ·4· · · · · · · ·MR. LERNER:· Objection.              ·4· · · · Q.· And you, in your report, at the top
      ·5· · · · A.· Repeat that?· I'm sorry.                ·5· · of page 6, you refer to a table on the next
      ·6· · · · · · · ·MR. ROSENTHAL:· I am going to        ·6· · page about a prepaid balance.
      ·7· · · · ·have to ask Michelle to read that          ·7· · · · A.· Yes.
      ·8· · · · ·back.                                      ·8· · · · Q.· And there wasn't a table on the next
      ·9· · · (Whereupon, at this time, the requested       ·9· · page, so I'm assuming you mean the one below
      10· ·portion was read by the reporter.)               10· · it?
      11· · · · A.· Yes.· It's -- that kind of, that        11· · · · A.· The pagination changed at the very
      12· · magnitude of overpayment is strange or          12· · end.
      13· · unusual.· Sorry, unusual.                       13· · · · Q.· Okay.· And so when you're talking
      14· · · · Q.· So how is the unusual nature of that    14· · about CTX U.S. maintaining a prepaid balance
      15· · situation relevant to how much they have or     15· · approaching three to six months of invoices,
      16· · have not paid?· In other words, the fact that   16· · you're referring to the table immediately
      17· · it is unusual, that you flagged it in your      17· · below it?
      18· · report, how, if at all, does that relate to     18· · · · A.· Yes.
      19· · the magnitude of that difference?               19· · · · Q.· Okay.· And that's on page 6 of your
      20· · · · A.· I'm not following your question, and    20· · report.· Correct?
      21· · I'm sorry.                                      21· · · · A.· Yes.
      22· · · · Q.· Let me ask it in a simpler way.         22· · · · Q.· Okay.· And you note that KM was
      23· · · · · · The fact that it is unusual doesn't     23· · silent on this issue, right?
      24· · bear on the sort of veracity of the numbers     24· · · · A.· Correct.
      25· · themselves, right?· They are what they are?     25· · · · Q.· And what is the issue you're

                                                 Page 147                                              Page 149
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Okay.· It's unusual that you have an    ·2· · referring to?
      ·3· · overpayment to that magnitude, which would be   ·3· · · · A.· The issue is how common it is for a
      ·4· · multiple months of sales.· When you have a      ·4· · third -- unrelated customer to consistently
      ·5· · customer, the customer ordinarily either owes   ·5· · have three to six months of prepayments.· And
      ·6· · you, meaning the supplier, money, or they       ·6· · if you look right down the chart you can, you
      ·7· · don't owe you anything.· And even in            ·7· · know, take the revenue, divide it by the
      ·8· · accounting and auditing, you look for           ·8· · receivable, and it was anywhere between three
      ·9· · significant overpayments for potential          ·9· · and six months.· That's very, very unusual in
      10· · reclassification within the books of the        10· · my 30-something years of accounting.
      11· · financial statements.                           11· · · · · · And KM didn't mention it at all,
      12· · · · · · So what I'm saying is, and I'll use     12· · positive or negative.· It just -- and it's
      13· · a simple example.· If your law firm invoiced    13· · odd.· It's not $500 as in my example with
      14· · $9,500 to a client, you would know they owed    14· · your law firm.· It's six months of revenue,
      15· · you 9,500.· That's the typical relationship.    15· · consistently, or three to six months of
      16· · If they happened to pay your firm 10,000,       16· · revenue.· It's just odd.
      17· · they would have an overpayment of $500, you     17· · · · Q.· So let me ask you, just so I can
      18· · know, not a big deal.· If they sent $50,000     18· · follow along, too.· We're looking at the
      19· · where you had an over -- your client overpaid   19· · chart on page 6 of your report, and you write
      20· · you by $40,000, that is unusual, forgetting     20· · at the top a source, right?
      21· · retainers, for attorneys, you know, for that    21· · · · A.· Um-hum.
      22· · matter.                                         22· · · · Q.· And that's Benlida payment details
      23· · · · · · That's unusual in a commercial          23· · CTX U.S. 2012 to 2021 V5, right?
      24· · setting where you have that magnitude of        24· · · · A.· Yes.
      25· · overpayment from an unrelated third party to    25· · · · Q.· I can show you your report, but this


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 40 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 150                                              Page 152
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · also attaches Exhibit 2 to your report?         ·2· · · · Q.· Okay.· Is there anything else that
      ·3· · · · A.· I believe so.· And some of this         ·3· · you guys changed from the source document on
      ·4· · information was also shown separately because   ·4· · this?
      ·5· · this table we used to try to marry certain      ·5· · · · A.· No.· The only thing that on one
      ·6· · other exhibits.· Because the timing and         ·6· · group we did was some of the original
      ·7· · dating was just different.                      ·7· · documents netted debit memos against
      ·8· · · · Q.· Okay.· Let me just pull up your         ·8· · invoices.· In other words, instead of having
      ·9· · report to make sure I'm able to follow.         ·9· · two columns like we show here total invoices
      10· · · · · · So I am showing you on the computer     10· · and total debit memos by year, some of the
      11· · screen your report, Exhibit 2.                  11· · earlier versions netted them as one number.
      12· · · · · · Here is Exhibit 2, you may have to      12· · · · Q.· And what was it called, total?
      13· · look up to look at it, but you may want to      13· · · · A.· I think it was called total.· And
      14· · compare the chart that's in your report to      14· · what we did was, we simply expanded it in
      15· · make sure I'm right.                            15· · order to show a little bit more consistency
      16· · · · A.· It looks good.· Yeah, it looks good     16· · as to what we were talking about.· And so
      17· · from here.· 253, the 195, yeah, it looks like   17· · that's why we had some formatting changes.
      18· · the same chart.                                 18· · And then, of course, additional analysis is
      19· · · · Q.· Okay.· So basically the chart -- I      19· · this three right-hand columns.
      20· · see in your report below it you reference       20· · · · Q.· Okay.· So let me just go take the
      21· · Exhibit 2?                                      21· · time to try to trace the Exhibit 1 chart,
      22· · · · A.· Yes.                                    22· · which is, I understand, the same one that's
      23· · · · Q.· I just wasn't sure if that is the       23· · on page 6 of your report to the source
      24· · same thing.                                     24· · document for a minute.
      25· · · · A.· That is the same thing.                 25· · · · · · So I'm going to open up on the

                                                 Page 151                                              Page 153
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.· And you write in your report     ·2· · computer screen the KM Citrin reliance
      ·3· · on page 6, This file that is the source came    ·3· · documents.· You want me to start first on
      ·4· · from the KM report's documents; is that         ·4· · yours, what you guys have provided us?· We're
      ·5· · correct?                                        ·5· · looking for something called Benlida payment
      ·6· · · · A.· Yes.                                    ·6· · details CTX U.S. 2012 to 2021 version 5. I
      ·7· · · · Q.· And did you see where they got it       ·7· · didn't see it.
      ·8· · from?· Like do you know if it came from         ·8· · · · A.· All right.· This was documents
      ·9· · Benlida or CTX?                                 ·9· · further reviewed.· My work product wouldn't
      10· · · · A.· As I'm sitting here, I don't know       10· · have been in here.· So go to --
      11· · where they got it from.· But I think this       11· · · · Q.· This is from the USB that you guys
      12· · file was one of the ping-pong balls.            12· · provided?
      13· · · · Q.· In the reconciliation process?          13· · · · A.· Yes.· Remember, there was two
      14· · · · A.· In the reconciliations.                 14· · tranches of production.· There was documents
      15· · · · Q.· Okay.· And you write that this was      15· · that we had that you asked for last week and
      16· · reprinted with -- here at the top, Reprinted    16· · then there was some other working file that
      17· · with formatting changes and additional          17· · we gave you today.· So there's a working file
      18· · analysis from you, right?                       18· · that would trace to what actually was
      19· · · · A.· Yes.                                    19· · produced.
      20· · · · Q.· I recognize that the last three         20· · · · · · · ·MR. ROSENTHAL:· So let's do it
      21· · columns that start Cumulative, and then the     21· · · · ·this way.· Perhaps Mr. -- we'll go
      22· · payment types are new on the chart?             22· · · · ·off the record and Mr. Lerner could
      23· · · · A.· Yes.                                    23· · · · ·perhaps find it, you can e-mail it to
      24· · · · Q.· That's what you all added?              24· · · · ·me and then I can project it up here.
      25· · · · A.· Yes.                                    25· · · · · · · ·(Discussion held off the


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 41 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 154                                              Page 156
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · ·record.)                                   ·2· · · · ·line of questioning and we can take a
      ·3· · · · · · · ·(Whereupon, a brief recess was       ·3· · · · ·break for lunch.· But let me just
      ·4· · · · ·taken.)                                    ·4· · · · ·check real quick.
      ·5· ·BY MR. ROSENTHAL:                                ·5· · · · · · · ·Let me just ask a couple of
      ·6· · · · Q.· Mr. Paulikens, what we've done is       ·6· · · · ·questions on this chart which appears
      ·7· · during the break, your counsel, Mr. Lerner,     ·7· · · · ·on page 6 on your report where you
      ·8· · went to your USB that you brought with you      ·8· · · · ·designate the types of payments.
      ·9· · and I think you identified this file as the     ·9· ·BY MR. ROSENTHAL:
      10· · one that we --                                  10· · · · Q.· What was your purpose in doing that?
      11· · · · A.· Yes.· I think the one that's coming     11· · · · A.· My purpose in doing that was
      12· · up.                                             12· · twofold.· I understand there's a dispute that
      13· · · · Q.· So I've now gotten the e-mail from      13· · whether the payments were payments on account
      14· · him.· I'm saving it over here to my computer    14· · or otherwise, and this ties into what is the
      15· · and I will open it up in a second.· Okay?       15· · starting point.· And I understand, and I
      16· · · · · · I think we're going to mark this as     16· · mention it, there's statute of limitations
      17· · Exhibit 148, but let's double check that it     17· · issues in question.
      18· · is the correct one.                             18· · · · · · And what I wanted to see is how did
      19· · · · · · The file is called Benlida payment      19· · we arrive at these balances and how were the
      20· · details CTX U.S. 2012-2021 V5, and then it      20· · payments made.· And because the spreadsheets
      21· · says July 2023 report, correct?                 21· · that was provided not only showed the details
      22· · · · A.· Yes.                                    22· · of the invoices and debit memos, et cetera,
      23· · · · Q.· And I understand that you are the       23· · but there was a tab that listed the payments.
      24· · one that added or your firm added the           24· · · · · · And what I have shown is almost all
      25· · July 2023 report to the file name?              25· · of the payments, and I gave you a breakdown

                                                 Page 155                                              Page 157
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Right.                                  ·2· · of which ones were in even ten thousands of
      ·3· · · · Q.· Okay.· I'm going to open it up.· And    ·3· · dollars.· And up through 2018 -- I'm sorry,
      ·4· · I'll go to the summary report tab.· Is that     ·4· · 2019, almost all of the payments every year
      ·5· · where we should look?                           ·5· · were in very even amounts.· Seemingly
      ·6· · · · A.· Yes.                                    ·6· · payments on account.· 250,000, 300,000.
      ·7· · · · Q.· Okay.· And can you just satisfy         ·7· · There's a detail in the exhibits.
      ·8· · yourself that that is the source that you       ·8· · · · · · And it wasn't until 2019 that the
      ·9· · used for Exhibit 2 to your report?· It's on     ·9· · payments started, you know, having much more
      10· · page 6.                                         10· · specific dollars and cents amounts.· And that
      11· · · · A.· Yes, that looks correct.                11· · clearly changed in 2019.
      12· · · · Q.· Are you satisfied that --               12· · · · · · And that may affect whatever
      13· · · · A.· Yes, this matches the table.            13· · starting point you might use, if you pick an
      14· · · · · · · ·MR. ROSENTHAL:· Okay so we'll        14· · arbitrary middle date.· And I'm picking a
      15· · · · ·mark that as Exhibit 148.                  15· · date for, you know, '16 -- 2016 to start,
      16· · · · · · · ·(Whereupon, at this time, the        16· · what's the outstanding balance at that point
      17· · · · ·above-mentioned Benlida payment            17· · in time?
      18· · · · ·details CTX U.S. 2012-2021 V5 July         18· · · · · · Because if you truncate it when you
      19· · · · ·2023 report was marked as Exhibit 148      19· · have payments on account, you know, you need
      20· · · · ·for identification.)                       20· · to determine an agreed upon starting point
      21· · · · · · · ·MR. ROSENTHAL:· And to make          21· · when you're tracing ins and outs.
      22· · · · ·that easier for us afterwards, I will      22· · · · Q.· Okay.· You mentioned that sometime
      23· · · · ·e-mail it back to Mr. Lerner with the      23· · in 2019 the payments for Circuitronix, and
      24· · · · ·title Exhibit 148.                         24· · this is Circuitronix LLC, changed from
      25· · · · · · · ·I may be at the end of this          25· · rounded even amounts, rounded to a $10,000


                        U.S. Legal Support | www.uslegalsupport.com 154 to 157
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 42 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 158                                              Page 160
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · amount to specific dollars and cents?           ·2· · files were created at around this time when
      ·3· · · · A.· Right.· And it was circa August, and    ·3· · the parties were trying to reconcile the
      ·4· · it's in the exhibit.· And it was in the file    ·4· · amounts owed to one another, which was in the
      ·5· · and it lists out all the payments.              ·5· · later half of 2019.
      ·6· · · · Q.· Do you know why that change             ·6· · · · · · What was the point of bringing that
      ·7· · occurred?                                       ·7· · up?
      ·8· · · · A.· Why that -- it was concurrent when      ·8· · · · A.· It was a profound change in how
      ·9· · they were trying to reconcile, you know,        ·9· · literally that dynamic of the relationship
      10· · grand reconciliation was in the fall of 2019,   10· · worked.· I didn't speculate in the report
      11· · at least started.· And all I'm noting is they   11· · that they may have had an agreement that they
      12· · started making those payments -- I'm sorry,     12· · were going to do things differently.· But it
      13· · the payment structure changed at that point     13· · was, from my chair, it was just a noteworthy
      14· · in time.                                        14· · profound change on what was an odd result,
      15· · · · · · Specific reason why they did it that    15· · which we talked about about a half hour ago
      16· · way, I don't know.· But there was a profound    16· · as to the relationship.
      17· · change in the way that part of the              17· · · · · · So something changed in August.· And
      18· · relationship worked.                            18· · I know they were trying to reconcile.
      19· · · · Q.· So your understanding was it had        19· · · · · · · ·MR. ROSENTHAL:· This is a good
      20· · something to do with the fact that they were    20· · · · ·point for a break if that makes sense
      21· · engaged in this reconciliation process at       21· · · · ·to everybody.
      22· · that time?                                      22· · · · · · · ·(Whereupon, a brief recess was
      23· · · · A.· The change happened concurrently        23· · · · ·taken.)
      24· · with the reconciliation.· If that was the       24· ·BY MR. ROSENTHAL:
      25· · gravamen for, you know, change in the payment   25· · · · Q.· Mr. Paulikens, we left off before

                                                 Page 159                                              Page 161
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · structure or there was some other issue, I      ·2· · lunch on page 6 of your report, we were
      ·3· · simply noted there was a significant change     ·3· · talking about the analysis you did which
      ·4· · in that dynamic of the relationship as they     ·4· · showed the rounded payments that were being
      ·5· · were trying to reconcile.                       ·5· · made?
      ·6· · · · Q.· So other than your awareness that at    ·6· · · · A.· Yes.
      ·7· · the same time there was this reconciliation     ·7· · · · Q.· And then the transition to
      ·8· · effort going on between the companies, you're   ·8· · non-rounded in August of 2019; do you recall
      ·9· · not aware of any other reason, as you sit       ·9· · that?
      10· · here today, why Circuitronix U.S. started       10· · · · A.· Yes.
      11· · paying in specific amounts in August 2019,      11· · · · Q.· Okay.· At the bottom of page 6 of
      12· · correct?                                        12· · your report you say, This is noteworthy.
      13· · · · A.· No, not as I'm sitting here today.      13· · · · A.· Yes.
      14· · Other than the timing, which I discussed in     14· · · · Q.· What is noteworthy?· What are you
      15· · the report.· And the fact that it was a         15· · talking about?
      16· · significant change, circa August of 2019.       16· · · · A.· The change.· Because I talked -- I
      17· · · · Q.· You are answering my question no,       17· · mean, again, it was flowing from the
      18· · but, yes, you're not aware of any other         18· · paragraph above it, when I said in fact it
      19· · reason, right?                                  19· · was not until the payments -- not until
      20· · · · A.· I'm not aware of any other reason,      20· · August 8, 2019 that the payments ceased being
      21· · I'm sorry.                                      21· · rounded even amounts and the payments were
      22· · · · Q.· That's fine.· And closely related to    22· · made in very specific dollar and cents, and I
      23· · this subject, at the very bottom of page 6 of   23· · said this is noteworthy.
      24· · your report, you say -- three lines from the    24· · · · Q.· And the noteworthy part is?
      25· · bottom, We also note that much of the Excel     25· · · · A.· The change.


                        U.S. Legal Support | www.uslegalsupport.com 158 to 161
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 43 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 162                                              Page 164
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· And then you go on to say that, in      ·2· · didn't apply, you know, payments on account
      ·3· · your view this is consistent with ongoing       ·3· · to the oldest invoice.· Otherwise you get
      ·4· · payments on account.· Right?                    ·4· · your aging messed up.· Because if you don't,
      ·5· · · · A.· Yes.                                    ·5· · your aging is going to have the oldest one
      ·6· · · · Q.· Can you define for us what payments     ·6· · still out there which may wreck your debt
      ·7· · on account is?                                  ·7· · covenants so it's customary -- it may wreck
      ·8· · · · A.· Sure.· Typically, when you have an      ·8· · your covenants with your banks and all.
      ·9· · ongoing relationship where you're constantly    ·9· · · · · · So you typically pay the oldest one
      10· · buying from a vendor, you can wait until you    10· · first, FIFO.· That's what I've always seen,
      11· · get the invoice that says, you know, $12,123    11· · unless there's specific identification.
      12· · yadda, and pay it.· But frequently, people      12· · · · Q.· Of invoices?
      13· · will simply just send $10,000 or 13,000, even   13· · · · A.· Of invoices.
      14· · amounts, because they know they're going to     14· · · · Q.· The custom of applying payments on
      15· · owe it and they just send it.· That's payment   15· · account presumes the existence of an account
      16· · on account.· And so that's different as         16· · that the parties both know about, right?
      17· · opposed to specific invoice payment.            17· · · · A.· Say that again, please?· I'm sorry.
      18· · · · · · And when I see round payments like      18· · · · Q.· The custom that you were referring
      19· · that, when you have an ongoing relationship,    19· · to of paying -- of applying payments on
      20· · that is, I'll say, almost always a payment on   20· · account presumes the existence of an account
      21· · account type of relationship.                   21· · that both parties know about, right?
      22· · · · Q.· Do you know whether there was a         22· · · · A.· Well, an account, yeah, it would
      23· · payment on account relationship between         23· · presume an obligation.· I'm not sure how to
      24· · Circuitronix U.S. and Benlida?                  24· · answer your question.· I mean, normally you
      25· · · · A.· I don't know if they -- I know          25· · don't pay an invoice for no reason.· I'm just

                                                 Page 163                                              Page 165
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · there's discussion and dispute about that and   ·2· · not following your question, I'm sorry.
      ·3· · that there's discussion about when the          ·3· · · · Q.· Well, have you had a case where one
      ·4· · specific payments may or may not be             ·4· · party applies payment to an account that's
      ·5· · identified.· But the mere fact that for         ·5· · different from the one the party that's
      ·6· · multiple years substantially payments were      ·6· · making the payment thinks that it is making
      ·7· · even 10,000s, that's the data and the actions   ·7· · payments towards?
      ·8· · that are suggestive of payment on account.      ·8· · · · · · · ·MR. LERNER:· Objection.
      ·9· · · · Q.· You say in your report that             ·9· · · · A.· Repeat that again?· Please.
      10· · ordinarily it is customary to apply payments    10· · · · Q.· Have you ever had a case where one
      11· · on account to the oldest invoice first unless   11· · party applies payments it receives to an
      12· · in a timely manner specific invoices are        12· · account that is different from the one that
      13· · identified, right?                              13· · the paying party thinks it is making the
      14· · · · A.· Yes.                                    14· · payment towards?
      15· · · · Q.· Where is that customary, in your        15· · · · · · · ·MR. LERNER:· Objection.
      16· · experience?                                     16· · · · A.· When you say have I ever had a case,
      17· · · · A.· It's customary in every business        17· · a litigation matter, not that I can think of
      18· · that I've been involved in.· I mean,            18· · on that specific fact.· In terms of a broad
      19· · sometimes somebody will say, I'm paying these   19· · general question, at some point the totality
      20· · invoices and not this one because I'm           20· · of the relationship, it would get corrected.
      21· · disputing it, fine.                             21· · · · · · So if there was two affiliates, and
      22· · · · · · But ordinarily, any firm and company    22· · I paid a million dollars to one and I should
      23· · I've been in, we apply it to the oldest         23· · have paid it to another, sooner or later it
      24· · first.· And every business -- I mean, I can't   24· · would get corrected and reconciled. I
      25· · think of a business as I'm sitting here that    25· · haven't had a case like that in litigation,


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 44 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 166                                              Page 168
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · and I don't, as I'm sitting here, can't think   ·2· · or later it would have been caught.
      ·3· · of just a commercial situation that I became    ·3· · · · Q.· It would be very unusual for it to
      ·4· · involved in.                                    ·4· · happen?
      ·5· · · · Q.· Well, yeah, so let me broaden it.       ·5· · · · A.· It would be unusual and I can't
      ·6· · Because you were -- when I said case, you       ·6· · think of one, and ordinarily it would be
      ·7· · thought litigation?                             ·7· · caught at some point.
      ·8· · · · A.· Yes.                                    ·8· · · · Q.· Let me come back to what you were
      ·9· · · · Q.· Let me ask you as broadly as            ·9· · writing about on page 6 of your report that
      10· · possible.· In your experience as an             10· · we talked about a few minutes ago, which is
      11· · accountant, and as broader than just as an      11· · this custom of payment on account being
      12· · expert advising companies and doing various     12· · applied to the -- on a FIFO basis unless
      13· · financial work for companies over your          13· · there's a specification of specific invoices.
      14· · career, have you had a situation, have you      14· · · · A.· Yes.
      15· · ever been aware of a situation where one        15· · · · Q.· Is it your intention to offer an
      16· · party was applying payments to an account       16· · opinion in this case that that custom is
      17· · that's different from the one that the paying   17· · applicable to the relationship between the
      18· · party thinks it's making its payments for?      18· · parties in this case?
      19· · · · A.· I won't say never, because I've         19· · · · · · · ·MR. LERNER:· Objection.
      20· · never thought of that.· But that situation      20· · · · · · · ·You could answer.
      21· · would wash out in the reconciliation process    21· · · · A.· Because, I mean, a formal opinion,
      22· · because then you get the divergent outcomes     22· · it's customary, again -- let me start the
      23· · such as we have here.                           23· · answer again.
      24· · · · · · We have one -- one is getting           24· · · · · · To give a formal opinion, I'm
      25· · favored by payments and another is being        25· · unsure.· Because it's such a strange -- the

                                                 Page 167                                              Page 169
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · starved of payments.· Sooner or later if        ·2· · payments on account to me is just basic
      ·3· · they're related, they're going to try to        ·3· · business, that that's norm and I've seen that
      ·4· · figure it out.                                  ·4· · in every business I've seen in 35 years.· So
      ·5· · · · Q.· I didn't ask you whether in this        ·5· · if that's an opinion you're asking, yes, I've
      ·6· · hypothetical they would wash out or not.· I'm   ·6· · seen that.· You know, payments on account,
      ·7· · just asking you in your experience, have you    ·7· · apply the oldest one first.· I've seen that
      ·8· · ever had a situation that you're aware of       ·8· · consistently for 35 years.
      ·9· · where one party was applying payments to an     ·9· · · · · · If that's the opinion you're asking,
      10· · account that was different from the one that    10· · yes, that's the opinion I would give on the
      11· · the party making the payments thought it was    11· · witness stand.
      12· · making payments toward?                         12· · · · Q.· Okay.· Let me ask you a similar
      13· · · · · · · ·MR. LERNER:· Objection.              13· · question about the timely specification of
      14· · · · A.· It's difficult to answer because        14· · invoice exception to that custom.
      15· · ordinarily that would be reconciled, fixed in   15· · · · · · Are you planning to give an opinion
      16· · the ordinary course of business.· And, again,   16· · in this case whether Circuitronix made timely
      17· · when you say in your hypothetical, you are      17· · identification of invoices that it wanted its
      18· · suggesting that there's two accounts, I think   18· · payments applied to Benlida or not?
      19· · was your words or two entities, maybe I'm       19· · · · · · · ·MR. LERNER:· Objection.
      20· · reaching, sooner or later they're going to      20· · · · A.· At this point, I don't know that I'm
      21· · talk to each other because the disparate        21· · going to give an opinion specifically on what
      22· · treatment is going to get abnormal.             22· · is considered appropriate of a delay. I
      23· · · · Q.· Can you think of a single example in    23· · mean, ordinarily, if somebody is applying a
      24· · your experience where this has happened?        24· · specific invoice -- I'm sorry, a payment to a
      25· · · · A.· No.· Because in my experience sooner    25· · specific invoice, they would send the check


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 45 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 170                                              Page 172
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · old school and say, invoice 12345.· Or they     ·2· · there's a $9,000 payment and a $20,000
      ·3· · would send wiring instructions with the         ·3· · payment maybe there's an overpayment of
      ·4· · follow up e-mail in short order so that the     ·4· · 11,000.· And that's going to continue on when
      ·5· · recipient knows that that payment is going to   ·5· · you're making round payments on account.
      ·6· · be specifically applied.                        ·6· · · · · · And at some point you're going to
      ·7· · · · · · It's my understanding, as an            ·7· · have at some later date an actual amount due.
      ·8· · accountant, that it is up to the recipient to   ·8· · And if you start with that actual amount due
      ·9· · determine how to apply the payment unless       ·9· · on a date certain, fine, but if you
      10· · specifically instructed by the payor as to      10· · arbitrarily pick July 1, 2018, to pick a date
      11· · where to put the payment.· And whether three    11· · out of the air, and you don't know which one,
      12· · days, ten days, you know, is a reasonable       12· · if they have specific invoice charges or FIFO
      13· · amount of time that may be acceptable, two,     13· · charges, that starting date balance could be
      14· · three, four months might become commercially    14· · very wrong because depending on where you
      15· · cumbersome.                                     15· · apply the FIFO payments it may be older
      16· · · · Q.· I didn't see in your report anything    16· · invoices due.
      17· · specific about this issue to the facts of       17· · · · · · You may -- if you decide that you
      18· · this case.· In other words, I didn't see you    18· · don't want to have payments applied to 2013
      19· · take a position one way or the other on         19· · invoices by way of illustration, you know,
      20· · whether or not Circuitronix did or didn't       20· · they could still be outstanding, it doesn't
      21· · make timely designations of the invoices it     21· · change what's due.· But I mean, so when you
      22· · wanted its money applied to; is that correct,   22· · have a dynamic relationship like the
      23· · it's not in your report?                        23· · receivable and payable relationship between
      24· · · · A.· Correct.· I didn't specifically take    24· · customer and supplier, and you have payments
      25· · a position on that.· I noted that that issue    25· · on account or unspecified -- unspecific, you

                                                 Page 171                                              Page 173
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · is actually a dispute.                          ·2· · have to be very careful as to where you start
      ·3· · · · Q.· You're aware of that from reading       ·3· · your analysis to make sure your beginning
      ·4· · summary judgment papers?                        ·4· · starting point is reasonable and even agreed
      ·5· · · · A.· Right.· And there is a dispute,         ·5· · upon.· That's what I was talking about there.
      ·6· · there is a question, it goes back to starting   ·6· · · · Q.· Okay.· Given that this is a rebuttal
      ·7· · dates, it goes back to everything, because      ·7· · report that you've written, I'm struggling
      ·8· · everything gets intertwined.· So I'm aware of   ·8· · with how that commentary applies to the KM
      ·9· · it and it is a dispute, I didn't take a         ·9· · report.
      10· · position on it.                                 10· · · · · · Are you saying that they picked an
      11· · · · Q.· And you just referenced starting        11· · arbitrary start date?
      12· · dates so I want to ask you about that.          12· · · · A.· No.· What I said was the sentence
      13· · Because in your report on page 7, you say --    13· · above it, I said they didn't discuss the
      14· · you have a sentence and I'm pointing up here,   14· · issue at all.· And so in some aspects of the
      15· · that says, This impacts the starting point of   15· · report they started at 2015, at other aspects
      16· · when to start the analysis.                     16· · they start at 2012.
      17· · · · · · What are you referring to when you      17· · · · · · I know there is a -- there is a
      18· · say this, this impacts?                         18· · debate as to what the starting point has got
      19· · · · A.· We were talking about the FIFO          19· · to do with the statute of limitations.· And
      20· · arrangement, and I can answer it better         20· · what I'm saying is, even the charts that are
      21· · perhaps by an illustration.                     21· · in the report that just showed running
      22· · · · Q.· Okay.                                   22· · balances, in other words, invoices less
      23· · · · A.· If you start on day zero and it was     23· · payments gave you a running balance, we
      24· · a $10,000 invoice, a $9,000 payment there's a   24· · talked about the chart before lunch.
      25· · running balance of $1,000.· And then if         25· · · · · · And we just need to know where we're


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 46 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 174                                              Page 176
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · going to start and what the balance was,        ·2· · truncate a relationship that has to go back
      ·3· · because otherwise if you don't discuss the      ·3· · to day zero, you run the risk of a result
      ·4· · starting balance and you simply look at ins     ·4· · that doesn't make sense coming towards the
      ·5· · and outs of invoices and payments without       ·5· · end.
      ·6· · properly accounting for where you started,      ·6· · · · Q.· Okay.· Let me ask it this way and I
      ·7· · you may get a misleading result if you do       ·7· · think it may wrap up the point.· But are you
      ·8· · anything that truncates part of the             ·8· · aware, as you sit here today, of any argument
      ·9· · relationship, because the accounts receivable   ·9· · that Benlida has asserted that any amounts
      10· · balance issue goes from day one of the          10· · that Circuitronix U.S. is owed for the
      11· · relationship through current.                   11· · reconciliation period from Benlida, is --
      12· · · · Q.· Okay.· With respect to the KM           12· · should be offset because of a statute of
      13· · report's opinions relating to the               13· · limitations, because it's older than a
      14· · reconciliation period through 2019, they        14· · statute of limitations date?
      15· · started in 2012, didn't they?                   15· · · · A.· As I'm sitting here, I'm not aware
      16· · · · A.· I believe that's when they started      16· · that Benlida has made that claim. I
      17· · their analysis, which may be day zero.          17· · understand that they were asking, because we
      18· · · · Q.· Right.· So at least for that portion    18· · talked about it in the e-mail we saw, what
      19· · of their analysis, that starts essentially      19· · about HK, in the e-mails as they were trying
      20· · like the right place, don't you agree?          20· · to reconcile the entire relationship, they
      21· · · · A.· I believe so.· But I also understand    21· · kept saying, what about HK.· And I know
      22· · there is a statute of limitations and payment   22· · that's a dispute in the case.
      23· · applicability being debated in the case.· But   23· · · · Q.· Okay.· And you are aware that
      24· · for purposes of your question, KM looked like   24· · Circuitronix HK is not a party to the
      25· · they went back to day zero.                     25· · lawsuit, right?

                                                 Page 175                                              Page 177
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· But that statute of limitations         ·2· · · · A.· That's my understanding, you know,
      ·3· · issue has no bearing in your understanding on   ·3· · as the current state of the case.
      ·4· · Circuitronix U.S.'s credit vis-a-vis Benlida,   ·4· · · · Q.· Okay.· On page 7 of your report
      ·5· · at least for that reconciliation period,        ·5· · again, I'm just keying off of what you've
      ·6· · right?                                          ·6· · written, you say that, An arbitrary start
      ·7· · · · A.· There's no bearing -- I hate to use     ·7· · date that does not consider the running
      ·8· · the word no bearing.                            ·8· · balance is misleading.· I'm taking a fragment
      ·9· · · · Q.· Okay.                                   ·9· · of your sentence.
      10· · · · A.· Because depending upon if you looked    10· · · · A.· Yes.· Where?
      11· · at, and I'm going to use 2015 as an             11· · · · Q.· I'm here.
      12· · illustration.· If there was a balance due to    12· · · · A.· I found it, okay.
      13· · Circuitronix as of the end of the 2015 of a     13· · · · Q.· Third paragraph or second full
      14· · million dollars --                              14· · paragraph on page 7.
      15· · · · Q.· Hypothetically?                         15· · · · · · Are you contending that anything in
      16· · · · A.· Hypothetically, and you don't take      16· · the KM report involved an arbitrary start
      17· · that into consideration, it may have a          17· · date and if so which parts?
      18· · bearing -- if the statute of limitations says   18· · · · A.· No.· All I'm saying is that, you
      19· · that is irrelevant, it may have a bearing on    19· · know, again, all of the issues here overlap
      20· · the final outcome.· Because some of the         20· · and perhaps are influenced by the other.· The
      21· · disputes we talked about about an hour ago      21· · KM relationship, based on the data that they
      22· · were early in the relationship.                 22· · presented seems to go back to day zero.· And
      23· · · · · · So maybe I'm making the answer more     23· · it was a congruency or consistency between
      24· · complicated than it needs to be.· I don't       24· · the 4-odd-million dollars that CTX showed and
      25· · want to say never, because whenever you         25· · the -- a different number, but Benlida had a


                        U.S. Legal Support | www.uslegalsupport.com 174 to 177
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 47 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 178                                              Page 180
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · substantially consistent number.· And that      ·2· · · · Q.· Nor did they issue an opinion on how
      ·3· · went back to day zero, that's a number.         ·3· · Circuitronix intended its payments to be
      ·4· · · · · · But I understand that one of the        ·4· · applied, did they?
      ·5· · disputes is where do we start comparing         ·5· · · · A.· Correct.· I don't think they covered
      ·6· · payments.· And all I'm saying here is, unless   ·6· · that in the report either.
      ·7· · we're careful as to what the beginning          ·7· · · · Q.· And they didn't cover how Benlida
      ·8· · balance we agree to start with, there could     ·8· · should have applied them or -- number one,
      ·9· · be a misleading end result if we start in the   ·9· · right?
      10· · middle and just have ins and outs after.        10· · · · A.· Yeah, they didn't -- they did a
      11· · · · Q.· Okay.· So the word arbitrary that's     11· · reconciliation between the two parties, they
      12· · used in your report is not designed to, like,   12· · didn't opine whose was right.
      13· · label something that KM did, you're just        13· · · · Q.· Are you critical of their not having
      14· · making a general point?                         14· · opined about that issue?
      15· · · · A.· I'm making a general point.· If you     15· · · · A.· No, not in the vacuum in that what
      16· · start on August or September, it may change.    16· · they did, they said what they did.· They
      17· · You have to get a consistent agreed-upon        17· · communicated what they did.· And, you know,
      18· · amount.                                         18· · from what I can tell, what they did was
      19· · · · Q.· Understood.                             19· · correct.· And I used the term, I'm not going
      20· · · · · · Same question with respect to the       20· · to disagree with it.
      21· · word misleading, which is a powerful word on    21· · · · Q.· Okay.
      22· · page 7 of your report.                          22· · · · A.· It was the pieces that were not in
      23· · · · · · You're not making an allegation that    23· · the report that I think are important.
      24· · anything in the KM report is misleading,        24· · · · Q.· Okay.· So that's the next subheading
      25· · you're just saying, as I understand you, in     25· · in your report.· What is not in the KM report

                                                 Page 179                                              Page 181
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · general, if you were to try to make certain     ·2· · on page 7.
      ·3· · calculations based upon an improper arbitrary   ·3· · · · · · I'm looking now at your next --
      ·4· · start date it would lead to a misleading        ·4· · withdrawn.
      ·5· · result?                                         ·5· · · · · · You say, We reprint a portion of a
      ·6· · · · A.· If you change the beginning number,     ·6· · spreadsheet that was included in the KM
      ·7· · it could change the ending number.· And that    ·7· · report documents relied upon.· Right?
      ·8· · may not be what the parties believe, it may     ·8· · · · A.· Yes.
      ·9· · not even be the correct number, but the         ·9· · · · Q.· On page 7.· And you reference
      10· · results, however you did the analysis may, in   10· · Exhibit 3, we already talked about -- I think
      11· · fact, change.                                   11· · we have, and you already previously told us
      12· · · · Q.· Are you saying there was anything       12· · that that Exhibit 3 is what appears on the
      13· · misleading in the KM report?                    13· · top of page 8.
      14· · · · A.· No.· As I said, I didn't take issue     14· · · · A.· Yes.
      15· · with what they did and I said five minutes      15· · · · Q.· That blue highlighted chart?
      16· · ago that they didn't, you know, the four or     16· · · · A.· Right.
      17· · five million was congruent with a lot of the    17· · · · Q.· We already talked about that, didn't
      18· · data.· But it was only part of the issue,       18· · we?
      19· · which is what my biggest criticism was.         19· · · · A.· Yes, we did.
      20· · · · Q.· So your report, just wrapping this      20· · · · Q.· And on page 7 you write in reference
      21· · part up, says -- acknowledges that KM did not   21· · to that spreadsheet, quote, This shows the
      22· · discuss the issue of the payment pattern and    22· · information that was not included in the KM
      23· · what you view as something consistent with      23· · report as it related to the invoicing and
      24· · payment on account, right?                      24· · payments made to ROK, close quote, right?
      25· · · · A.· Correct.· They didn't discuss it.       25· · · · A.· Yes.


                        U.S. Legal Support | www.uslegalsupport.com 178 to 181
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 48 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 182                                              Page 184
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.                                   ·2· · $5.4 million overpayment and on the other
      ·3· · · · · · · ·MR. ROSENTHAL:· Off the record       ·3· · hand there's a $13.5 million underpayment.
      ·4· · · · ·for one moment.                            ·4· · There's a net balance due with those numbers
      ·5· · · · · · · ·(Discussion held off the             ·5· · of 8 million.· That's what that paragraph
      ·6· · · · ·record.)                                   ·6· · says.· It's all dependent upon the data
      ·7· · · · Q.· Look at page 8 of your report there.    ·7· · source.
      ·8· · Underneath that chart you say, As shown         ·8· · · · Q.· Okay.· And just to be real precise,
      ·9· · previously, CTX U.S.'s and Benlida's data       ·9· · in the sentence before when you said that CTX
      10· · indicate that CTX overpaid Benlida by           10· · overpaid Benlida by approximately
      11· · approximately $5.4 million, depending upon      11· · $5.4 million, the CTX entity that you're
      12· · the data source.· Right?                        12· · specifically referring to is U.S., right?
      13· · · · A.· Yes.                                    13· · · · A.· Wait, say that again, I'm sorry?
      14· · · · Q.· Is that a recapitulation of the         14· · · · Q.· (Indicating)?
      15· · testimony you've already given?                 15· · · · A.· Oh, that paragraph, I'm sorry.
      16· · · · A.· Yes.· In fact, since I'm referring      16· · · · Q.· In your report on page 8, it's okay,
      17· · back to a table earlier in my report, and I     17· · where you say that, The data indicates that
      18· · think we discussed that kind of at length.      18· · CTX overpaid Benlida by approximately
      19· · · · Q.· We did.· And can you just show me       19· · $5.4 million, what I'm asking you is
      20· · which report that table is that you're          20· · specifically the CTX entity you're referring
      21· · referring to?                                   21· · to there is the U.S. entity?
      22· · · · A.· I think it's the table on page 6        22· · · · A.· Yes.
      23· · which is 5.6 million and then the e-mail from   23· · · · Q.· Dropping back down to the next
      24· · Rishi was 5.4 million, which is why I say,      24· · paragraph after the $13.5 million reference,
      25· · depending upon the data source.                 25· · you say, This has been studiously not covered

                                                 Page 183                                              Page 185
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.                                   ·2· · by KM, referring to $13.5 million?
      ·3· · · · A.· You know, there's an overpayment        ·3· · · · A.· Yes.
      ·4· · floating out there.                             ·4· · · · Q.· When you say "studiously not
      ·5· · · · Q.· Okay.· So just, the chart that you      ·5· · covered," I interpret that to mean that they
      ·6· · just referred to on page 6 of your report is    ·6· · were deliberately avoiding it.· Is that what
      ·7· · the one that's got the blue highlighting        ·7· · you mean to convey?
      ·8· · right in the middle of the page?                ·8· · · · A.· Yes.· Because not only did they not
      ·9· · · · A.· Yes.· And it's like 5.6 million in      ·9· · cover it in the body of their report, they
      10· · the pretty much center.                         10· · specifically mention in footnotes that they
      11· · · · Q.· The specific number is 5,633,674.51,    11· · have the analysis or they have the data to do
      12· · correct?                                        12· · the analysis and they are not, I'm
      13· · · · A.· Correct.                                13· · paraphrasing what they said in their report,
      14· · · · Q.· Below, this is on page 8 of your        14· · but they're not going to provide that
      15· · report of where we just were, you state, CTX    15· · analysis until after a response report to
      16· · has underpaid the Benlida Group by              16· · their report, and I cover that actually in
      17· · $13.5 million, right?                           17· · two paragraphs.
      18· · · · A.· Correct.                                18· · · · · · So they actually, they had the
      19· · · · Q.· What is the Benlida Group, you          19· · information, they know they have the
      20· · capitalize that?                                20· · information, and they are -- did not cover it
      21· · · · A.· I call -- well, I'm talking about       21· · at all, except to say in a footnote, we're
      22· · the 13.5 million, which is the HK.· So I        22· · not covering it.
      23· · guess I could have said Benlida, CTX HK         23· · · · Q.· Right.· And they say why, correct?
      24· · underpaid by 13.5 million.· So that whole       24· · · · A.· Yeah, they said -- they said it's
      25· · paragraph is on the one hand there's a          25· · just -- they're not covering it.· And I


                        U.S. Legal Support | www.uslegalsupport.com 182 to 185
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 49 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 186                                              Page 188
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · understand as you said earlier, the debate is   ·2· · that dependent upon where you stop,
      ·3· · to who is in the case, who meaning the          ·3· · Benlida -- I'm sorry, Benlida owes CTX U.S.
      ·4· · entity.                                         ·4· · $4 million or $7.9 million; depending on the
      ·5· · · · Q.· But they say why, they say they're      ·5· · final disposition with time penalties, that's
      ·6· · saving it for rebuttal?                         ·6· · a debate and they measured it.
      ·7· · · · A.· Well, why, yes, saving it for           ·7· · · · · · But the issue, as far as our case is
      ·8· · rebuttal, yes.                                  ·8· · the parties are intertwined, and as I said a
      ·9· · · · Q.· So they weren't deceptive or tricky     ·9· · couple of minutes ago.· The commercial
      10· · as to why they're not revealing that            10· · relationship where a customer overpays to
      11· · information in their report, right?· They       11· · that magnitude is odd to me when they know
      12· · said they're reserving it in their rebuttal?    12· · there's a claim that a related party is
      13· · · · A.· Yes.· They said -- they're saying       13· · underpaid to an even greater amount.· And if
      14· · they're reserving it for rebuttal, but they     14· · we stop there, you're going to -- the
      15· · didn't cover that issue.· And it's a            15· · economic conclusion doesn't make sense to me.
      16· · substantial issue.                              16· · · · Q.· When you use the term "it's an
      17· · · · Q.· You say in page 8 that, you know,       17· · untenable theory," right in your report --
      18· · why it is intentionally left out of the KM      18· · · · A.· Correct.· Because you have two
      19· · report is interesting, to use your phrase?      19· · entities that seemingly work somewhat in
      20· · · · A.· Yes.                                    20· · tandem.· And you've got a combined commercial
      21· · · · Q.· Why did you find it interesting, if     21· · relationship that hits the norms and makes
      22· · you read that they're holding it for            22· · perfect sense and are covered on the next
      23· · rebuttal?                                       23· · page, you know, that said if you net the two,
      24· · · · A.· Because the penultimate conclusion      24· · for purposes of this question, they have
      25· · of their report that says that a customer has   25· · between three and four months -- about three

                                                 Page 187                                              Page 189
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · overpaid their supplier by three to six         ·2· · months of revenue in accounts receivable or
      ·3· · months' sales is an economically very strange   ·3· · payable depending which side, and given
      ·4· · occurrence as an accountant, where you don't    ·4· · that's kind of an ordinary commercial
      ·5· · have overpayments of months of sales.           ·5· · relationship because it takes time to process
      ·6· · · · · · If you are audited and if you have      ·6· · payments.
      ·7· · financial statements, you have to reclass it    ·7· · · · · · So on the combined basis, the
      ·8· · differently as a negative accounts payable,     ·8· · commercial relationship makes sense.· But the
      ·9· · it would be receivable.· It's just an oddity    ·9· · two pieces were so disparate from the norm,
      10· · that to look and stop there was such an         10· · it strikes me as odd that they didn't cover
      11· · abnormal inverse relationship to what's the     11· · it.
      12· · norm, strikes me as odd.                        12· · · · Q.· You understand that the authors of
      13· · · · · · And interesting is why did you stop     13· · the KM report, Circuitronix's experts in this
      14· · there?· Have you ever seen that in your         14· · case, may have made a legal assumption that
      15· · career that somebody overpays by six months     15· · this case doesn't implicate the CTX Hong Kong
      16· · and again, forgetting legal retainers aside.    16· · account, right?
      17· · · · Q.· You go on to say in that same part      17· · · · A.· Correct.
      18· · of your report, that, To ignore the CTX HK      18· · · · Q.· In fact, that's what they did,
      19· · slash Benlida slash ROK issue as KM does        19· · right, to your understanding?
      20· · makes the entire conclusion of the KM report    20· · · · A.· They may have made a legal
      21· · difficult to accept, close quote.· I want to    21· · assumption or they may have been told to
      22· · ask you about that.                             22· · assume that legal assumption.· But
      23· · · · · · What exactly is the conclusion of       23· · regardless, the conclusion in their report,
      24· · the report, as you understand it?               24· · knowing they had the data strikes me as
      25· · · · A.· The conclusion of their report is       25· · curious.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 50 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 190                                              Page 192
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Well, does making such an               ·2· · different considerations, correct?
      ·3· · assumption, assuming they did, that the CTX     ·3· · · · A.· Understanding there's a difference
      ·4· · HK account is not legally relevant to CTX       ·4· · of a way of looking at things that an
      ·5· · U.S.'s claim against Benlida, its               ·5· · accountant would and they're accountants,
      ·6· · counterclaim in this case, does that            ·6· · too, and lawyers would, and understanding
      ·7· · assumption, if they made it, automatically      ·7· · there's a dispute.· It's -- their conclusion
      ·8· · make their theory untenable?                    ·8· · that there's such a big -- is just odd from
      ·9· · · · A.· No.· It's -- they're allowed to make    ·9· · an accounting perspective when you know what
      10· · an assumption based on perhaps a direction      10· · the other side of --
      11· · from counsel, a finding, that's a common        11· · · · Q.· You freely acknowledge that their
      12· · thing.· But what strikes me as odd is the       12· · report expressly focused on really one
      13· · ultimate conclusion that they come to just      13· · dynamic --
      14· · doesn't make sense, that two parties who were   14· · · · A.· Facet of the report.
      15· · largely unrelated, or unrelated, maybe          15· · · · Q.· One facet.· It was Circuitronix U.S.
      16· · friendly, we discussed that a long time ago,    16· · vis-a-vis Benlida, right?
      17· · you know, would have such an abnormal           17· · · · A.· Yes.
      18· · relationship when the other half of the         18· · · · Q.· And they said, we know that there's
      19· · transaction suggests the total would be net.    19· · Circuitronix Hong Kong.· We didn't address
      20· · · · · · It just doesn't make economic sense     20· · that, correct?
      21· · that you ought to stop there.· Maybe they       21· · · · A.· That's all I'm pointing out.
      22· · were told to, but it certainly, as I said in    22· · · · Q.· So you're pointing out something
      23· · my thesis of my report, it's what is not in     23· · that's not in your report?
      24· · the report that I took issue with.· And that    24· · · · A.· Exactly.· That's what I said I was
      25· · wasn't in their report.                         25· · going to do at the outset.

                                                 Page 191                                              Page 193
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · · · If it's proper for them to not          ·2· · · · Q.· I want to ask you about a term you
      ·3· · include it, that's on -- that's okay, the       ·3· · use.· On page 8 in the paragraph in the
      ·4· · judge will make that decision.                  ·4· · middle you have a sentence that says, Thus,
      ·5· · · · Q.· If they were to testify that the        ·5· · even if the offsets claimed by CTX are
      ·6· · reason they didn't include the Circuitronix     ·6· · ultimately proved at trial and accounted for,
      ·7· · Hong Kong accounts in their report and          ·7· · the CTX Group would still owe the Benlida
      ·8· · instead reserved them for rebuttal waiting to   ·8· · Group as much as $8 million depending upon
      ·9· · hear what Benlida asserted for its claim for    ·9· · the data source, right?
      10· · the Circuitronix Hong Kong account and that     10· · · · A.· Um-hum.
      11· · counsel instructed them to make that choice,    11· · · · Q.· What are you referring to by the
      12· · you wouldn't say that that was an               12· · offsets?
      13· · unreasonable thing for them to have done as     13· · · · A.· Again, it's an issue.· There are
      14· · experts in the case, would you?                 14· · certain lead time penalties.· There's, you
      15· · · · A.· No, not in a vacuum, you know,          15· · know, they calculated lead time -- they,
      16· · following their marching orders for that, not   16· · meaning KM, calculated lead time penalties,
      17· · at all.· It's just odd because of the           17· · you know.· So some of the offsets and, again,
      18· · magnitude in the inverseness, if that's a       18· · depending on the data source because it's
      19· · word, of the relationship.                      19· · going to change, you know, there's still an
      20· · · · Q.· The magnitude that you're talking       20· · amount due.
      21· · about, though, is from an accounting            21· · · · · · If there's a million dollars or $4
      22· · perspective, right?                             22· · million that's going to change it.· But it's
      23· · · · A.· Yes.                                    23· · a dynamic relationship, what gets included
      24· · · · Q.· The assumption would be driven by a     24· · into the final result, what's in and out of
      25· · legal perspective that is just looking at       25· · the case.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 51 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 194                                              Page 196
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Okay.· Do you -- have you formulated    ·2· · paragraph there you write what you have said
      ·3· · an opinion about the value of those offsets     ·3· · today, correct, that the KM report appears to
      ·4· · for purposes of your report?                    ·4· · begin its analysis with a lookback to 2012?
      ·5· · · · A.· No.· Because the offsets, you know,     ·5· · · · A.· Yes.
      ·6· · rights now, I think that are in play, in        ·6· · · · Q.· And you put in the section here
      ·7· · part, are the lead time penalties, which        ·7· · about statute of limitations for what reason?
      ·8· · accumulated to the 4-million-odd dollars.       ·8· · · · A.· My understanding is, again, it's a
      ·9· · · · Q.· And the $8 million figure, I know       ·9· · legal dispute, and I'm not trying to handicap
      10· · you've talked about it, but I'm being           10· · it as an accountant.· But I'm emphasizing
      11· · thorough so forgive me for repeating things.    11· · that the start amount, which we've covered in
      12· · But the $8 million figure you write on page 8   12· · multiple ways today, may be influenced by
      13· · of your report, you calculate simply by         13· · what the judge may rule and what the statute
      14· · looking at the $13.5 million number that you    14· · of limitations, we still need to get the
      15· · have said certain reconciliation documents      15· · right beginning balance, we covered that, I
      16· · say that Circuitronix Hong Kong owes to         16· · think a couple of hours ago.
      17· · Benlida, right?· And subtracting the roughly    17· · · · · · And I'm just saying that, you know,
      18· · $5 million that you concede, you're not         18· · there's issues that all influence what the
      19· · taking issue with, that reconciliation          19· · final number is.· You know, if we start at a
      20· · numbers show that Circuitronix U.S. has a       20· · hard date that nothing before 2015 matters,
      21· · credit with Benlida for, right?                 21· · just to pick an example, you know, that may
      22· · · · A.· Yes.· You know, I've said it that       22· · change the ending number.
      23· · way, and if you look at the data chart above    23· · · · Q.· So on the next paragraph of your
      24· · it in that report, when you simply look at      24· · report, you reference worksheets within the
      25· · the current year change, the balance due, if    25· · files KM produced to illustrate the amounts

                                                 Page 195                                              Page 197
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · you look in the column there, you'll see in     ·2· · due from the period of 2015 through
      ·3· · the last, you know, '17, '18, and '19, there    ·3· · July 2019.
      ·4· · was big increases in the balance due on that    ·4· · · · · · You see that?
      ·5· · one chart.· So all I'm saying is --             ·5· · · · A.· Yes.
      ·6· · · · Q.· And that chart is the one that's on     ·6· · · · Q.· Okay.· And then you say, Included in
      ·7· · page 8?                                         ·7· · Exhibit 3 and Exhibit 4, excerpts from two
      ·8· · · · A.· On page 8.                              ·8· · files.· Let me make sure that I've got the
      ·9· · · · Q.· Okay.                                   ·9· · right ones because I had a little difficulty
      10· · · · A.· So it's a dynamic relationship          10· · with this.
      11· · depending on where you start, what you          11· · · · · · So I'm going to pull up your report
      12· · include, and that's all I'm saying.· There's    12· · on the computer and go to Exhibit 3.· I don't
      13· · a lot of math, a lot of numbers that have to    13· · know why it always rotates.
      14· · be decided, what we're starting with and        14· · · · · · So Exhibit 3 has a document that has
      15· · what's in the mix and what's out of the mix.    15· · a source name, right?
      16· · Because we can go in circles.                   16· · · · A.· Yes.
      17· · · · Q.· I'm not asking you --                   17· · · · Q.· Can you just read that source name
      18· · · · A.· I'm not saying you are.                 18· · up there?· What's the one on the screen?
      19· · · · Q.· That's how you got the $8 million       19· · · · A.· Okay.· Except this is --
      20· · number?                                         20· · · · Q.· Just if you can follow my question.
      21· · · · A.· Yes.                                    21· · · · A.· This is 2012 to 2019.
      22· · · · Q.· Just turning to page 9 of your          22· · · · Q.· Mr. Paulikens, I just need you to
      23· · report, talking about the statute of            23· · answer my question.
      24· · limitations issue.                              24· · · · · · The one that I pulled up on the
      25· · · · · · I note that the end of the first        25· · screen that's Exhibit 3, the source says


                        U.S. Legal Support | www.uslegalsupport.com 194 to 197
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 52 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 198                                              Page 200
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · what?                                           ·2· · · · Q.· Okay.· Hold on, because this is
      ·3· · · · A.· Benlida shipment and payment            ·3· · still not clear to me.
      ·4· · details, CTX-HK 2012 to 2019.                   ·4· · · · · · We've established that where your
      ·5· · · · Q.· Okay.· I know you were going to         ·5· · report said Exhibit 3, that was incorrect and
      ·6· · this, but in your report on page 9 you say      ·6· · it should have said Exhibit 4?
      ·7· · that Exhibit 3 says CTX-HK -- sorry, Benlida    ·7· · · · A.· 4.
      ·8· · payment details, CTX HK 2015 to 2019 version    ·8· · · · Q.· Because we're now looking at
      ·9· · 2.1, right, in your report?                     ·9· · Exhibit 4 on the screen, and Exhibit 4 is CTX
      10· · · · A.· Yes.                                    10· · HK figures, right, from 2015 to 2019?
      11· · · · Q.· So which is it?· Because these don't    11· · · · A.· Yes.
      12· · match.· Exhibit 3 says 2012 to 2019?            12· · · · Q.· Okay.· Now I'm just trying to follow
      13· · · · A.· Right.                                  13· · you.· Looking at your report, the next one
      14· · · · Q.· And your report says 2015 to 2019?      14· · you list says, Benlida payment details CTS
      15· · · · A.· What does Exhibit 4 have?· What does    15· · U.S., 2015 to 2019, Exhibit 4.· But since
      16· · Exhibit 4 say?· Because I don't have that.      16· · we're looking at Exhibit 4 on the screen,
      17· · · · Q.· Yes.· Exhibit 4 says CTX-HK 2015 to     17· · that's also not --
      18· · 2019 version 2.1.                               18· · · · A.· No, it should be Exhibit 5.
      19· · · · A.· Right.· So my exhibit numbers           19· · · · Q.· Your report should have said
      20· · changed from the narrative in your hands to     20· · Exhibit 5?
      21· · the actual exhibits.· So that's why I           21· · · · A.· Yes.
      22· · reference the file name which is that source    22· · · · Q.· All right.· So let me click to
      23· · file.· And so the next one, which I said is     23· · Exhibit 5.
      24· · Exhibit 4, probably is Exhibit 5.               24· · · · · · Exhibit 5 says the source is Benlida
      25· · · · Q.· Okay, wait, so then staying with one    25· · payment details CTX U.S. 2012 to 2021 version

                                                 Page 199                                              Page 201
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · thing at a time.· On page 9 of your report      ·2· · 5.· That's not it either, is it?
      ·3· · where it says parentheses Exhibit 3.            ·3· · · · A.· That's version 5 -- click on
      ·4· · · · A.· Right.                                  ·4· · Exhibit 6.· It should be -- I must have moved
      ·5· · · · Q.· That --                                 ·5· · them.· Where it says Exhibit 4 in my
      ·6· · · · A.· Should be 4.                            ·6· · narrative, it should say Exhibit 6.· I moved
      ·7· · · · Q.· That should say Exhibit 4?              ·7· · it.
      ·8· · · · A.· Yes.                                    ·8· · · · Q.· Okay.· So that's why I had trouble
      ·9· · · · Q.· So that's a mistake.· And then it       ·9· · following.
      10· · says in your report, And Benlida payment        10· · · · A.· I'm sorry.
      11· · details CTS, which is probably just a typo,     11· · · · Q.· All right.· So where it says
      12· · it should be CTX, right?                        12· · Exhibit 3, it should say Exhibit 4.· And
      13· · · · A.· Yes.                                    13· · where it says Exhibit 4, it should say
      14· · · · Q.· U.S. 2015 to 2019 version 2.1, and      14· · Exhibit 6?
      15· · it says Exhibit 4.                              15· · · · A.· Correct.
      16· · · · A.· If you could click on Exhibit 5.        16· · · · Q.· Okay.· So let me ask you this.
      17· · · · Q.· Okay, so right now we're looking at     17· · · · · · Your point in flagging what you've
      18· · Exhibit 4 on the screen, and that says it's     18· · now shown are the two exhibits you were
      19· · called -- its source is CTX HK not CTX U.S.,    19· · trying to reference on page 9 of your report
      20· · right?                                          20· · was that the KM files produced to you
      21· · · · A.· No.· This says CTX HK, which is         21· · illustrates the -- illustrate the amounts due
      22· · exhibit -- should say Exhibit 4 in a            22· · for the period from 2015?
      23· · narrative in my report.· That gives you the     23· · · · A.· Correct -- I'm sorry.
      24· · million -- the $8 million balance shown on      24· · · · Q.· Right.· And so that's the point in
      25· · the next paragraph.                             25· · time you were sort of trying to focus us on?


                        U.S. Legal Support | www.uslegalsupport.com 198 to 201
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 53 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 202                                              Page 204
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Right.· So the statute of               ·2· · files.· So it was information available to
      ·3· · limitations and the static start point          ·3· · them.· All I'm saying is this information in
      ·4· · changes based upon whatever file source         ·4· · their file for these dates give you this
      ·5· · you're using.· The two numbers I have here      ·5· · result.
      ·6· · and included in my report as exhibits, even     ·6· · · · Q.· And you supplied a bunch of
      ·7· · though they're mislabeled, show different       ·7· · materials equally when we asked for your
      ·8· · outcome than the 8 million we talked about      ·8· · files, correct?
      ·9· · ten minutes ago.· This is 3 million when you    ·9· · · · A.· Yes.
      10· · are truncating the early years off.             10· · · · Q.· Including bringing a USB here today?
      11· · · · Q.· Okay.                                   11· · · · A.· Yes.
      12· · · · A.· So all I'm saying is that is a big      12· · · · Q.· Did you rely upon everything that's
      13· · issue.                                          13· · in those computer files to produce your
      14· · · · Q.· Okay.· And I know you were trying to    14· · report?
      15· · fast forward ahead of my trying to figure out   15· · · · · · · ·MR. LERNER:· Objection.
      16· · which exhibit was which when you referenced a   16· · · · A.· Well, rely is a very broad subject,
      17· · dollar figure earlier?                          17· · you know.· It's information that was
      18· · · · A.· Yes.                                    18· · available to me in my work, some of which was
      19· · · · Q.· And in your report it says for the      19· · more relevant than others, like the financial
      20· · periods shown, which I now understand to be     20· · statements which I sent you from the
      21· · 2015 through 2019 --                            21· · settlement work that I did.· I gave that to
      22· · · · A.· Yes.                                    22· · you because it obviously influences my
      23· · · · Q.· -- CTX owes Benlida slash ROK           23· · understanding of the case.
      24· · approximately $8.8 million, and Benlida owes    24· · · · Q.· Well, I'm just asking you this
      25· · CTX approximately $5.7 million?                 25· · question because you used the words "relied

                                                 Page 203                                              Page 205
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Right.· Which are the totals.           ·2· · upon" in your report.· And I want to
      ·3· · · · Q.· So using Exhibits 4 and 6 to your       ·3· · understand what you mean by that.
      ·4· · report, the corrected numbers, that's the       ·4· · · · A.· Oh, okay.
      ·5· · data?                                           ·5· · · · Q.· So these materials that you are
      ·6· · · · A.· Yes.                                    ·6· · saying were relied upon by KM related to the
      ·7· · · · Q.· Got it.· And when you say CTX in        ·7· · 2015 to 2019 time period were things that
      ·8· · that sentence, the first CTX is CTX Hong        ·8· · were in their materials that they had, right,
      ·9· · Kong, correct?                                  ·9· · in their possession?
      10· · · · A.· Owes.· Yes.                             10· · · · A.· Yes.
      11· · · · Q.· And the second CTX, Benlida owes        11· · · · Q.· Were they relied upon in their
      12· · CTX?                                            12· · report, per se?
      13· · · · A.· U.S.                                    13· · · · A.· The specific exhibit, no.· But
      14· · · · Q.· CTX U.S.?                               14· · remember, as we discussed earlier, they went
      15· · · · A.· Yes.                                    15· · from day zero 2012 through 2019 or '21.· So
      16· · · · Q.· Okay.· And you say in your next         16· · by default this information is at least
      17· · sentence, As shown in the files relied upon     17· · subsumed in some of those numbers.· It's
      18· · by KM, Benlida is owed approximately a net      18· · different excerpting of information,
      19· · amount of $3.119 million?                       19· · depending on the dates.· So how much they
      20· · · · A.· Correct.                                20· · relied upon it, but it was in their
      21· · · · Q.· When you say, The files relied upon     21· · information.
      22· · by KM, where did they rely upon them?           22· · · · Q.· But you, yourself, have testified
      23· · · · A.· Well, they include -- it was            23· · that you can't just have something subsume
      24· · information relied upon in the report, that     24· · within a time period, that the start time
      25· · was the -- it was produced to me, these were    25· · matters?


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 54 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 206                                              Page 208
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· And that was the purpose of this        ·2· · trying to get some level of comparability.
      ·3· · section of the report, to say the start time    ·3· · And then the third piece of the chart is
      ·4· · does matter, because you get a different        ·4· · simply the mathematical totals of each of
      ·5· · result if you start at 2015 and go to '21       ·5· · those.
      ·6· · than if you do, if you start at 2012 and go     ·6· · · · · · So the running total in the top of
      ·7· · to 2019.                                        ·7· · the chart is HK in this chart owes Benlida
      ·8· · · · Q.· And in the KM report, we've already     ·8· · 8.8 million.· In this chart, Benlida owes CTX
      ·9· · established they start at 2012?                 ·9· · U.S. 5.7 million.· Simply, the balance due is
      10· · · · A.· Yes.· I said that in my report about    10· · the 3 million.· It's just an illustration
      11· · two pages ago.                                  11· · that there's data and start dates matter.
      12· · · · Q.· When you said they relied upon this     12· · · · Q.· Okay.· So I recognize the top
      13· · 2015 to 2019 database, they didn't really       13· · chart --
      14· · rely upon it, like use it as some evidence      14· · · · A.· Yes.
      15· · that they formed an opinion in their report     15· · · · Q.· -- I believe, as Exhibit 4 you were
      16· · based upon.· They just had it in the            16· · showing us to your report.· I'll pull it up
      17· · materials that they considered among many,      17· · on the screen.
      18· · correct?                                        18· · · · · · That's the right thing, right, CTX
      19· · · · A.· Well, among many, and because they      19· · HK 2015 to 2019?
      20· · didn't discuss the HK issue, other than to      20· · · · A.· Yes.
      21· · say they're not discussing the HK issue, this   21· · · · Q.· 8,843,225.58.
      22· · was available and I know it's circular.         22· · · · A.· Yes.
      23· · · · Q.· My point is, you have materials that    23· · · · Q.· And then I believe that the second
      24· · are within your materials for this file, for    24· · chart on page 10 of your report is Exhibit 6,
      25· · this case, that you didn't specifically rely    25· · as you've identified.

                                                 Page 207                                              Page 209
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · upon to draw opinions from for your report,     ·2· · · · · · Can you confirm that?
      ·3· · correct?                                        ·3· · · · A.· Yes.· 5.7.· Yes.
      ·4· · · · A.· That's correct.                         ·4· · · · Q.· Okay.· Got it.
      ·5· · · · Q.· Okay.· You come up with this 3.119      ·5· · · · · · So, basically, page 10 has
      ·6· · number?                                         ·6· · Exhibit 4, Exhibit 6 and then a total?
      ·7· · · · A.· Yes.                                    ·7· · · · A.· Correct.
      ·8· · · · Q.· And you say, As shown on the next       ·8· · · · Q.· Underneath those charts on page 10
      ·9· · page.· So let's go there to page 10 of your     ·9· · of your report you say, KM acknowledges that
      10· · report.                                         10· · CTX owes Benlida slash ROK approximately
      11· · · · · · I see that figure in the third blue     11· · $13,492,823.· I'm going to stop there.
      12· · highlighted chart at the bottom right.          12· · · · · · Where does KM acknowledge that debt?
      13· · · · A.· Um-hum.                                 13· · · · A.· It -- I don't think they
      14· · · · Q.· Is that where it is?                    14· · specifically acknowledge that debt within
      15· · · · A.· Yes.                                    15· · their report.· The data that I pulled from
      16· · · · Q.· Okay.· And you created that chart?      16· · their files show the 13 million, we've
      17· · · · A.· Yes.· This is -- we created this        17· · covered that before.· So the purpose of this
      18· · chart using those source information in order   18· · is, there's a whole lot of this relationship
      19· · to try to get to a consistent end point in      19· · that's not just the two parties at KM
      20· · 2019 where the balances could be.· And the      20· · covered.
      21· · purpose was, and I use this phrase              21· · · · Q.· I'm just focusing on your words, KM
      22· · throughout, depending upon the data source.     22· · acknowledges.· Can you see that they don't
      23· · · · · · So the top chart was the CTX HK         23· · acknowledge that?
      24· · cutoff at 2019.· Then the second piece was      24· · · · A.· No.· They didn't form any opinion,
      25· · the CTX U.S. cutoff at '19.· You know, so I'm   25· · other than discussing they weren't


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 55 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 210                                              Page 212
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · discussing.                                     ·2· · · · · · · ·(Whereupon, a brief recess was
      ·3· · · · Q.· And then you continue in that           ·3· · · · ·taken.)
      ·4· · sentence, you say, And maintains -- and         ·4· ·BY MR. ROSENTHAL:
      ·5· · you're talking about KM.· KM acknowledges a     ·5· · · · Q.· So we're on page 11 of your report,
      ·6· · certain amount and maintains for the purposes   ·6· · Mr. Paulikens, and I recognize Exhibit 3,
      ·7· · of analysis that Benlida owes CTX               ·7· · because you've labeled it at the top.· That
      ·8· · approximately $9.4 million, right?              ·8· · is Exhibit 3, right, just to be clear?
      ·9· · · · A.· Correct.                                ·9· · · · A.· I think so.· The '19 version.
      10· · · · Q.· But they don't actually -- KM           10· · · · Q.· Let me just click on Exhibit 3 so we
      11· · doesn't actually maintain that in its report,   11· · can confirm since some of these things got
      12· · does it?                                        12· · misnumbered in your report.· Go ahead and
      13· · · · A.· No.· They think it shows that,          13· · take a look.
      14· · again, one of the other charts from the other   14· · · · A.· Yes.
      15· · thing shows another larger amount, because,     15· · · · Q.· Okay.· So 3 is 3 on that page.
      16· · again, depending on which version of the        16· · Let's look at Exhibit 5, because I will note
      17· · these years, the numbers are all over.          17· · for you that the only time I saw Exhibit 5
      18· · · · Q.· So this narrative that you have in      18· · referenced in your report is the little top
      19· · your report is your characterization of         19· · middle chart on page 11.· I'll click on
      20· · documents that happened to be in the            20· · Exhibit 5, and I may have to rotate this
      21· · materials that KM had access to?                21· · three times.
      22· · · · A.· Yes.                                    22· · · · · · Showing you Exhibit 5 to your
      23· · · · Q.· Okay.· And just to conclude, you        23· · report --
      24· · then say at the bottom of page 10, As shown     24· · · · A.· That looks like the source of the
      25· · in these files, according to KM, Benlida is     25· · middle portion of the chart.

                                                 Page 211                                              Page 213
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · owed approximately a net amount of 4 million    ·2· · · · Q.· Okay.· Let me just ask you this one
      ·3· · and change, right?                              ·3· · question about it.
      ·4· · · · A.· Depending upon which data source,       ·4· · · · · · You see how the source says that
      ·5· · yes.                                            ·5· · it's Benlida payment details, CTX U.S. 2012
      ·6· · · · Q.· But you didn't write, depending upon    ·6· · to 2021 at the top?
      ·7· · which data source, did you?                     ·7· · · · A.· Yes.
      ·8· · · · A.· I've said that throughout the           ·8· · · · Q.· In your report, and here also on
      ·9· · report.· So I've said that.· Didn't say it      ·9· · Exhibit 5, it cuts off at 2019.
      10· · here.                                           10· · · · · · Do you know if the original source
      11· · · · Q.· My focus is what you did say here.      11· · had 2020 and '21 in it?
      12· · You said, According to KM, right?               12· · · · A.· I think it did, and I was trying to
      13· · · · A.· Yes.                                    13· · get some level of matching --
      14· · · · Q.· But it is not according to KM, is       14· · · · Q.· Okay.
      15· · it?                                             15· · · · A.· -- between each of the different
      16· · · · A.· It's according to files in their        16· · data sources so that there was some level of
      17· · file.                                           17· · consistency.
      18· · · · Q.· Data in their file would support        18· · · · Q.· Okay.
      19· · that number, you're saying?                     19· · · · A.· That's why there also was a note
      20· · · · A.· Yes.                                    20· · that some were done on accrual -- I'm sorry,
      21· · · · Q.· Okay.                                   21· · on a calendar and some were done on a fiscal.
      22· · · · · · · ·THE WITNESS:· Can we take a          22· · · · Q.· Okay.· And looking back at your
      23· · · · ·quick break?                               23· · report on page 11, the third chart, the blue
      24· · · · · · · ·MR. ROSENTHAL:· We'll take a         24· · highlighting, it says total on the top of it.
      25· · · · ·break, sure.                               25· · · · A.· Yes.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 56 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 214                                              Page 216
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· How did you calculate those totals?     ·2· · relationship.· And then you combine them,
      ·3· · · · A.· That's just added up.· So if you        ·3· · which is what the bottom did, and it's an
      ·4· · look at the first two numbers, so taking 2012   ·4· · illustration that combined is actually a
      ·5· · is just an illustration, is $50,844 on the      ·5· · fairly normal typical commercial
      ·6· · top chart.                                      ·6· · relationship.
      ·7· · · · Q.· Yes.                                    ·7· · · · · · That's why trying to separate one
      ·8· · · · A.· And then add that to the 1,168,214      ·8· · from the other I don't think makes economic
      ·9· · in the middle chart?                            ·9· · sense.
      10· · · · Q.· You mean $1,168,214 middle chart        10· · · · Q.· Let me ask you about the second line
      11· · number?                                         11· · where you say, Where Benlida has been
      12· · · · A.· Yes.· Gives you $1,219,000 and some     12· · overpaid and ROK has been underpaid.
      13· · change.                                         13· · · · · · Do you see that?
      14· · · · Q.· And so, basically, for purposes of      14· · · · A.· Um-hum.
      15· · this part of your report, you added the top     15· · · · Q.· Where does it show that ROK has been
      16· · chart, which is Circuitronix Hong Kong, the     16· · underpaid?
      17· · middle chart, which is Circuitronix U.S. and    17· · · · A.· It doesn't.· It would be -- it
      18· · got a total?                                    18· · should be -- it should have said HK was
      19· · · · A.· Yes.                                    19· · under -- what's the word I'm looking for?
      20· · · · Q.· Both total invoices, total debit        20· · · · · · What did you say?
      21· · memos, total payments and then the balance?     21· · · · Q.· Go ahead.· Mr. Lerner was
      22· · · · A.· Running balance.                        22· · volunteering something, but thought better of
      23· · · · Q.· And I want to look at what you said     23· · it.
      24· · about that beneath these charts.                24· · · · A.· What I'm trying to show in this
      25· · · · · · I'm paraphrasing, you say that it's     25· · chart is that when you look at the Hong Kong

                                                 Page 215                                              Page 217
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · untenable to separate ROK and Benlida,          ·2· · portion and the CTX U.S. portion, you need to
      ·3· · correct?· I'll read the specific sentence.      ·3· · combine them.· And perhaps my draftsmanship
      ·4· · You say, quote, To show the untenable           ·4· · was imprecise.
      ·5· · position that CTX seeks to do by separating     ·5· · · · Q.· Well, it was wrong, wasn't it?
      ·6· · Benlida and ROK, parentheses, where Benlida     ·6· · · · A.· Imprecise or wrong.
      ·7· · has been overpaid and ROK has been underpaid,   ·7· · · · Q.· You made a mistake by saying ROK,
      ·8· · we will combine the two balances to show        ·8· · didn't you?
      ·9· · they're combined, Benlida and ROK have a        ·9· · · · A.· It should have said Hong Kong or HK.
      10· · commercially normal relationship with CTX.      10· · Because I was trying to show that the two
      11· · · · · · Did I read that correctly?              11· · parties -- you can't separate the
      12· · · · A.· Yes.                                    12· · relationship.
      13· · · · Q.· So my first question is, is it          13· · · · Q.· Okay.· But it's also a mistake to
      14· · untenable to separate ROK out?                  14· · say, even if you change it to say, CTX Hong
      15· · · · A.· It's untenable to separate -- I         15· · Kong has been underpaid, right?
      16· · think it's untenable to try to separate         16· · · · A.· CTX Hong Kong --
      17· · either of the parties from each other because   17· · · · Q.· Because actually you're saying --
      18· · they seem to work together.· So all I'm         18· · · · A.· Yes.
      19· · showing here is, on the one hand you got the    19· · · · Q.· -- that CTX Hong Kong is the party
      20· · CTX U.S. that's got a significant               20· · that underpaid by $13 million?
      21· · overpayment, $9.4 million at the end of 2019.   21· · · · A.· Underpaid, yes.
      22· · And yet you've got, basically, roughly the      22· · · · Q.· Right?
      23· · same time, CTX Hong Kong underpaid by 13.4.     23· · · · A.· Correct.
      24· · · · · · And I'm just saying, and I talked       24· · · · Q.· So that's another mistake, isn't it?
      25· · about this earlier, that's just a very odd      25· · · · A.· Yes.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 57 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 218                                              Page 220
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· So --                                   ·2· · to this story.
      ·3· · · · A.· So what I should --                     ·3· · · · Q.· Have you taken moneys owed to ROK as
      ·4· · · · Q.· How should this paragraph be            ·4· · opposed to moneys owed to Benlida into
      ·5· · understood properly?                            ·5· · consideration at all for purposes of any of
      ·6· · · · A.· It should say, when you look at the     ·6· · your report?
      ·7· · HK and CTX HK relationship with Benlida, you    ·7· · · · A.· No.· The information was from the
      ·8· · need to take them as a whole because of the     ·8· · charts here which was HK.
      ·9· · disparate results.                              ·9· · · · Q.· I'm just trying to get away from
      10· · · · Q.· I understand that.· Okay.               10· · this particular page of whatever you were
      11· · · · · · Earlier in your report, you, if you     11· · trying to show there.· I'm asking you just
      12· · look at page 7, right beneath the heading, it   12· · more broadly.
      13· · says what is not in the KM report?              13· · · · · · Did you consider ROK's accounts in
      14· · · · A.· Yes.                                    14· · anything you did in your report, separate
      15· · · · Q.· You say, quote, There are two           15· · from Benlida's accounts?
      16· · Benlida entities, Benlida and ROK.· And there   16· · · · A.· No.· What I -- no, the numbers I
      17· · are two Circuitronix entities, CTX U.S. and     17· · used in my reports were cited for the
      18· · CTX HK.                                         18· · documents we've already discussed.· They were
      19· · · · A.· Yes.                                    19· · CTX HK, and if there was an ROK number which
      20· · · · Q.· So you are aware that there are two     20· · I'm not remembering as I'm sitting here, I
      21· · different Benlida entities, one is Benlida      21· · don't think I did.· I was focusing on this.
      22· · and one is ROK?                                 22· · · · Q.· In fact, I think that the charts you
      23· · · · A.· ROK, yes.                               23· · used with the blue highlighting on them, that
      24· · · · Q.· When you were referring to ROK on       24· · look all kind of the same format-wise, were
      25· · page 11, you conceded that that was an error?   25· · for Benlida not ROK; does that comport with

                                                 Page 219                                              Page 221
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Yes.· Because I was talking -- the      ·2· · your understanding?
      ·3· · charts talk about HK.                           ·3· · · · A.· Yes, it does.
      ·4· · · · Q.· Where does ROK fit into this            ·4· · · · Q.· The only one that I saw that had ROK
      ·5· · analysis at all?                                ·5· · on it was going back to page 5 of your report
      ·6· · · · A.· In this particular chart it doesn't     ·6· · at the top, which was a reconciliation
      ·7· · fit in the analysis, because I was only         ·7· · analysis.
      ·8· · talking about the CTX HK.                       ·8· · · · A.· It was a CCT reconciliation for the
      ·9· · · · Q.· I understand, on page 11?               ·9· · one that was called CCT?
      10· · · · A.· On page 11.                             10· · · · Q.· I don't remember what it was called.
      11· · · · Q.· I'm asking you more broadly.· Where     11· · But we have talked about it.
      12· · does ROK fit into the entire relationship       12· · · · A.· We did.· It's referenced the prior
      13· · with the parties, since that's the focus that   13· · page, it was the 11/15 CCT --
      14· · you said that KM should have focused on?        14· · · · Q.· Yes.
      15· · · · A.· Well my understanding is, and again     15· · · · A.· -- spreadsheet.· That was just one
      16· · part of it is a function of the dispute         16· · of their work product, one of the litigants'
      17· · itself, is that the parties are intertwined.    17· · ping-pong balls.
      18· · The litigants are intertwined in their          18· · · · Q.· Right.· In fact, that was one I
      19· · activities, CTX HK and CTX U.S. are             19· · believe that was sent from Benlida -- this is
      20· · intertwined amongst themselves and Benlida      20· · the one where you said in the e-mail Benlida
      21· · and ROK are intertwined amongst themselves.     21· · created this, their accounting department,
      22· · And it's separating two of them from the        22· · and they sent it in that file.· Because CCT
      23· · others might give an economically               23· · is their abbreviation for Circuitronix, I
      24· · unreasonable result which was the whole         24· · don't know if you're aware of that?
      25· · purpose of this chart, to show there's more     25· · · · A.· No, actually, no.


                        U.S. Legal Support | www.uslegalsupport.com 218 to 221
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 58 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 222                                              Page 224
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· And in that chart, at the top of        ·2· · yellow on the left.· It's an illustration,
      ·3· · page 5 of your report they actually have        ·3· · it's 26 million divided by 12.
      ·4· · transactions between ROK in the right-hand      ·4· · · · Q.· I understand.· But the 26 million
      ·5· · side?                                           ·5· · number as you've now explained is the
      ·6· · · · A.· Yes.                                    ·6· · product, is the sum of business between
      ·7· · · · Q.· Do you see that?· Not Benlida but       ·7· · Circuitronix U.S. and Benlida and
      ·8· · ROK.                                            ·8· · Circuitronix Hong Kong and Benlida, right?
      ·9· · · · A.· Right, okay.                            ·9· · · · A.· Yes.
      10· · · · Q.· And the only -- well, I'll leave it     10· · · · Q.· Did you do a calculation of what the
      11· · at that.· Okay.                                 11· · volume of business of Circuitronix U.S. and
      12· · · · · · Having pointed out that distinction     12· · Benlida was monthly?
      13· · between ROK and Benlida for purposes of         13· · · · A.· Monthly, no.
      14· · discussion, coming back to this chart here at   14· · · · Q.· Okay.· Would it surprise you if it
      15· · the top of page 5 of your report, you didn't    15· · was roughly the same in the $2 million range
      16· · use this right-hand side of that chart --       16· · or would it be substantially less?
      17· · · · A.· No.                                     17· · · · A.· Repeat your question again?· I'm
      18· · · · Q.· -- for anything?                        18· · sorry.
      19· · · · A.· No, I did not.· It was an               19· · · · Q.· No problem.· Essentially, what I'm
      20· · illustration that the parties were working to   20· · asking you is, was the monthly volume of
      21· · reconcile or resolve whatever dispute they      21· · business between Circuitronix U.S. and
      22· · had.                                            22· · Benlida in the range of $2 million?
      23· · · · Q.· Got it.· Globally?                      23· · · · A.· Circuitronix U.S. and Benlida, for
      24· · · · A.· Yes.                                    24· · which period, no, because when you look at
      25· · · · Q.· Okay.· On page 11 of your report --     25· · the invoices in the middle of that chart, it

                                                 Page 223                                              Page 225
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · let me pause and just read it.                  ·2· · says there was $9 million of invoices.· I'm
      ·3· · · · · · Okay.· So in the bottom paragraph,      ·3· · looking at 2015 because that's where my
      ·4· · page 11, you say, In the table above at the     ·4· · finger is.
      ·5· · end of 2018, there's a combined -- a typo       ·5· · · · Q.· Okay.
      ·6· · there, there is a combined, I think the word    ·6· · · · A.· You know, that would be one million
      ·7· · there should be -- there's a combined           ·7· · or less than one million.· So my illustration
      ·8· · $5.879 million balance, right?· Owed by CTX     ·8· · here was just taking the total, divided by
      ·9· · entities to Benlida slash ROK.                  ·9· · the net receivable, gives you a commercially
      10· · · · · · Do you see that?                        10· · typical relationship.
      11· · · · A.· Yes.                                    11· · · · Q.· I thought that you had previously in
      12· · · · Q.· That should just say to Benlida,        12· · your report indicated a monthly, like how
      13· · right?                                          13· · many months ahead CTX U.S. was?
      14· · · · A.· Correct.                                14· · · · A.· At one point one of the other charts
      15· · · · Q.· So the ROK is an error, correct?        15· · showed a balance due of $5 million -- of
      16· · · · A.· Correct.                                16· · overpayment of $5 million.· And I think there
      17· · · · Q.· You're just literally referring         17· · was 8 or $9 million of revenue.· I said there
      18· · there to these prior charts on the same page?   18· · was six months, perhaps, three to six months,
      19· · · · A.· Yes.                                    19· · I think.· And it was, again, an illustration.
      20· · · · Q.· Okay.· And when you did the             20· · · · Q.· And that was a similar kind of
      21· · calculation of the rough monthly amount         21· · calculation?
      22· · volume of purchases of 2.1 or $2.2 million a    22· · · · A.· Yes.
      23· · month, which entities were you deriving that    23· · · · Q.· So at the end of page 11 you say,
      24· · from?                                           24· · Based on the information in the above table
      25· · · · A.· The combined invoices highlighted in    25· · at the end of 2018, there is approximately


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 59 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 226                                              Page 228
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · 2.7 months of purchases that CTX owes Benlida   ·2· · But they didn't go back to see if Benlida
      ·3· · slash ROK for using 2018 purchases as a         ·3· · agreed with that or disagreed.· Because my
      ·4· · guide.                                          ·4· · understanding is they haven't been asserted,
      ·5· · · · · · We should cross out the ROK again,      ·5· · I don't know if that's the right word.
      ·6· · right?                                          ·6· · · · Q.· Okay.· So I understand your
      ·7· · · · A.· Yes.                                    ·7· · testimony, what you're saying is, the lead
      ·8· · · · Q.· Lead time penalties is the next         ·8· · time penalty amounts in the KM report are at
      ·9· · subject.                                        ·9· · least mathematically supported, just not
      10· · · · · · You acknowledge that KM, in its         10· · validated based upon the underlying data; is
      11· · report, did at least mathematically validate    11· · that correct?
      12· · the inputs based upon a judgmental sample for   12· · · · A.· Correct, yes.· Because they didn't
      13· · lead time penalties, right?                     13· · say, no, this lead time penalty is correct,
      14· · · · A.· No.· I said they recalculated,          14· · based on receiving docs, shipping docs,
      15· · approximately, eight spreadsheets.· They did    15· · whatever.· They checked -- they didn't
      16· · not validate the inputs used to calculate it.   16· · check -- they checked the math, they didn't
      17· · · · Q.· You say the following, Since KM by      17· · validate the correctness of the inputs.
      18· · its own report did not seek to validate the     18· · That's what I understand they say they said.
      19· · inputs, this claim is unsupported, and you      19· · · · Q.· And have you looked at their math as
      20· · say, Other than mathematically in the KM        20· · well?
      21· · report?                                         21· · · · A.· We checked some of the worksheets
      22· · · · A.· Right.· Because I said in the           22· · that came there, judgmentally in the math
      23· · italics version, they did not validate the      23· · work.· So the spreadsheets certainly seemed
      24· · inputs used to compute the LTPs.                24· · to be functioning correctly.
      25· · · · Q.· So what do you mean when you say,       25· · · · Q.· Okay.· And the next sentence in your

                                                 Page 227                                              Page 229
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · Other than mathematically?                      ·2· · report in the middle of page 12 says, We are
      ·3· · · · A.· Okay.· What KM did was they checked     ·3· · not aware of any acceptance, rejection or
      ·4· · the math, and I don't want to be pejorative     ·4· · waivers that both parties agreed to other
      ·5· · when I say that, but they went into the         ·5· · than what is spelled out in the KM report at
      ·6· · spreadsheets and we looked at certain of them   ·6· · paragraphs 34 to 36, right?
      ·7· · and said that, okay, shipment one was ten       ·7· · · · A.· Correct.
      ·8· · days late.· And there's a lead time penalty     ·8· · · · Q.· And that means, as I understand what
      ·9· · of some percentages of sales and they           ·9· · you're saying, if I understand what you're
      10· · calculated that.· And then the chart itself     10· · saying, that where they lay out paragraphs 34
      11· · showed ship date, receive date, and it was      11· · and 36, certain evidence of agreements by
      12· · all formula driven.· And it calculated if it    12· · Circuitronix to waive lead time penalties?
      13· · was on time or if there was a penalty.          13· · · · A.· Right.
      14· · · · Q.· Right.                                  14· · · · Q.· You're not contesting that that
      15· · · · A.· And I know that KM did check the        15· · happened, correct?· In other words, you don't
      16· · math and they said they did it without          16· · dispute their summary of those waivers of
      17· · exception.· But they didn't go back to the      17· · lead time penalties, do you?
      18· · documents to say, okay, did it really ship on   18· · · · A.· I'm not disputing their recitation
      19· · April 1st, was it really received on a date,    19· · of that.· What I said was, we're not aware
      20· · was there any other reason why the lead time    20· · that Benlida -- I know there's a section
      21· · penalty may have been waived, like a specific   21· · there that Benlida said there is none.· And
      22· · lead time penalty, not like a group of them,    22· · under your finger -- I'm trying to read this
      23· · which there was a discussion about.             23· · upside down.
      24· · · · · · So they said they checked the math      24· · · · Q.· You have a copy of it.
      25· · and it was, you know, $4 million for CTX U.S.   25· · · · A.· I do?


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 60 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 230                                              Page 232
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· The KM report?                          ·2· · spreadsheets and we were able to, you know,
      ·3· · · · A.· No, I don't.                            ·3· · test check ourselves, the spreadsheets to
      ·4· · · · Q.· Sorry, I'm looking at page 13.          ·4· · make sure they worked.
      ·5· · · · A.· So in paragraph 34 of the report --     ·5· · · · Q.· And did they work?
      ·6· · 34 to 36 of their report, they summarize        ·6· · · · A.· The ones we checked certainly did
      ·7· · CTX's claim for lead time penalties based       ·7· · work.
      ·8· · upon certain date ranges.· And they recite      ·8· · · · Q.· Okay.· So you're not going to
      ·9· · the second tranche which says they were         ·9· · contest the mathematics from those lead time
      10· · waived.                                         10· · penalty spreadsheets?
      11· · · · · · And my understanding is that there      11· · · · A.· Not the ones I -- not the ones we
      12· · is disputes as to the penalties and whether     12· · saw.· And like I said, we took a judgmental
      13· · they are waived or not, it's a legal issue.     13· · sample ourselves and it worked, so I know the
      14· · So, again, I'm not trying to handicap it.       14· · math works.
      15· · · · Q.· Okay.· I'm just trying to understand    15· · · · Q.· That technique of taking a
      16· · your testimony.                                 16· · judgmental sample, it's kind of like drilling
      17· · · · · · So, one, you're considering the         17· · a bore hole in an area and seeing if it's
      18· · question of whether or not lead time            18· · right in enough places that you feel
      19· · penalties were waived were not a legal issue?   19· · comfortable that you got a sample to say that
      20· · · · A.· Yes.                                    20· · this data seems to be reliable; is that
      21· · · · Q.· And that's something that you didn't    21· · right?
      22· · venture into, correct?                          22· · · · A.· A judgmental sample is actually an
      23· · · · A.· Correct.· That's going to be a          23· · older audit term where instead of using
      24· · determination when -- if they're valid and      24· · statistical sampling or some other more
      25· · when you can assert them.· But to me that's     25· · numerical-based choice, like every 10th every

                                                 Page 231                                              Page 233
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · more of a legal question than an accounting     ·2· · 15th, you use your judgment to figure out
      ·3· · question.                                       ·3· · which ones might be the best things to look
      ·4· · · · Q.· Okay.· And you're not aware of any,     ·4· · at to cover the sample.
      ·5· · just looking at your words in your report, we   ·5· · · · · · So you may use the ten largest, by
      ·6· · are not aware of any acceptance, rejection,     ·6· · way of illustration, that's not random,
      ·7· · or waivers that both parties agree to other     ·7· · that's not -- that's judgmental, and you may
      ·8· · than the ones that are discussed in             ·8· · take a few others.· But that's actually an
      ·9· · paragraphs 34 and 36 of the KM report?          ·9· · old auditor's term.· Because it's not meant
      10· · · · A.· Correct.                                10· · to imply statistical vigor.
      11· · · · Q.· Okay.· Did you make an independent      11· · · · Q.· But because it's something that you
      12· · inquiry into that or you just left it at        12· · used yourself to sort of test this
      13· · that?                                           13· · information that KM was relying upon, I take
      14· · · · A.· I left it at that because I             14· · it you don't take issue with their use of
      15· · understand it's an issue.· They -- the debit    15· · judgmental sampling --
      16· · memos were never issued.· I mean, the issue     16· · · · A.· No.
      17· · was discussed, but debit memos, as part of      17· · · · Q.· -- for certain numbers either?
      18· · the grand reconciliation, were included.· So    18· · · · A.· No.· Judgmental, again, it's an old
      19· · my understanding is there's a dispute there.    19· · auditor's term.· And it means we looked at
      20· · · · Q.· And you comment that you were also      20· · certain things but we didn't do a statistical
      21· · provided with the same information that         21· · robust sampling.· And I don't -- I'm not
      22· · supports KM report's calculations in            22· · offended by that, they said what they did,
      23· · paragraph 36 and Table 6 of their report?       23· · and I don't -- eight spreadsheets kind of
      24· · · · A.· Correct.· We checked, we got the        24· · made sense.· They all seemed to work.· The
      25· · Benlida -- sorry, the lead time penalty         25· · ones we checked worked, too.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 61 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 234                                              Page 236
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· So you have an illustration here,       ·2· · and then a date?
      ·3· · you say, By way of illustration, the lead       ·3· · · · A.· And a month, correct.
      ·4· · time penalties from April 2016 through March    ·4· · · · Q.· So I'm just going to open the first
      ·5· · of 2018 were calculated in such and such.       ·5· · one.· You said in your report on page 12,
      ·6· · · · · · Do you have a specific source for       ·6· · April 2016 through March of 2018.· Right?
      ·7· · that that you are referring to?                 ·7· · · · A.· Correct.
      ·8· · · · A.· No.· Because I was just talking         ·8· · · · Q.· So I'll just pull up the first one,
      ·9· · about -- they didn't provide the analysis.      ·9· · which is April 2016.
      10· · And when we looked at that particular           10· · · · A.· Wait, that's not right.
      11· · spreadsheet -- spreadsheets, certain lead       11· · · · · · · ·MR. LERNER:· You just have to
      12· · time penalties for Benlida and ROK were         12· · · · ·scroll down.
      13· · combined and we couldn't tell if there was a    13· · · · A.· Okay, so here's the file that we
      14· · separation.· And since they didn't provide      14· · got.· And it said lead time penalties BLD and
      15· · how they did it, I couldn't recreate it.        15· · ROK.
      16· · · · · · And I'm simply saying, if they were,    16· · · · Q.· I guess what I'm wondering is, do
      17· · you know, exactly how the parties worked,       17· · these lead time penalties that are listed
      18· · again, it's more of the interrelationship       18· · here distinguish between Benlida and ROK?
      19· · between the parties, they were combined on      19· · · · A.· I couldn't find a distinguishment,
      20· · the same spreadsheets for a period of time.     20· · and when we did this summary of the lead time
      21· · · · Q.· Okay.                                   21· · penalties, which was in your first half hour
      22· · · · · · · ·MR. LERNER:· Can we take a           22· · of the deposition, those amounts we couldn't
      23· · · · ·break?                                     23· · see exactly how KM got to it.
      24· · · · · · · ·MR. ROSENTHAL:· Please, go           24· · · · · · So my point was, I couldn't
      25· · · · ·ahead.                                     25· · delineate how they did it.· I couldn't find

                                                 Page 235                                              Page 237
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · · · · ·(Whereupon, a brief recess was       ·2· · like an invoice type of series or some PO
      ·3· · · · ·taken.)                                    ·3· · type of series that I could separate.· But
      ·4· ·BY MR. ROSENTHAL:                                ·4· · simply the totals, and we did check the math
      ·5· · · · Q.· So Mr. Paulikens, we're looking at      ·5· · because this is all formula driven, you know,
      ·6· · the USB that you brought with you inside a      ·6· · the penalties and it accumulates up here
      ·7· · folder called Benlida documents for             ·7· · (indicating).
      ·8· · deposition, sub folder called Response report   ·8· · · · Q.· Okay.
      ·9· · and then a sub folder called LTP support,       ·9· · · · A.· And I think, that's as far up as it
      10· · right?                                          10· · goes.· Oh, the summary, this is the data dump
      11· · · · A.· Right.                                  11· · where they got it from, you clicked off the
      12· · · · Q.· And then in that, you recall this is    12· · tab here.· My mistake.
      13· · actually a bunch of documents that also the     13· · · · · · So the math here was the math that
      14· · KM --                                           14· · was checked.· So this tab pulls in from these
      15· · · · A.· Yes.· I was about to say, what was      15· · tabs.
      16· · different, I believe, was that we created       16· · · · Q.· You're referring, just for the
      17· · PDFs.· We printed them to PDF, which is why     17· · record, to the April 2016 tab at the bottom?
      18· · you see PDF in Excel versions.                  18· · · · A.· Right.· Which is, I'll call it the
      19· · · · Q.· Of both?· Of each, rather?              19· · working tab, for lack of a better term, that
      20· · · · A.· Of each.                                20· · the lead time penalty was actually calculated
      21· · · · Q.· Okay.· So let me just open one of       21· · for that month.
      22· · the Excel versions, which is the original       22· · · · Q.· So there's a total penalty in pink
      23· · format, okay?· I'll open one that says --       23· · of 92,429.56, right?
      24· · they all have the same title, like BLD space    24· · · · A.· Yes.
      25· · ROK penalty for lead time exceedences report    25· · · · Q.· And that was on the document itself


                        U.S. Legal Support | www.uslegalsupport.com 234 to 237
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 62 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 238                                              Page 240
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · already, correct?· That total?· Or did you      ·2· · · · A.· The this is the fact that they have
      ·3· · guys total it up?                               ·3· · these penalties, which total roughly
      ·4· · · · A.· This was the formula.· This was the     ·4· · $4 million.· I'm rounding from the KM report
      ·5· · document that was the live file that            ·5· · that haven't been assessed, if you will, by
      ·6· · calculated it.· I'm sorry, go ahead.            ·6· · CTX against Benlida, even though,
      ·7· · · · · · · ·MR. ROSENTHAL:· Okay.· Thank         ·7· · theoretically, they've been calculated for a
      ·8· · · · ·you, Mr. Lerner for your computer.         ·8· · number of years.· And we're not talking a
      ·9· · · · · · · ·MR. LERNER:· You're very             ·9· · small amount of money.· $4 million is a
      10· · · · ·welcome.· We New York lawyers are          10· · significant magnitude.
      11· · · · ·very courteous.                            11· · · · Q.· Right.
      12· · · · · · · ·MR. ROSENTHAL:· You are.             12· · · · A.· And that, again, suggests that
      13· · · · Q.· So I see at the bottom of page 12 of    13· · there's something else as a pure adversarial
      14· · your report, the last paragraph, it could       14· · commercial relationship.
      15· · raise the question of whether or not the        15· · · · Q.· Are you aware that Circuitronix --
      16· · statute of limitation applies to lead time      16· · strike that.
      17· · penalties that are dating back more than a      17· · · · · · Are you aware that there is evidence
      18· · certain number of years?                        18· · in the case that Benlida asked Circuitronix
      19· · · · A.· Yes.· It's a legal question from my     19· · not to continue to send debit memos for the
      20· · chair.                                          20· · time penalties after a certain date in 2016?
      21· · · · Q.· Not something that you factor in one    21· · · · A.· I believe they stopped sending the
      22· · way or another to your analysis, correct?       22· · debit memos.· And the reason why that was, I
      23· · · · A.· Correct.· They're calculated,           23· · know it's an issue that is in dispute as to
      24· · whether there was any information that would    24· · whether it's covered a little bit in the KM
      25· · say that the calculation should be changed      25· · report, that there's a dispute as to whether

                                                 Page 239                                              Page 241
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · such as an agreement that a particular          ·2· · they qualify for lead time penalty.· I mean,
      ·3· · shipment could be late for whatever reason,     ·3· · it's a legal issue, but the debit memos
      ·4· · it was not covered.                             ·4· · haven't been sent because they had been
      ·5· · · · Q.· And you say, As of the date of both     ·5· · prior.
      ·6· · expert reports, it is seven years since the     ·6· · · · Q.· My question is a little bit
      ·7· · lead time penalties measured by KM in their     ·7· · different.
      ·8· · report, correct?                                ·8· · · · · · Are you aware that there's evidence
      ·9· · · · A.· Correct.                                ·9· · that Benlida asked Circuitronix not to send
      10· · · · Q.· So the comment you're making there      10· · those debit memos for the time penalties?
      11· · looks at July 2023 and goes back seven years?   11· · · · A.· As I'm sitting here, I don't know of
      12· · · · A.· To 2016.                                12· · evidence that said please stop.
      13· · · · Q.· You're not offering an opinion as to    13· · · · Q.· If, hypothetically, that were the
      14· · when the statute of limitations date should     14· · case, would that change your view that the
      15· · be started through the lookback period, are     15· · fact of these lead time penalties accruing
      16· · you?                                            16· · but not being sent by Circuitronix to Benlida
      17· · · · A.· No.· I'm simply saying it's a           17· · provides an interesting insight into the
      18· · question that may have an effect on the         18· · relationship of the CTX entities, as you say?
      19· · ultimate resolution.                            19· · · · A.· Well, the fact that they asked not
      20· · · · Q.· So on page 13 of your report, you       20· · to have the penalties sent, and if the
      21· · start by saying, This provides an interesting   21· · penalty -- lead time penalties are, I hate to
      22· · insight into the relationship of the CTX        22· · use the word legitimate or bonified, I'm not
      23· · entities.                                       23· · sure of the right word, I don't know that it
      24· · · · · · What is the "this" in your sentence,    24· · would change, because the fact that they're
      25· · I couldn't tell?                                25· · not assessing the penalties, even if they're


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 63 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 242                                              Page 244
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · entitled to and it's not an insignificant       ·2· · U.S., this calculation, these worksheets from
      ·3· · amount of money, suggests there's more to the   ·3· · CTX perspective considers Benlida and ROK the
      ·4· · relationship than meets the eye because         ·4· · same, because they combined the data, at
      ·5· · $4 million of penalties that could be           ·5· · least from what I can tell they combined the
      ·6· · assessed would be material to the amounts in    ·6· · data.
      ·7· · play here.· So it suggests to me, and that's    ·7· · · · · · And it's just suggestive that the
      ·8· · all I'm saying is, there's something here,      ·8· · parties don't keep each other, the individual
      ·9· · there's more "here" here.                       ·9· · entities completely separate, there is
      10· · · · Q.· The interesting insight into the        10· · overlap.· And it's just suggestive there's
      11· · relationship that you're talking about is the   11· · more to the relationship than meets the eye.
      12· · relationship then between Circuitronix on one   12· · · · Q.· You keep on saying that intriguingly
      13· · side and Benlida on the other?                  13· · more to the relationship than meets the eye,
      14· · · · A.· Yes.· Because there's that --           14· · more than just a business relationship, and
      15· · there's a significant magnitude of lead time    15· · it just makes me wonder, like, what are you
      16· · penalties that -- it's a big number.            16· · getting at?· I don't know what you're getting
      17· · · · Q.· I understand.                           17· · at.
      18· · · · A.· That's all I'm saying.· There's more    18· · · · A.· Okay.· It makes no economic sense to
      19· · here.                                           19· · have one related entity have an overpayment
      20· · · · Q.· But take a look at your report on       20· · of 5 and a half million dollars dependent on
      21· · page 13.· You say, quote, This provides an      21· · the data source, and then another entity
      22· · interesting insight into the relationship of    22· · that's clearly related that has the complete
      23· · the CTX entities close quote.· You don't say    23· · opposite, that can -- the disparate
      24· · between Circuitronix on one side and Benlida    24· · relationship is odd on an individual basis.
      25· · on the other side?                              25· · · · · · However, as I said the prior page,

                                                 Page 243                                              Page 245
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Oh.                                     ·2· · when you combine them, you actually have a
      ·3· · · · Q.· Is that a mistake or were you trying    ·3· · commercially reasonable relationship.· And I
      ·4· · to make a different point than what you just    ·4· · know it's a legal question.
      ·5· · testified about?                                ·5· · · · Q.· Right.· I just want to illustrate
      ·6· · · · A.· No, I don't think it was a different    ·6· · something to you because it might help keep
      ·7· · point.· Maybe it wasn't as clear as it could    ·7· · it clear.
      ·8· · be.· It's just there is more here here.         ·8· · · · · · Four quadrants, this side is CTX,
      ·9· · · · Q.· Then you say, If the CTX entities       ·9· · left side, right side is Benlida.· Okay?
      10· · are truly separate, and CTX considers Benlida   10· · · · A.· I'm with you.
      11· · and ROK separate, why does CTX calculate the    11· · · · Q.· You got CTX U.S., that's one
      12· · substantial lead time penalties on the same     12· · company, right?
      13· · Excel worksheet file and tabs?· There's two     13· · · · A.· Yes.
      14· · things there that I want to ask you about.      14· · · · Q.· And you've got CTX Hong Kong, that's
      15· · Two or three.                                   15· · another company, to your knowledge, right?
      16· · · · · · What are you talking about, if the      16· · · · A.· Yes.
      17· · CTX entities are truly separate first?          17· · · · Q.· On the other side, the Benlida side,
      18· · · · A.· Well, if the CTX and their              18· · you have Benlida is a company, correct?
      19· · relationship with the parties, because          19· · · · A.· Um-hum.
      20· · there's this big number and we've just          20· · · · Q.· And you've got ROK, correct?
      21· · covered that.· But then if the entity, the      21· · · · A.· Yes.
      22· · individual entities themselves are all          22· · · · Q.· What you just testified about was, I
      23· · separate, meaning ROK is completely separate    23· · understand it to be at least, the
      24· · from Benlida which is completely separate       24· · relationship between Circuitronix U.S. and
      25· · from HK which is completely separate from CTX   25· · Circuitronix Hong Kong, correct, when you


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 64 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 246                                              Page 248
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · were saying one party has a big amount owing    ·2· · things, I'm just saying there's more to the
      ·3· · and the other party has a big amount            ·3· · relationship than just what was covered under
      ·4· · overpaid.                                       ·4· · the KM report.
      ·5· · · · A.· Correct.                                ·5· · · · Q.· Okay.· So let me ask you about this
      ·6· · · · Q.· And you're talking about the            ·6· · factorial piece of what your sentence says.
      ·7· · relationship between these two parties,         ·7· · The part that says, Arbitrarily not assessing
      ·8· · correct, CTX HK and CTX U.S.?                   ·8· · the lead time penalties and then seeking to
      ·9· · · · A.· With Benlida.· Because when I was       ·9· · assess them at the very same time.
      10· · talking about the receivables, we were          10· · · · · · What are you referring to there
      11· · talking about one had an overpayment of, I'll   11· · about not assessing them and seeking to
      12· · use 13 million because we covered it, and one   12· · assess them at the very same time?
      13· · had an underpayment --                          13· · · · A.· Well, they calculated them for each
      14· · · · Q.· I think you got it backwards, one       14· · of the months.· And as you said, CTX --
      15· · had under payment of 13 million?                15· · Benlida asked them not to.· And it just
      16· · · · A.· I'm sorry, yes, and one had an          16· · suggests there's something, you know, why
      17· · overpayment of 5 million.                       17· · wouldn't you assess a penalty that you're
      18· · · · Q.· Right.                                  18· · entitled to for that kind of money.
      19· · · · A.· And when CTX is showing was             19· · · · Q.· Okay.· And you're not privy to what
      20· · combining Benlida and ROK on the same           20· · potential explanation there might be for
      21· · worksheet it shows a certain familiarity        21· · that?
      22· · between the two and that's all I was saying     22· · · · A.· No.· It just -- it's -- the
      23· · on the lead time penalties.                     23· · individual relationships are a little
      24· · · · Q.· Okay.                                   24· · different than what is normal.· And I'm
      25· · · · A.· There's four players here, and they     25· · saying here, just we need to look at the

                                                 Page 247                                              Page 249
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · interact differently, they interact in an       ·2· · bigger picture.
      ·3· · overlapping way, and to understand the total    ·3· · · · Q.· If there is testimony in the case
      ·4· · economics, you need to take the total           ·4· · that you're not privy to at this time that
      ·5· · relationships together.· And that's all I was   ·5· · the reason that Benlida asked Circuitronix
      ·6· · trying to inartfully say.                       ·6· · not to assess those lead time penalties was
      ·7· · · · Q.· I got you, okay.                        ·7· · because Benlida had problems with the Chinese
      ·8· · · · · · And then on the same vein, you say,     ·8· · government about its trade balances, that
      ·9· · you make this additional point at the top of    ·9· · might explain why Circuitronix did them the
      10· · page 13, you say that, quote, Further,          10· · favor of not sending them those lead time
      11· · arbitrarily not assessing the LTPs, lead time   11· · penalties, might it not?
      12· · penalties, and then seeking to assess them at   12· · · · · · · ·MR. LERNER:· Objection.
      13· · the very same time, also is suggestive that     13· · · · A.· I'm not aware of the testimony.· It
      14· · CTX considers Benlida and ROK as one economic   14· · is an explanation.· How far that explanation
      15· · entity.                                         15· · would go, I can't speculate as I'm sitting
      16· · · · · · Can you explain that?                   16· · here.· How far it would go.
      17· · · · A.· It's the same thing; the four           17· · · · Q.· I'm not asking you to engage in
      18· · quadrants of your chart, you know, they act     18· · speculation.· I'm just saying, that's a
      19· · as a group to some degree, you know,            19· · potential example posed to you as a
      20· · shipments.· I know some of this is legal        20· · hypothetical, because you don't have the
      21· · questions about who is who and who controls     21· · data, the information, that if it were found
      22· · what, but I'm saying, these parties don't       22· · to be true, might explain this otherwise
      23· · seem to act completely as four independent      23· · strange looking thing, right?
      24· · business entities.· Their interactions tend     24· · · · A.· Which, see, also, your hypothetical
      25· · to overlap, whether it be management or other   25· · supports there's more to the relationship


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 65 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 250                                              Page 252
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · than necessarily meets the eye.                 ·2· · Let's say its $25,000.· That's a real number,
      ·3· · · · Q.· Well, that Circuitronix is willing      ·3· · yes?
      ·4· · to extend a favor to Benlida, for example?      ·4· · · · A.· Well, it depends on the size of the
      ·5· · · · A.· I'm just saying there's more to the     ·5· · company, but it's certainly not $20.
      ·6· · relationship and it's a big number.             ·6· · · · Q.· All right.· Make it $20,000.· And
      ·7· · · · Q.· But that's the type of thing you        ·7· · that sits unpaid for an extended period of
      ·8· · mean by it's more to the relationship.· For     ·8· · time.· At some point for the company that is
      ·9· · example, they might be willing to do them a     ·9· · owed that $20,000, as you said earlier today,
      10· · favor financially to help them out in a         10· · it could mess up their aging of debt records,
      11· · situation?                                      11· · right?
      12· · · · A.· On the one hand, yes.· I mean, and      12· · · · A.· It could, yes.· I mean, depending on
      13· · that's what I'm saying, you have to look at     13· · where it's accounted for.
      14· · the totality of everything.                     14· · · · Q.· And if that company, for whatever
      15· · · · Q.· In fact, what you as an accountant      15· · reason, because it enjoys a good relationship
      16· · might view as economically irrational           16· · with the owners of the other company says,
      17· · behavior, by Circuitronix might actually        17· · Don't worry about it, I know you'll make it
      18· · reflect personal friendship and beneficence     18· · up to me, we've noted it, you owe it, but I'm
      19· · by its CEO toward Benlida.· Possible, right?    19· · letting it go for right now.· Like, that
      20· · · · · · · ·MR. LERNER:· Objection.              20· · could happen, right?
      21· · · · A.· It's a hypothetical, but you'd have     21· · · · A.· That could happen, but it would
      22· · to look at the entire relationship to see if    22· · probably be some other benefit for the
      23· · there's a positive on the one side and a        23· · company who extended the credit, air quotes.
      24· · negative on the other.· And the answer to       24· · · · Q.· And they're continuing to do
      25· · your question, that that illustrates that       25· · business this whole time?

                                                 Page 251                                              Page 253
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · there may be more to the relationship than a    ·2· · · · A.· Right.· So there would be some
      ·3· · particular portion of the dollars and cents.    ·3· · benefit somewhere that they perceived they
      ·4· · · · Q.· You can have a situation where          ·4· · were getting from that.· And you would have
      ·5· · someone says, I'm going to loan you $20, and    ·5· · to look at that and as an accountant you look
      ·6· · the people are friendly, and the person who     ·6· · at the whole relationship, because you have
      ·7· · owes the $20 doesn't pay it back right away.    ·7· · customer supplier and then debtor and
      ·8· · And the person who lent the $20 says, You       ·8· · creditor, and, again, they even overlap.
      ·9· · know what, it's all right, you can pay me       ·9· · · · Q.· And the point I'm making is that
      10· · back later, don't worry about it now.· I know   10· · even corporate entities will sometimes extend
      11· · you'll take care of it later.· That happens     11· · each other certain leeway as an act of good
      12· · in daily life among people who are friends?     12· · faith in an ongoing relationship, right?
      13· · · · A.· Yes.                                    13· · · · A.· They would -- they would extend each
      14· · · · Q.· If that extended for a long period      14· · other some leeway probably within reason.
      15· · of time and it was two companies, you might     15· · And if they extended it, there had to be a
      16· · say that's economically an irrational thing     16· · reason somewhere else that they expected to
      17· · for the company that is owed the money to do,   17· · get it, quote, back, unquote.
      18· · right?· I mean, it's a small amount of money?   18· · · · Q.· At some point?
      19· · · · · · · ·MR. LERNER:· Objection.              19· · · · A.· At some point.· Or they were already
      20· · · · · · · ·Go ahead and answer.                 20· · getting it back vis-a-vis something else.
      21· · · · A.· Understanding we're just talking        21· · · · Q.· And you don't know exactly what that
      22· · illustration, at some point the magnitude of    22· · was between Circuitronix on the one side and
      23· · that becomes irrational.                        23· · Benlida on the other side, do you?
      24· · · · Q.· Let's put a real number on it that      24· · · · A.· No.· I mean, we've been talking
      25· · would be rational for a company's books.        25· · about the U.S. piece and we've been not


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 66 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 254                                              Page 256
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · talking a lot about the Hong Kong.· So I        ·2· · · · A.· They can.· But sometimes you have a
      ·3· · don't know exactly where the meeting of their   ·3· · related party that they need each other.
      ·4· · minds came to on that issue.                    ·4· · · · Q.· But they're not always in a
      ·5· · · · Q.· So you bring up in your report on       ·5· · controlling relationship?
      ·6· · page 13 that -- a separate point, that it       ·6· · · · A.· Yeah, and control is a less precise
      ·7· · seems like CTX has control over CTX HK.         ·7· · term nowadays, you know, 20 percent could be
      ·8· · Right?· What do you base that on?               ·8· · control of a company.
      ·9· · · · A.· My understanding is that from some      ·9· · · · Q.· So the fact that parties might be
      10· · of the, you know, papers that some of the       10· · related does not necessarily mean that one
      11· · decision makers, you know, defer to Rishi,      11· · controls the other?
      12· · I'm not going to get his name right.· And my    12· · · · A.· No.· But when they're related in
      13· · understanding is there is aspects of that       13· · terms of centralized management or combined
      14· · that, you know, Rishi covers everything.· But   14· · ownership -- I'm sorry, not combined
      15· · he's the president, I think, of the             15· · ownership.· Overlapping ownership, you know,
      16· · conglomerate.                                   16· · they're considered related parties and you
      17· · · · Q.· So you're saying he's the president     17· · just have a higher level scrutiny in
      18· · of --                                           18· · accounting.
      19· · · · A.· Well, he's the head, I believe of       19· · · · Q.· But you don't know one way or the
      20· · Circuitronix.                                   20· · other whether the ownership of Circuitronix
      21· · · · Q.· What is the Circuitronix?               21· · U.S. overlaps the ownership of Circuitronix
      22· · · · A.· Circuitronix LLC.                       22· · Hong Kong, do you?
      23· · · · Q.· And what position does he have at       23· · · · A.· From its pure ownership, no, I don't
      24· · Circuitronix Hong Kong?                         24· · have that now.· But, again, from an
      25· · · · A.· I don't know.· I've seen, and I         25· · accountant's perspective, related party is

                                                 Page 255                                              Page 257
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · can't remember what his specific position is,   ·2· · not a black and white test.· It's a facts and
      ·3· · but I think, and I'm foggy as I'm sitting       ·3· · circumstances situation as to what, where you
      ·4· · here on the, you know, specific ownership and   ·4· · start being considered a related party.
      ·5· · roles.· But I understand there's an issue as    ·5· · · · Q.· So what are the facts and
      ·6· · to who is calling the shots where.· And         ·6· · circumstances that make you conclude that CTX
      ·7· · that's a legal issue, kind of beyond my --      ·7· · U.S. seemingly has control over CTX HK?
      ·8· · it's a legal issue.                             ·8· · · · A.· Because my understanding is that
      ·9· · · · Q.· Even though it's beyond the sort of     ·9· · what the claim being made, and my
      10· · scope of your report or your opinion, you say   10· · understanding is Mr. Rishi -- Rishi is in
      11· · it would seem that he has control over CTX      11· · charge.· And my understanding, I have seen
      12· · HK.· So you've sort of taken a position on      12· · documents where the -- a manager of HK said
      13· · that, no?                                       13· · they had to go back to Rishi for some
      14· · · · A.· Well, I'm saying there's clearly --     14· · approval.· And I forget if it's an e-mail, as
      15· · they're clearly related parties by any          15· · I'm sitting here, or motion or moving paper
      16· · definition of accounting.· My understanding     16· · that showed that there is some layer of
      17· · is either HK is owned by CTX or they're         17· · control over HK.
      18· · controlled by the same management company       18· · · · Q.· Okay.· You say in the next line of
      19· · overall.· And I'm talking as broadly as an      19· · your report, quote, Put another way, CTX HK
      20· · accountant, related parties in accounting are   20· · and CTX U.S. would appear to be controlled
      21· · considered a fairly broad net with which to     21· · and dominated by CTX.
      22· · capture relationships.                          22· · · · · · When you say "by CTX," what are you
      23· · · · Q.· And do related parties in accounting    23· · referring to?
      24· · usually have a control relationship by one      24· · · · A.· The parent, CTX LLC.
      25· · vis-a-vis the other?                            25· · · · Q.· When you say "the parent," are you


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Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 67 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 258                                              Page 260
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · saying that CTX LLC is a corporate parent of    ·2· · · · A.· I think they're separate entities,
      ·3· · CTX HK?                                         ·3· · for my analysis I kind of considered them
      ·4· · · · A.· No.· I'm not trying to say in a         ·4· · closely similar.· I think their financials
      ·5· · strict corporate parent.· I'm saying in the     ·5· · were consolidated, but as I'm sitting here, I
      ·6· · way I see the relationship -- the way I         ·6· · don't have a perfect recollection of that.
      ·7· · understand decisions are being made, there's    ·7· · · · Q.· Well, that last point I need to
      ·8· · a control aspect over Hong Kong.· Whether       ·8· · explore with you.· You think that their
      ·9· · it's by direct ownership interest or whether    ·9· · financials were consolidated.· Your whole
      10· · it's by direct shared management.· Whether      10· · report is about Benlida's financials.· So
      11· · it's by direct other issues, there is some      11· · which financials are consolidated that you're
      12· · layer of influence and control over CTX.        12· · talking about?
      13· · And --                                          13· · · · A.· I believe the audited financials
      14· · · · Q.· Over CTX Hong Kong, to be precise?      14· · that we talked about as part of the
      15· · You said over CTX.· I'm sorry to interrupt      15· · settlement litigation.
      16· · you, but I think you meant over CTX Hong        16· · · · Q.· Earlier in the year?
      17· · Kong, right?                                    17· · · · A.· Earlier in the year, the financials,
      18· · · · A.· Yes.· So, again, from an accounting     18· · the audited financials as I'm sitting here, I
      19· · perspective, when you see disparate             19· · believe were consolidated financials which
      20· · relationships like we're seeing in terms of     20· · include the two, I think, but now I'm not
      21· · the receivables, it suggests there's more       21· · sure.
      22· · here than the individual pieces might imply.    22· · · · Q.· Okay.· Other than that issue, in
      23· · · · Q.· Does that perception that you have      23· · terms of the financial intercourse between
      24· · as an accountant influence in any way your      24· · Benlida and Circuitronix, are you aware of
      25· · opinions set forth in the report, and if so     25· · there having been consolidated Benlida ROK

                                                 Page 259                                              Page 261
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · how?                                            ·2· · records, other than the lead time penalty
      ·3· · · · A.· No.· Because as I said in my thesis,    ·3· · spreadsheets that we looked at a few minutes
      ·4· · it wasn't what was in the KM report and what    ·4· · ago?
      ·5· · was not.· And these other aspects, such as      ·5· · · · A.· No.· The consolidated ROK and
      ·6· · the HK issue, which we've covered extensively   ·6· · Benlida documents, not that I am aware of,
      ·7· · today, you know, suggests there's more to the   ·7· · not that I've seen, that I can recall as I'm
      ·8· · relationship.· And I understand there's legal   ·8· · sitting here.
      ·9· · disputes around it, but in order to get to      ·9· · · · Q.· In fact, most of the spreadsheets
      10· · the full economic appropriate outcome, you      10· · that we've been looking at today that are in
      11· · might need to consider all of that.             11· · the -- that form the basis for charts in your
      12· · · · Q.· Okay.· And then there's this other      12· · report are Benlida specific, right?
      13· · dynamic of the relationship between Benlida     13· · · · A.· Yes.
      14· · and ROK.· What is your understanding of that    14· · · · Q.· Okay.· On page 13 of your report, in
      15· · relationship?                                   15· · that center paragraph, one of the things you
      16· · · · A.· They're affiliated companies on the     16· · say is that the patterns of payment behavior
      17· · Benlida side.· One is one factory and there's   17· · with rounded even payments starting and
      18· · another factory and I forget the towns that     18· · stopping at nearly the same time suggests
      19· · they're located in.                             19· · strong operational control and influence that
      20· · · · Q.· You are aware that they're across       20· · reduces the separation from CTX's
      21· · the street from each other?                     21· · perspective.
      22· · · · A.· Yeah, but I mean, there's -- but        22· · · · · · What do you mean by that?
      23· · there's two separate entities.                  23· · · · A.· Well, simply, you had two entities,
      24· · · · Q.· And do you consider them separate       24· · CTX Hong Kong and CTX U.S. that from circa
      25· · entities for purposes of your analysis?         25· · 2012 paid in the same pattern, even $10,000


                        U.S. Legal Support | www.uslegalsupport.com 258 to 261
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 68 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 262                                              Page 264
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · rounded payments.· Payments on account we       ·2· · result, which is one entity is underpaid by
      ·3· · discussed.· And suddenly at the same time, or   ·3· · significant amount, the other entity is
      ·4· · contemporaneous, they have a complete 180 --    ·4· · overpaid, and it's the same type of circuit
      ·5· · well, not 180 but a significant change in       ·5· · boards -- same type of circuit boards.· And
      ·6· · their payment pattern, suggests that there's,   ·6· · my understanding is, it disputes as to the
      ·7· · from both of them, suggests that there is       ·7· · customers and who can make a decision.
      ·8· · some level of influence, control, because       ·8· · · · · · So there's a relationship,
      ·9· · they both changed substantially the same        ·9· · obviously, between HK and CTX U.S. that
      10· · time.· It's -- so it's, again, it's just that   10· · suggests that they are together.· And all I'm
      11· · change at the same time with everything else,   11· · saying is, we need to take into consideration
      12· · it's indicative that there's more here than     12· · the totality of everything, you know, the
      13· · meets the eye.                                  13· · similar payment terms, the similar payment
      14· · · · Q.· So you're drawing the inference from    14· · style, you know, the disparate receivable and
      15· · the fact that both Circuitronix U.S. and        15· · payable information.· All suggests there's
      16· · Circuitronix Hong Kong changed their payment    16· · more to the relationship than necessarily
      17· · behavior to start paying specific dollars and   17· · meets the eye on an individual basis.
      18· · cents numbers for Benlida's invoices that the   18· · · · Q.· The KM report does not address the
      19· · inference is that there must be something       19· · issue of whether orders placed by
      20· · more to the relationship between Circuitronix   20· · Circuitronix Hong Kong were placed for
      21· · U.S. and Circuitronix Hong Kong?                21· · Circuitronix United States, right?
      22· · · · A.· Yes.· And as well as the                22· · · · A.· No, it doesn't.· No.· The KM report
      23· · relationship and I understand the legal side    23· · does not discuss that issue.
      24· · that one is not in the case and the other is,   24· · · · Q.· I think we've covered everything you
      25· · understanding that, but, again, all of that     25· · say on page 13.· We can move on to page 14.

                                                 Page 263                                              Page 265
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · is interrelated.                                ·2· · · · · · So on page 14 at the top end of the
      ·3· · · · · · So you have a payment series that       ·3· · first paragraph you note, We reserve the
      ·4· · after multiple years suddenly changes, I        ·4· · right to recalculate lead time penalties once
      ·5· · think, at a contemporaneous time as they're     ·5· · the necessary data is provided to us, right?
      ·6· · trying to reconcile receivables and amounts     ·6· · · · A.· Correct.
      ·7· · due.· And you have one with a big overpayment   ·7· · · · Q.· What data do you consider necessary
      ·8· · and another with a big underpayment.· You       ·8· · to do that?
      ·9· · know, it suggests that they are all kind of     ·9· · · · A.· As I said earlier, when we
      10· · in the same boat.· And I'm not trying to be     10· · accumulated the lead time penalties from the
      11· · judgmental to get a legal conclusion in, but    11· · spreadsheets that we received from KM, it
      12· · there is certainly a relatedness to the         12· · didn't tie in, that we could tell, into the
      13· · group.                                          13· · report paragraph 35 or 36.· I couldn't trace
      14· · · · Q.· You say at the end of that paragraph    14· · A to B.· And they didn't give me a trail to
      15· · on page 13 of your report, that you             15· · follow, to go from the spreadsheet, you know,
      16· · understand it's a legal issue whether orders    16· · stack of spreadsheets, and you know how they
      17· · placed by CTX Hong Kong were actually placed    17· · got to that because when we accumulated the
      18· · for CTX U.S., right?                            18· · penalties that you saw on the top right-hand
      19· · · · A.· Yes.                                    19· · corner, it came out to a different number.
      20· · · · Q.· But then you say, However, from an      20· · · · Q.· Let me just ask you something
      21· · accountant's standpoint, the data clearly       21· · because I'm not sure I understood.
      22· · supports such a conclusion.                     22· · · · · · We looked on your USB that you
      23· · · · · · How does the data clearly support       23· · brought today that contained -- remember you
      24· · that conclusion?                                24· · showed me the 2016 to 2018 lead time penalty
      25· · · · A.· Because, again, you've got the end      25· · spreadsheets which you had copied from Excel


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 69 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 266                                              Page 268
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · spreadsheets to PDFs?                           ·2· · · · Q.· You're talking about your report,
      ·3· · · · A.· Yes.                                    ·3· · which is this, okay.· Is it an exhibit?
      ·4· · · · Q.· They had the same name as the file,     ·4· · · · A.· I think it was an exhibit, and I
      ·5· · right?                                          ·5· · think it was Exhibit 1.· No, no.· Scroll
      ·6· · · · A.· Yes.                                    ·6· · down.· No, try Exhibit 2.· No, then I am
      ·7· · · · Q.· Those were all received from KM?        ·7· · mistaken in my record.· It was one of the
      ·8· · · · A.· Yes.                                    ·8· · documents you opened up from the USB drive
      ·9· · · · Q.· So you received KM's data on lead       ·9· · this morning.· I think it said summary.
      10· · time penalties that they looked at, right?      10· · · · Q.· Okay.· So did we mark that?· I don't
      11· · · · A.· I received those files and when we      11· · know if we did.
      12· · accumulated the -- when we accumulated the      12· · · · A.· Yes, it was one of the early
      13· · amounts on the -- each individual Excel sheet   13· · exhibits we marked.
      14· · and we saw the $92,000 total at the top         14· · · · Q.· You're right.· We marked it as 143.
      15· · right-hand corner.                              15· · · · · · · ·MR. LERNER:· I probably
      16· · · · Q.· At the top, right?                      16· · · · ·e-mailed it to you.
      17· · · · A.· When we accumulated them for all of     17· · · · · · · ·MR. ROSENTHAL:· Yes.· Let me
      18· · the months, we got a different number than      18· · · · ·save it to my computer real quick and
      19· · was reflected in the KM report.                 19· · · · ·we can pull it open.
      20· · · · Q.· Okay.                                   20· · · · Q.· So this summary, I'm going to pull
      21· · · · A.· And all I'm saying is, I don't know,    21· · on the file name Exhibit 143, okay, so it is
      22· · because they didn't say how they got from A     22· · clear.
      23· · to B, and they calculated something like        23· · · · · · Taking a look at Exhibit 143, Mr.
      24· · $4 million, and we had a different number,      24· · Paulikens, let's see if this is what you're
      25· · and I couldn't, from what I saw in the report   25· · talking about.· Do you want me to scroll to

                                                 Page 267                                              Page 269
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · see exactly how they got there.· I'm not        ·2· · the top?
      ·3· · saying they did it wrong necessarily, but I     ·3· · · · A.· Please.
      ·4· · couldn't see how they did it.                   ·4· · · · Q.· It says summary of lead time penalty
      ·5· · · · Q.· I don't see a number that you got in    ·5· · spreadsheets from KM files.
      ·6· · your report.· Did you put it in?                ·6· · · · · · · ·MR. LERNER:· Can you pause for
      ·7· · · · A.· No.· I didn't put a number, I didn't    ·7· · · · ·a minute.· Are you sure that's 143?
      ·8· · put a number.· I said I can't trace it.         ·8· · · · · · · ·MR. ROSENTHAL:· I'm pretty
      ·9· · · · Q.· So when you got a different number,     ·9· · · · ·sure.· That's how I wrote it down.
      10· · where did you write that down?                  10· · · · · · · ·MR. LERNER:· Okay.
      11· · · · A.· I believe it was one of the exhibits    11· · · · A.· So if you scroll to the bottom of
      12· · we looked at today.· I think there was a lead   12· · that, the totals of these you would need to
      13· · time accumulation sheet.· I think it was one    13· · add up and they add up to a different number
      14· · of the exhibits, maybe not.                     14· · than what's shown on their reports.
      15· · · · Q.· I don't know that we've seen that.      15· · · · Q.· So let me pause for one second.
      16· · So let's take a moment to understand where      16· · Since you're gesturing to a screen, the total
      17· · that is in your records.                        17· · of these, you mean line 92 --
      18· · · · · · Could you -- maybe it would be          18· · · · A.· 86 to 92, okay.
      19· · fastest if you could just take a look at your   19· · · · Q.· Well, hold on one second.· Let me
      20· · USB and tell us what you're referring to.       20· · ask you something.· Isn't 86 -- so 87 to 90
      21· · · · A.· Do we have my report handy, the full    21· · adds up to 92, doesn't it?
      22· · report?                                         22· · · · A.· Say that again?
      23· · · · Q.· Yes.· You want me to pull that up on    23· · · · Q.· You are taking --
      24· · the computer?                                   24· · · · A.· Oh, yes, 87 to 90 adds up to 92,
      25· · · · A.· Yes.                                    25· · yes.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 70 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 270                                              Page 272
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· So you have bold face totals there      ·2· · · · Q.· And that's why you have a column,
      ·3· · for line 92?                                    ·3· · just Benlida?
      ·4· · · · A.· Right.                                  ·4· · · · A.· Right.
      ·5· · · · Q.· Four of them for different, I guess,    ·5· · · · Q.· And that separation began sometime
      ·6· · those are different time periods?               ·6· · in 2018, correct?
      ·7· · · · A.· You have to go to the top.· You have    ·7· · · · A.· Looks like it.
      ·8· · to go to the top.                               ·8· · · · Q.· About August 2018?
      ·9· · · · Q.· Let's -- okay, one of them is           ·9· · · · A.· Yes.
      10· · Benlida.· Sorry, the first column is Benlida?   10· · · · Q.· Okay.· And then --
      11· · · · A.· Benlida slash -- Benlida and ROK.       11· · · · A.· Hong Kong.
      12· · · · Q.· Second column is just Benlida?          12· · · · Q.· The Hong Kong column is lead time
      13· · · · A.· Correct.                                13· · penalty is Circuitronix Hong Kong had
      14· · · · Q.· Third column is Hong Kong?              14· · delineated?
      15· · · · A.· Right.                                  15· · · · A.· It's in the document.
      16· · · · Q.· And the fourth is Shen Zhen?            16· · · · Q.· So when you go to the totals --
      17· · · · A.· Yes.                                    17· · · · A.· Yes.· So all we're saying is when
      18· · · · Q.· So just going down to the bottom        18· · you took the spreadsheets that were produced
      19· · with the totals.                                19· · to us, keyed them into this summary that we
      20· · · · A.· Right.                                  20· · created, those numbers are simply different
      21· · · · Q.· Go ahead.                               21· · than what's reflected here.· And I couldn't
      22· · · · A.· So what I'm saying and only saying      22· · tell from their report how they exactly got
      23· · is, I'm going to gesture to the report, the     23· · to those numbers.
      24· · KM report on page, paragraph 36.· These lead    24· · · · Q.· Got it.
      25· · time penalty totals, so the first one is 832.   25· · · · A.· That's actually all I was saying.

                                                 Page 271                                              Page 273
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· Yes.                                    ·2· · · · Q.· Understand, okay.
      ·3· · · · A.· The one on the spreadsheet says 14      ·3· · · · · · So are you aware that KM in its
      ·4· · million four, so all I'm saying is, I can't     ·4· · report, as it says in paragraph 30, you can
      ·5· · see where these names came from the documents   ·5· · take a look on page 12, it's one page back,
      ·6· · we got from the expert.· That's all I'm         ·6· · they talked about issuing, the top line
      ·7· · saying.· Because I can't -- I couldn't find a   ·7· · issuing debit memos to Benlida, right?
      ·8· · way that they separated and got to those        ·8· · · · A.· Up until January '16.
      ·9· · numbers -- any of them.· That's all I'm         ·9· · · · Q.· Right.· So if you were to remove the
      10· · saying.                                         10· · lead time penalties, if you had a way of
      11· · · · · · · ·MR. LERNER:· Could we indicate       11· · doing it to ROK, from the combined ones,
      12· · · · ·for the record what you are pointing       12· · perhaps you could isolate the Benlida ones,
      13· · · · ·to?                                        13· · right?
      14· · · · · · · ·MR. ROSENTHAL:· He told us it        14· · · · A.· Perhaps.· And all my point was, I
      15· · · · ·was paragraph 36 of the KM report,         15· · saw what they did, I accumulated it, I
      16· · · · ·which has been marked as Exhibit 147.      16· · couldn't tie to the numbers that they
      17· · · · Q.· So when you looked at lead time         17· · presented, and they didn't give me the
      18· · penalty data on what we've now marked as        18· · roadmap.
      19· · Exhibit 143 -- had previously marked the        19· · · · Q.· Okay.· Got it.· You didn't attempt
      20· · summary, let me ask you this question.· You     20· · to individually do it yourself other than
      21· · had the first column with Benlida and ROK?      21· · this summary chart?
      22· · · · A.· Because they were combined within       22· · · · A.· We look at it in total, see how did
      23· · the spreadsheets by me.                         23· · they get it, I can't see how he did it and
      24· · · · Q.· And then at some point --               24· · they didn't give me a roadmap to recreate it.
      25· · · · A.· They were separated.                    25· · · · Q.· Okay.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 71 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 274                                              Page 276
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · · · · ·MR. LERNER:· Let's take five.        ·2· · of the overall Benlida slash CTX
      ·3· · · · · · · ·(Whereupon, a brief recess was       ·3· · relationship, pause right there, does ROK fit
      ·4· · · · ·taken.)                                    ·4· · into that picture or is that a mistake?
      ·5· ·BY MR. ROSENTHAL:                                ·5· · · · A.· It doesn't necessarily add anything
      ·6· · · · Q.· On page 14 of your report, Mr.          ·6· · to the sentence.· I'm just trying to say,
      ·7· · Paulikens, referring to the second paragraph    ·7· · looking at the total pool.· That's all I'm
      ·8· · in the conclusions?                             ·8· · saying.· There's more here than maybe meets
      ·9· · · · A.· Okay.                                   ·9· · the eye.
      10· · · · Q.· You make several points I want to       10· · · · Q.· Okay.
      11· · ask you about.· You said that, The KM report    11· · · · A.· And that's all it's trying to say.
      12· · only seeks to show one side of the economic     12· · There's more here than just those two.· And
      13· · relationship between the litigants.· Do you     13· · the results of that relationship, even if
      14· · see that?                                       14· · accurate, don't tell the entire economic
      15· · · · A.· Yes.                                    15· · story.
      16· · · · Q.· Namely the side that best suits         16· · · · Q.· And I assume the numbers here, 3 and
      17· · their client's needs, right?                    17· · 8 million, that range is a reference to what
      18· · · · A.· Yes.                                    18· · we've already talked about earlier in your
      19· · · · Q.· Who are the litigants in this case;     19· · report?
      20· · you use that term?                              20· · · · A.· Yes.· Dependent on the data source.
      21· · · · A.· Benlida and Circuitronix.               21· · There's a totality amount due, but, again,
      22· · · · Q.· Benlida and Circuitronix what?          22· · even that depends upon lead time penalties,
      23· · · · A.· LLC.                                    23· · statute of limitations.· I think they all say
      24· · · · Q.· Right.· And the KM report shows the     24· · that in the rest of that paragraph that
      25· · economic relationship between those two         25· · there's multiple issues that have to be

                                                 Page 275                                              Page 277
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · companies, right?                               ·2· · decided before a finite number is arrived at.
      ·3· · · · A.· Correct.                                ·3· · · · Q.· Okay.· And then you go on to say,
      ·4· · · · Q.· And that's the entire side of the       ·4· · another variable is the Court's final
      ·5· · economic relationship between those two         ·5· · decision on whether the payments by CTX to
      ·6· · companies, isn't it?                            ·6· · both Benlida and ROK were payments on account
      ·7· · · · A.· Those two, yes.· That is the entire     ·7· · of specific invoices?
      ·8· · side within the case, but I understand          ·8· · · · A.· Correct.
      ·9· · there's disputes amongst the attorneys as to    ·9· · · · Q.· Why do you include payments to ROK
      10· · whether the other entities get pulled in for    10· · there?
      11· · various legal theories.                         11· · · · A.· Well, there was payments made and
      12· · · · Q.· Okay.                                   12· · then probably could have eliminated ROK, but
      13· · · · A.· Which is what I was talking about       13· · the whole specific payment, payment on
      14· · there, that there is more here here.            14· · account issue is an issue that attorneys are
      15· · · · Q.· And they're explicit, as you have       15· · disputing.
      16· · said, "they" being KM, about which portions     16· · · · Q.· ROK is actually a mistake there
      17· · of the economic relationship in general that    17· · isn't it, it should not be included?
      18· · they're discussing and which ones they're not   18· · · · A.· I believe so.
      19· · discussing?                                     19· · · · Q.· In the next paragraph, the biggest
      20· · · · A.· Yes.· They were very clear about        20· · word, however, second line at the end says,
      21· · that.                                           21· · One affiliate has a large overpayment,
      22· · · · Q.· Okay.· And then you say, however,       22· · parentheses, CTX U.S., close quote.· That's
      23· · taking into consideration the CTX HK slash      23· · undisputed, correct?
      24· · Benlida slash ROK aspects, parentheses -- I'm   24· · · · A.· Yeah, I mean, maybe the exact
      25· · sorry, comma, which is a substantial portion    25· · amount, but certainly the magnitude at this


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 72 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 278                                              Page 280
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · moment is not.                                  ·2· · amount of damage based upon the
      ·3· · · · Q.· That's something we've already          ·3· · determinations of existence and magnitude of
      ·4· · talked about at length?                         ·4· · liability.
      ·5· · · · A.· Yes.                                    ·5· · · · · · Is that what you did in this case?
      ·6· · · · Q.· So the final paragraph on page 14       ·6· · · · A.· Well, we will -- I critique the
      ·7· · you say, Our role in this litigation among      ·7· · Benlida -- the KM report.· And if we are
      ·8· · others is to analyze the KM report and          ·8· · asked, and we discussed the magnitude of what
      ·9· · consequently quantify the amounts owed to       ·9· · Benlida might be owed by the range of the
      10· · Benlida, close quote.                           10· · amounts dependent on the data source and
      11· · · · · · You're not really quantifying the       11· · dependent upon what's in and out, that's what
      12· · amounts owed to Benlida as part of your         12· · I'm referring to.
      13· · retention, are you?· You're really just         13· · · · · · Because if it's determined that HK
      14· · critiquing the KM report?                       14· · and CTX should be taken as one in this case,
      15· · · · A.· I was responding to the KM report.      15· · legal decision, you know, then that changes
      16· · And as I showed in the illustrations which      16· · the dynamic.· And I gave you a range because
      17· · we've covered, depending upon what the          17· · there's other questions that would
      18· · rulings are of the Court in terms of what's     18· · necessarily affect the numbers and it would
      19· · in or what's out, there's a measurement, a      19· · be a little bit of a Chinese menu where to
      20· · continuum of an amount due between 3 and        20· · start.
      21· · $8 million, depending upon a lot of sources.    21· · · · Q.· And that's just not something you've
      22· · · · Q.· But you are not offering an opinion     22· · done at this time?
      23· · in this case as to how much money Benlida is    23· · · · A.· Not yet, no.
      24· · owed, correct?                                  24· · · · Q.· Two paragraphs down, you say, I've
      25· · · · A.· No, not yet.· I'm responding -- at      25· · highlighted it for you, it says, Unless

                                                 Page 279                                              Page 281
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · this report I'm responding solely to KM.        ·2· · otherwise stated in the report, the economic
      ·3· · · · Q.· Okay.· But you say, At this point,      ·3· · analysis of the amount due to the plaintiffs
      ·4· · so it begs the question, and here's the         ·4· · has not considered various factors.
      ·5· · question, if you are asked, I assume you're     ·5· · · · · · Again, I ask you, are you -- you
      ·6· · saying to offer an opinion as to how much       ·6· · have not yet calculated in this report, I
      ·7· · Benlida is owed, then you would do so?          ·7· · understand the economic analysis of the
      ·8· · · · A.· If asked.                               ·8· · amounts due to the plaintiffs, which is
      ·9· · · · Q.· And you would do so based solely        ·9· · Benlida in this case; is that correct?
      10· · upon the work that you have done for purposes   10· · · · A.· Right.· And it's just the whole
      11· · of this report or would you have to do          11· · sentence is, you know, subsequent events,
      12· · additional work?                                12· · contingent assets, any other contingencies,
      13· · · · A.· I'd have to do additional work.         13· · either today or after, we did what we did,
      14· · · · Q.· Okay.· Let me ask you a question        14· · and that's it.
      15· · about behind tab B of your report.· I don't     15· · · · · · So this is a, you know, it's not
      16· · know if you have that there.                    16· · whether they sold the company or burned down
      17· · · · A.· No.                                     17· · the company.
      18· · · · Q.· I'll pull it up on the computer.        18· · · · Q.· Is this just stock language?
      19· · · · · · Tab B, okay, if you look at -- can      19· · · · A.· It's stock language, you know, to,
      20· · you see it or should I make it bigger?          20· · you know, basically we're saying what did we
      21· · · · A.· It's fine.                              21· · do, what didn't we do.
      22· · · · Q.· At the end of the second full           22· · · · Q.· Okay.· That's not something you've
      23· · paragraph, under your assumptions and           23· · done yet in this report, correct?
      24· · limiting conditions, you say, We will be        24· · · · A.· That's correct.· Because there's, at
      25· · measuring -- I'm highlighting it -- the         25· · this point, there's no contingent assets that


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 73 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 282                                              Page 284
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · we've been asked to analyze, contingent         ·2· · further documents reviewed by Randall
      ·3· · liabilities or events, as of the date of the    ·3· · Paulikens there's an Excel file which is --
      ·4· · report.                                         ·4· · · · A.· I think it's there.
      ·5· · · · Q.· And there's one line again, I think     ·5· · · · Q.· -- Benlida source for complaint.· Is
      ·6· · it's stock language, but I will ask you about   ·6· · that what you're looking at, right here?
      ·7· · it.· You say, We have relied upon               ·7· · · · A.· Yes.
      ·8· · representations of counsel as necessary in      ·8· · · · Q.· Let me open that up.· It has a date
      ·9· · preparing this report.                          ·9· · of December 1, 2020; is that right?
      10· · · · · · Is there anything in particular to      10· · · · A.· I think that's what the date was.
      11· · this case, this report you've done, where       11· · · · Q.· Okay.· So I have actually printed
      12· · you've relied upon the representations of       12· · out copies of some of these tabs so that I
      13· · counsel?· I don't think we've talked about      13· · can make them exhibits so that I can
      14· · it?                                             14· · understand them.
      15· · · · A.· No.· I don't think there's anything     15· · · · · · So did that document -- that Excel
      16· · because it's a core accounts receivable case.   16· · file come to you with that title on it?
      17· · Obviously, we relied on that counsel informed   17· · · · A.· I believe it did.
      18· · us there's disputes, you know, and I've         18· · · · Q.· Okay.· Do you know from whence that
      19· · discussed that there's a dispute and it's not   19· · came, from whom?
      20· · an account -- it's legal, not accounting.       20· · · · A.· It came through counsel.· I believe
      21· · · · Q.· Let me just ask you about some          21· · it came through counsel early in the case,
      22· · documents that are in these printouts of what   22· · you know, May of '22.
      23· · I was given.                                    23· · · · Q.· So I'm going to -- we are looking on
      24· · · · A.· Okay.                                   24· · the screen at a tab at the bottom that says
      25· · · · Q.· And then I think we'll be able to       25· · EN, which I think means English.· Because

                                                 Page 283                                              Page 285
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · wrap this up.                                   ·2· · there's one that is CN, which when you click
      ·3· · · · · · So in your -- at the end of your        ·3· · on it is in Chinese.
      ·4· · report, there's a thing called additional       ·4· · · · A.· Chinese.· That sounds about right.
      ·5· · documents utilized?                             ·5· · · · · · · ·MR. ROSENTHAL:· So I only have
      ·6· · · · A.· Yes.                                    ·6· · · · ·two of these, maybe you can share
      ·7· · · · Q.· Here you've numbered them.· Number      ·7· · · · ·this with Mr. Paulikens.· I'm going
      ·8· · 55, if you just take a look at your list.       ·8· · · · ·to mark Exhibit 149, a printout of
      ·9· · · · A.· It didn't come out on the report.       ·9· · · · ·that tab, EN tab.
      10· · · · Q.· Here, you can -- I'll show you.· It     10· · · · · · · ·(Whereupon, at this time, the
      11· · says, Benlida source for complaint.· Do you     11· · · · ·above-mentioned EN tab was marked as
      12· · see that?                                       12· · · · ·Exhibit 149 for identification.)
      13· · · · A.· Yes.                                    13· ·BY MR. ROSENTHAL:
      14· · · · Q.· Okay.· Do you recall what that was?     14· · · · Q.· And my first question to you is, did
      15· · · · A.· That was an Excel document that         15· · you all, your firm, do any of the work that
      16· · listed out all of the documents -- I'm sorry,   16· · is depicted on this document?
      17· · all of the invoices that were included in the   17· · · · A.· No.
      18· · complaint.                                      18· · · · Q.· Okay.· This is just what was
      19· · · · Q.· Okay.                                   19· · received by you?
      20· · · · A.· It was a lengthy document.· We          20· · · · A.· This was received.
      21· · actually, I think we had it opened up today.    21· · · · Q.· Did this factor -- I mean, did you
      22· · There was an Excel file.                        22· · review this for purposes of your report in
      23· · · · Q.· Okay.· Yes, you are correct in your     23· · this case?
      24· · memory.· Let me just show you on the computer   24· · · · A.· Not for the review of the KM.· This
      25· · what I think you're talking about.· In the      25· · was very early in my relationship to this


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 74 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 286                                              Page 288
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · case.                                           ·2· · · · A.· Go down.
      ·3· · · · Q.· Okay.                                   ·3· · · · Q.· Tell me when to stop.
      ·4· · · · A.· And once it was settled or nominally    ·4· · · · A.· Just go.· Stop.· I mean, based on a
      ·5· · settled, we put the pencils down.               ·5· · quick review, it certainly looks to be the
      ·6· · · · Q.· This is in that tranche of              ·6· · same, a printout of that tab.
      ·7· · documents?                                      ·7· · · · Q.· I'll go all the way to the bottom a
      ·8· · · · A.· That was in that very initial           ·8· · second, too.· Just the last entry is 252, we
      ·9· · tranche of documents.                           ·9· · have a printout all the way through that.
      10· · · · Q.· If you look at column D, it says,       10· · · · A.· Yes.· 40,000, yes.
      11· · Cutoff on May 31, 2020 for a number of          11· · · · Q.· Okay.· Do you know if -- well, at
      12· · different variables.                            12· · the top of what has now been marked as
      13· · · · · · Do you see that?                        13· · Exhibit 149-A, has a note that says unpaid
      14· · · · A.· Yes.                                    14· · invoice breakdown until 5/31/2020.
      15· · · · Q.· Do you have any idea what that is?      15· · · · A.· Yes.
      16· · · · A.· No.· It might be that that's the        16· · · · Q.· Do you know what that says, what
      17· · date they were trying -- they created this      17· · that means?
      18· · schedule, you know, because the other -- the    18· · · · A.· I think it's translated from
      19· · first tab is literally a detailed list of       19· · China -- Chinese, that means open accounts
      20· · invoices outstanding.                           20· · receivable.· That's how it translated to,
      21· · · · Q.· The first tab in the Excel              21· · unpaid invoices.
      22· · spreadsheets?                                   22· · · · Q.· Up to that date?
      23· · · · A.· The Excel file.· If you look at         23· · · · A.· That's what it sounds -- that's what
      24· · invoice details, if I remember correctly,       24· · I take that to mean, based on what's here.
      25· · that's a fairly substantial tab.                25· · · · Q.· And do you recall looking at this

                                                 Page 287                                              Page 289
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · Q.· You remember correctly. I               ·2· · listed invoices for any work that you've done
      ·3· · apparently have a printout of it here.· This    ·3· · in this case?
      ·4· · is invoice details tab.                         ·4· · · · A.· No.· Again, I think we got this very
      ·5· · · · · · · ·MR. ROSENTHAL:· Since you            ·5· · early in our retention.· And before we got
      ·6· · · · ·mentioned that, let me mark this as        ·6· · very far into it, it was pencils down.
      ·7· · · · ·149-A.                                     ·7· · · · Q.· Okay.· And do you see that the green
      ·8· · · · · · · ·(Whereupon, at this time, the        ·8· · highlighted cell at the top has something
      ·9· · · · ·above-mentioned invoice details tab        ·9· · called CTX U.S. total?
      10· · · · ·was marked as Exhibit 149-A for            10· · · · A.· Yes.
      11· · · · ·identification.)                           11· · · · Q.· And it's got 7.2 million and change?
      12· ·BY MR. ROSENTHAL:                                12· · · · A.· Yes.
      13· · · · Q.· Since this comes from the same Excel    13· · · · Q.· And then there's the separate one in
      14· · spreadsheets, this is 149-A, do you recognize   14· · column H, CTX Hong Kong total?
      15· · that as a printout of what we're showing on     15· · · · A.· Yes.
      16· · the computer screen as the invoice details      16· · · · Q.· And it lists -- well, it doesn't
      17· · tab?                                            17· · list a number.
      18· · · · A.· It looks to be.                         18· · · · A.· It doesn't list a number.· And then
      19· · · · Q.· Let me know if you need me to move      19· · there's a reference error all the way in the
      20· · it around.                                      20· · right.· So I don't know what happened in the
      21· · · · A.· Just scroll up.                         21· · file.
      22· · · · Q.· That's as far as it goes.· I can        22· · · · Q.· Okay.· That's an Excel issue?
      23· · make it smaller maybe.                          23· · · · A.· That's Excel saying something's
      24· · · · A.· Grab this and pull it down.             24· · missing.
      25· · · · Q.· Oh, go down?                            25· · · · Q.· And another tab within Exhibit 149


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 75 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 290                                              Page 292
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · which is a digital exhibit, the Excel           ·2· · · · A.· No.· It was background, it was to
      ·3· · spreadsheet called sheet 1, let me scroll to    ·3· · show how the complaint was derived or
      ·4· · the top.                                        ·4· · crafted.
      ·5· · · · · · Do you recognize what that is?          ·5· · · · Q.· Okay.· Let me traipse through a
      ·6· · · · A.· These amounts -- these amounts look     ·6· · couple of printouts.
      ·7· · like a printout of these three columns on the   ·7· · · · · · There is a file, electronic file,
      ·8· · left.                                           ·8· · among the records that you collected that
      ·9· · · · Q.· The three columns as what we've         ·9· · concerns 2017 monthly statements.· Do you
      10· · marked as Exhibit 149-A?                        10· · recall that?
      11· · · · A.· Yes.· And it looks like they're the     11· · · · A.· Not as I'm sitting here.
      12· · same amounts from what I can tell with a note   12· · · · Q.· Okay.
      13· · in column D, as in David.· That, I think,       13· · · · · · · ·MR. LERNER:· Do you want him to
      14· · mimics what was in the complaint.               14· · · · ·look at it?
      15· · · · Q.· Okay.· Right, that language that no,    15· · · · · · · ·MR. ROSENTHAL:· I want to try
      16· · to date Circuitronix has paid no portion of     16· · · · ·to find it.
      17· · the amount owed?                                17· · · · Q.· I will show you the document, that's
      18· · · · A.· It mimics the way the complaint was     18· · fine.· And I just don't know if it's
      19· · structured.                                     19· · something that you're going to recognize by
      20· · · · · · · ·MR. ROSENTHAL:· Okay.· I have a      20· · itself.
      21· · · · ·printout of that, too.· So let me          21· · · · · · · ·MR. ROSENTHAL:· And Rich,
      22· · · · ·mark that.· Let's call that 149-B.         22· · · · ·forgive me, I only have -- I have two
      23· · · · ·149-B is the tab in the Excel              23· · · · ·copies of this.
      24· · · · ·spreadsheet which has been marked as,      24· · · · · · · ·MR. LERNER:· It's all right.
      25· · · · ·I guess, 149, and that tab is called       25· · · · ·You're marking it in?

                                                 Page 291                                              Page 293
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · ·sheet 1.                                   ·2· · · · · · · ·MR. ROSENTHAL:· I'll wait and
      ·3· · · · · · · ·(Whereupon, at this time, the        ·3· · · · ·see if he recognizes it.
      ·4· · · · ·above-mentioned sheet 1 of Exhibit         ·4· · · · Q.· I'm handing you a document that
      ·5· · · · ·149 was marked as Exhibit 149-B for        ·5· · says, Benlida in short on top to customer
      ·6· · · · ·identification.)                           ·6· · Circuitronix LLC from June 2017.
      ·7· · · · · · · ·MR. LERNER:· I looked at the         ·7· · · · · · Do you recognize this document?
      ·8· · · · ·metadata on this and it looks like it      ·8· · · · A.· As I'm sitting here, I do not
      ·9· · · · ·says Steve Prifti, our paralegal may       ·9· · recognize this document.· It looks like an
      10· · · · ·have, I think he prepared this             10· · invoice but I don't -- I don't have a
      11· · · · ·spreadsheet and provided it.               11· · specific recollection of this at all as I'm
      12· · · · · · · ·MR. ROSENTHAL:· Okay.· I know        12· · sitting here.
      13· · · · ·that Mr. Paulikens said he didn't          13· · · · Q.· Okay.· So I want to represent to you
      14· · · · ·prepare it so that makes sense.            14· · where I found it in the materials that were
      15· · · · · · · ·MR. LERNER:· You'll have the         15· · provided to me that came from you.· But I
      16· · · · ·electronic version and it has the          16· · need to -- oh, yes, here.· Okay.· Here we go.
      17· · · · ·metadata.                                  17· · · · · · So let me just show you on the
      18· ·BY MR. ROSENTHAL:                                18· · computer.· Actually, here we have a printout
      19· · · · Q.· Can you tell, Exhibit 149-B is a        19· · of the file.
      20· · printout of what we're looking at on the        20· · · · A.· Okay.
      21· · screen, sheet 1?                                21· · · · Q.· If you look at these Excel
      22· · · · A.· Yes.                                    22· · spreadsheets at the top that say 2017
      23· · · · Q.· Okay.· Did that document, 149-B,        23· · statement reconciliation --
      24· · provide you any assistance whatsoever in your   24· · · · A.· Okay.
      25· · work on the case?                               25· · · · Q.· -- I'll show you on the computer


                        U.S. Legal Support | www.uslegalsupport.com 290 to 293
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 76 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 294                                              Page 296
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · what it looks like.                             ·2· · documents we got in May, a year ago, and then
      ·3· · · · · · Do you see where I am on the            ·3· · we were pencils down, so it wasn't used in
      ·4· · computer?                                       ·4· · this last cycle.
      ·5· · · · A.· Yes.                                    ·5· · · · Q.· Okay.· Got it.
      ·6· · · · Q.· I'm going to open the document first    ·6· · · · · · So the other document you looked at
      ·7· · that says 2017 statement reconciliation.        ·7· · a moment ago over there by your right elbow,
      ·8· · That's not what you're holding, right?          ·8· · that one is something that fell into the
      ·9· · · · A.· No.· I'm holding the list of            ·9· · category of stuff you were given --
      10· · documents.                                      10· · · · A.· Very early on.
      11· · · · Q.· Let me look at the other one, 2017      11· · · · Q.· And it is not something you dealt
      12· · statement reconciliation is the other name,     12· · with?
      13· · it's similar.                                   13· · · · A.· No.· For purposes of KM --
      14· · · · A.· It looks like the same document.        14· · · · Q.· Report?
      15· · · · Q.· That is actually -- let me show you     15· · · · A.· Yes.
      16· · a paper printout of what you're looking at on   16· · · · Q.· Okay.· Let me just show you
      17· · the screen.                                     17· · something that goes with that document and
      18· · · · · · Can you see that is the same thing      18· · just for what it is worth, what I'm talking
      19· · that's on the screen?                           19· · about is this June 2017 Benlida, I believe
      20· · · · A.· It looks the same.                      20· · it's a monthly statement.· With it there is a
      21· · · · · · · ·MR. ROSENTHAL:· Let's mark it        21· · more specific breakdown, a printout of
      22· · · · ·so it is clear.· Let's call this 150.      22· · another database, another spreadsheet.· You
      23· · · · ·And this I will show Mr. Lerner, too,      23· · see it bears the same -- well, it actually,
      24· · · · ·it's the date on line 3 is                 24· · it doesn't, it says shipment?
      25· · · · ·January 10, 2018.                          25· · · · A.· This says April.

                                                 Page 295                                              Page 297
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · · · · ·(Whereupon, at this time, the        ·2· · · · Q.· The top says shipment in June 2017.
      ·3· · · · ·above-mentioned shipment amount            ·3· · Do you see that at the top?
      ·4· · · · ·comparison was marked as Exhibit 150       ·4· · · · A.· I see that.
      ·5· · · · ·for identification.)                       ·5· · · · Q.· It's dated July 10, 2017 in the
      ·6· · · · Q.· Do you see that at the top of the       ·6· · center?
      ·7· · first page?                                     ·7· · · · A.· Yes.
      ·8· · · · A.· Yes.                                    ·8· · · · Q.· And it is from Circuitronix --
      ·9· · · · Q.· And it is to Circuitronix LLC slash     ·9· · sorry, to Circuitronix LLC from Benlida?
      10· · Circuitronix Hong Kong Limited from Benlida     10· · · · A.· Yes.
      11· · slash ROK?                                      11· · · · Q.· And the subject is monthly statement
      12· · · · A.· Yes.                                    12· · for delivery?
      13· · · · Q.· Do you know what this document is?      13· · · · A.· Yes.
      14· · · · A.· I don't, as I'm sitting here, I         14· · · · Q.· Have you reviewed documents like
      15· · don't know.· It's certainly -- it looks like    15· · this for purposes of the case?
      16· · a comparison between the Benlida ROK versus     16· · · · A.· No.· Because this was, again, it was
      17· · CTX shipment amounts, but I didn't prepare it   17· · back from '17.· And then the case was
      18· · and it was from 2018.                           18· · settled --
      19· · · · Q.· I mean, this was in the folder of       19· · · · Q.· I think you mean not '17, but 2022?
      20· · materials that was provided to us that were     20· · · · A.· No, no.· It says these were
      21· · within your further documents reviewed list.    21· · shipments from 2017.
      22· · · · A.· Right.                                  22· · · · Q.· I apologize, yes.
      23· · · · Q.· In your report, it's not ringing a      23· · · · A.· And when we were started in May of
      24· · bell, though?                                   24· · '22, and then the case was settled in June of
      25· · · · A.· No.· It was part of the initial         25· · '22, we put pencils down on reviewing these


                        U.S. Legal Support | www.uslegalsupport.com 294 to 297
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 77 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 298                                              Page 300
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · documents.                                      ·2· · · · Q.· Okay, that's what I thought.
      ·3· · · · Q.· Okay.· I will not belabor this issue    ·3· · · · · · Let me ask you, for example, in
      ·4· · then.                                           ·4· · the -- in your documents that were provided
      ·5· · · · · · Are you aware of whether or not         ·5· · to us, there is an Excel spreadsheet right
      ·6· · Benlida sent separate monthly statements to     ·6· · here called Benlida statement reconciliation.
      ·7· · Circuitronix LLC and Circuitronix Hong Kong?    ·7· · · · · · I'm hovering over it, do you see
      ·8· · · · A.· As I'm sitting here, I'm not one way    ·8· · that?
      ·9· · or the other.                                   ·9· · · · A.· Yes.
      10· · · · Q.· Let me show you, we have printed        10· · · · Q.· I'm going to open it up.· And it's
      11· · out, you recall the reconciliation analysis     11· · got a lot of tabs over time.· And do you
      12· · report 2012 to 2019 that was copied into your   12· · recall utilizing this for any of your work?
      13· · report?                                         13· · · · A.· No, not for the KM portion of it.
      14· · · · A.· One page was, yes, it was an Excel      14· · Again, I believe that was sent to us as part
      15· · file, yes.                                      15· · of the ping-pong balls early in May of '22.
      16· · · · Q.· Right.· What I'm showing you now is     16· · · · Q.· And you see that the column A says
      17· · a paper version of that Excel file that had     17· · company and it says U.S.?
      18· · various other tabs in it.                       18· · · · A.· Um-hum.
      19· · · · A.· Yes.                                    19· · · · Q.· I'm going to scroll down.· And then
      20· · · · Q.· We printed them out here.               20· · at line 402 it ends for U.S. and then line
      21· · · · A.· This is the whole --                    21· · 405 it picks up and it says company HK?
      22· · · · Q.· I believe so, yes.· This stack.         22· · · · A.· Yes.
      23· · What I want to ask you is whether or not, if    23· · · · Q.· Are you aware of the fact that when
      24· · you recall without looking at the electronic    24· · the companies -- the parties to this case
      25· · file, your office did any work in those         25· · were doing their reconciliation effort in

                                                 Page 299                                              Page 301
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · spreadsheets or whether those spreadsheets      ·2· · 2019 that they were segregating the CTX U.S.
      ·3· · were ones simply received by your office?       ·3· · from CTX HK for calculations?
      ·4· · · · A.· Those ones were ones that were          ·4· · · · A.· They segregated it.· Can you scroll
      ·5· · simply received.· I checked to make sure that   ·5· · all the way down?
      ·6· · the map -- the formulas to the summary were     ·6· · · · Q.· Yes.
      ·7· · flowing.· And then I went back to the           ·7· · · · A.· Okay.· Yes.
      ·8· · individual tabs to see what they did.· But we   ·8· · · · Q.· You are aware of that?
      ·9· · didn't do it.· So I reviewed that document, I   ·9· · · · A.· Yes.· At least in terms of the Excel
      10· · didn't create it.                               10· · sheet it was.
      11· · · · Q.· Okay.                                   11· · · · Q.· And I guess in the interest of
      12· · · · · · · ·MR. LERNER:· I'm sorry, can you      12· · completeness, let me see, I just showed
      13· · · · ·identify that?· Is that one of the         13· · you -- I'm not sure which one we're looking
      14· · · · ·exhibits we marked in earlier?             14· · at, can you tell?· It's not this one.
      15· · · · · · · ·MR. ROSENTHAL:· I think it is.       15· · · · A.· Well, it is now.
      16· · · · ·Let me see.· It's probably 146 but         16· · · · Q.· But the default one that it went
      17· · · · ·let me double check.                       17· · to -- so we're looking at the January 2017
      18· · · · Q.· Mr. Paulikens, you're welcome to        18· · one?
      19· · take a look at it but these are printouts of    19· · · · A.· Wasn't there more tabs a moment ago?
      20· · that Excel spreadsheet and the question         20· · · · Q.· Let me close it and open it back up.
      21· · really is just, do these represent work that    21· · · · · · Benlida statement reconciliation.
      22· · was presented to you from its source, not       22· · Can you tell what tab we're looking at that
      23· · work that you did on it?                        23· · it defaults open to?
      24· · · · A.· Yes, we did not do the work.· It was    24· · · · A.· Carefully click on that right arrow.
      25· · given to us.· I reviewed that spreadsheet.      25· · · · Q.· Okay.


                        U.S. Legal Support | www.uslegalsupport.com 298 to 301
                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 78 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                 Page 302                                              Page 304
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · A.· Keep going.· We're looking at the       ·2· · · · · · · ·Thanks for your patience.
      ·3· · November tab.                                   ·3· · · · · · · ·MR. LERNER:· I have a question.
      ·4· · · · Q.· November 2017?                          ·4· · · · · · · ·MR. ROSENTHAL:· Okay.
      ·5· · · · A.· Yes.                                    ·5· ·EXAMINATION BY
      ·6· · · · Q.· Okay.· So if we tab back to the         ·6· ·MR. LERNER:
      ·7· · first one on it, which is January 2017, and     ·7· · · · Q.· Mr. Paulikens, you testified
      ·8· · we scroll down, we see the company is U.S.,     ·8· · earlier, and it may have been within the
      ·9· · there's a note in there, that's not something   ·9· · first hour or so, that the moneys owed by CTX
      10· · you did, right?                                 10· · to Benlida is in the range, I believe you
      11· · · · A.· No.                                     11· · said 3 million to 8 million.
      12· · · · Q.· And then it ends at line 133 for        12· · · · A.· Depending on the data source, yes, I
      13· · U.S. and then shifts to Hong Kong in line       13· · believe I did.
      14· · 136?                                            14· · · · Q.· And for purposes of making that
      15· · · · A.· Yes.                                    15· · statement, did you factor in or assume, for
      16· · · · Q.· Okay.                                   16· · sake of analysis, the validity of CTX's late
      17· · · · · · · ·MR. LERNER:· So we didn't mark       17· · time penalties and debit notes?
      18· · · · ·anything now?                              18· · · · · · · ·MR. ROSENTHAL:· Objection to
      19· · · · · · · ·MR. ROSENTHAL:· I don't think        19· · · · ·the form.
      20· · · · ·we need to mark it.                        20· · · · A.· Debit memos up through January '16
      21· · · · Q.· One more I will ask you about and       21· · are subsumed in the numbers because that
      22· · then we're done.                                22· · range I gave you was in the charts that we
      23· · · · · · There's one that's called an Excel      23· · discussed at length today.· But I don't
      24· · spreadsheet in your file called BLD ROK         24· · believe the lead time penalties were included
      25· · shipments plus payments 7-20-2019.              25· · in those charts after January of '16.

                                                 Page 303                                              Page 305
      ·1· · · · · · · · · · R. Paulikens                    ·1· · · · · · · · · · R. Paulikens
      ·2· · · · · · Are you familiar with that file?        ·2· · · · · · · ·MR. LERNER:· Okay.· Thank you.
      ·3· · · · A.· That was one that was provided to us    ·3· · · · · · · ·MR. ROSENTHAL:· So under at
      ·4· · probably as the initial document tranche.       ·4· · · · ·least Florida procedure, which may
      ·5· · · · Q.· And I guess the question I have for     ·5· · · · ·not apply in this deposition, you
      ·6· · you is, did you do any work in this Excel       ·6· · · · ·have a right to read this transcript.
      ·7· · spreadsheet file?                               ·7· · · · ·I don't know if under New York
      ·8· · · · A.· In this one, no.· This was, I           ·8· · · · ·stipulations you do or don't.
      ·9· · believe it's Benlida's work that was sent to    ·9· · · · · · · ·MR. LERNER:· It's ordinarily,
      10· · us, although it may have been one of the        10· · · · ·you're taking the deposition, you
      11· · ping-pong balls that was going back and forth   11· · · · ·would send him -- us a copy and we
      12· · when they were trying to reconcile.· The date   12· · · · ·convey it to him, the transcript, for
      13· · source suggests it, July of 2019.               13· · · · ·review.
      14· · · · Q.· Other than what we've discussed         14· · · · · · · ·THE REPORTER:· Because it's
      15· · today in great detail, are there any opinions   15· · · · ·federal, you have to order your own
      16· · that as you sit here today you are planning     16· · · · ·copy.
      17· · to offer in this case that we haven't talked    17· · · · · · · ·MR. LERNER:· That's right.
      18· · about today?                                    18· · · · ·Yes.
      19· · · · A.· As I'm sitting here right now, I        19· · · · · · · ·MR. ROSENTHAL:· So just to
      20· · don't think so.                                 20· · · · ·instruct the witness, he's probably
      21· · · · Q.· Okay.· Do you want to confer with       21· · · · ·quite familiar with this, he's an
      22· · counsel to double check on that?                22· · · · ·expert in many cases, if he wishes to
      23· · · · · · · ·MR. LERNER:· No.                     23· · · · ·read the transcript he will have to
      24· · · · · · · ·MR. ROSENTHAL:· I have no more       24· · · · ·work with counsel to order a copy.
      25· · · · ·questions.                                 25· · · · · · · ·We will order the transcript.


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                                                                                                                  YVer1f
Case 0:21-cv-60125-RNS Document 197-3 Entered on FLSD Docket 08/08/2023 Page 79 of
                       Randall M. Paulikens,
                                       79       CPA/AVB/CFF/CITP
                                     July 20, 2023
                                                          Page 306                                                        Page 308
      ·1· · · · · · · · · · R. Paulikens                             ·1

      ·2· · · · · · · ·MR. LERNER:· We will as well.                 ·2· · · · · · · C E R T I F I C A T E

      ·3                                                             ·3· · · · · ·I, MICHELLE LEMBERGER, a shorthand
      ·4                                                             ·4· · · reporter and Notary Public within and for

      ·5· · · (Whereupon, at 4:35 p.m., the examination              ·5· · · the State of New York, do hereby certify:

      ·6· ·of this witness was concluded.)                           ·6· · · · · ·That the witness(es) whose testimony

      ·7                                                             ·7· · · is hereinbefore set forth was duly sworn by

      ·8· ·_______________________________________                   ·8· · · me, and the foregoing transcript is a true
      ·9· ·RANDALL M. PAULIKENS, CPA/AVB/CFF/CITP                    ·9· · · record of the testimony given by such

      10                                                             10· · · witness(es).

      11· ·Subscribed and sworn to before me                         11· · · · · ·I further certify that I am not

      12· ·this _______ day of _________, 2023.                      12· · · related to any of the parties to this
      13                                                             13· · · action by blood or marriage, and that I am

      14· ·_______________________________                           14· · · in no way interested in the outcome

      15· · · · NOTARY PUBLIC                                        15· · · of this matter.

      16                                                             16

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      18                                                             18

      19                                                             19

      20                                                             20

      21                                                             21

      22                                                             22
      23                                                             23

      24                                                             24· · · · · · · · · · · ·MICHELLE LEMBERGER

      25                                                             25



                                                          Page 307
      ·1
      ·2· · · · · · · · · ·I N D E X
      ·3
      · · ·WITNESS· · · · ·EXAMINATION BY· · · · · · PAGE
      ·4
      · · ·Randall M.· · · Mr. Rosenthal· · · · · · · · 4
      ·5· ·Paulikens· · · ·Mr. Lerner· · · · · · · · ·304
      ·6
      · · · · · · · · · · ·EXHIBITS
      ·7
      · · ·EXHIBIT· · · · ·DESCRIPTION· · · · · · · ·PAGE
      ·8
      · · · ·141· · · · · ·Printout of documents
      ·9· · · · · · · · · ·sent to counsel· · · · · · · 7
      10· · ·142· · · · · ·Benlida v. CTX accounting
      · · · · · · · · · · ·event· · · · · · · · · · · ·15
      11
      · · · ·143· · · · · ·Summary spread sheet· · · · 23
      12
      · · · ·144· · · · · ·Paulikens expert report· · ·30
      13
      · · · ·145· · · · · ·Working analysis
      14· · · · · · · · · ·spreadsheet· · · · · · · · ·32
      15· · ·146· · · · · ·File entitled Benlida
      · · · · · · · · · · ·shipment and payment details
      16· · · · · · · · · ·CTX HX 2012 to 2019· · · · ·72
      17· · ·147· · · · · ·KM report· · · · · · · · · ·97
      18· · ·148· · · · · ·Benlida payment details
      · · · · · · · · · · ·CTX U.S. 2012-2021 V5 July
      19· · · · · · · · · ·2023 report· · · · · · · · 155
      20· · ·149· · · · · ·EN tab· · · · · · · · · · ·285
      21· · ·149-A· · · · ·Invoice details tab· · · · 287
      22· · ·149-B· · · · ·Sheet 1 of Exhibit 149· · ·291
      23· · ·150· · · · · ·Shipment amount
      · · · · · · · · · · ·comparison· · · · · · · · ·295
      24
      25· ·(Exhibits retained with Mr. Rosenthal)



                           U.S. Legal Support | www.uslegalsupport.com 306 to 308
                                                                                                                                     YVer1f
